           Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 1 of 166



 1   Donald Charles Schwartz, Esq. (SBN 122476)
 2   Law Offices of Donald C. Schwartz
     7960 Soquel Drive, No. 291
 3   Aptos, CA 95003
 4   831-331-9909; Facsimile 815-301-6556
     Email: triallaw@cruzio.com
 5
     Attorney for Plaintiffs
 6
     Schwartz Foundation, Donald Charles Schwartz
 7   Michael L. Osterberg, Honorable Willie L. Brown, Jr.,
     Charles P. Schwartz, III, Paul David Schwartz,
 8
     David L. Schwartz
 9
                               UNITED STATES DISTRICT COURT,
10
11                           NORTHERN DISTRICT OF CALIFORNIA

12   SCHWARTZ FOUNDATION, DONALD                   ] No. 23-cv-06086
13   CHARLES SCHWARTZ, MICHAEL L.                  ]
     OSTERBERG, WILLIE L. BROWN, JR.,             1.] PLEADINGS AND ORDERS IN
14   CHARLES P. SCHWARTZ, III, PAUL                ] RESPONSE TO REQUEST FOR
15   DAVID SCHWARTZ, DAVID RICHARD                 ] REMOVING PARTIES TO PROVIDE
     SCHWARTZ,                                     ] ADDITIONAL INFORMATION
16                                                 ]
                               Plaintiffs,         ] Volume 1 - Partial
17
                                                   ]
18          vs.                                    ]
                                                   ]
19
     MARGOT WOOD SCHWARTZ, an                      ]
20   individual; and DOES 1 through 50, inclusive, ]
                                                   ]
21                            Defendants.          ]
22
23         Removing Parties Schwartz Foundation, Donald Charles Schwartz, Michael L. Osterberg,

24   Honorable Willie L. Brown, Jr., Charles P. Schwartz, III, Paul Schwartz, David Schwartz hereby

25   respond to the Court’s Order Requesting Removing Parties to Provide Additional Information
26   (Dkt 8) as follows:
            Pleadings in Case No. 21CV00023
27
28         Exhibit 1: Removing Party Complaint


                                                                                                      1
           Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 2 of 166



 1
 2         Pleadings in Case No. 21CV00416

 3         Exhibit 2: Removing Parties Cross-Complaint
 4
           Exhibit 3: Defendant Margot Schwartz Complaint
 5
           Substantive Motions and Orders in Cases No. 21CV00416 and 21CV00032
 6
 7         Exhibit 4: Protective Order Stopping Margot Schwartz from Selling Eden Roc
                      Apartments
 8
 9         Exhibit 5: Protective Order Stopping Margot Schwartz from Using Schwartz Foundation
                      Funds for her Attorneys Fees and Costs
10
11   Date: December 13, 2023        /s/ Donald Charles Schwartz
                                      ____________________
12                                       Donald C. Schwartz
13                                      Attorney for Plaintiffs
                           Schwartz Foundation, Donald Charles Schwartz
14                     Michael L. Osterberg, Honorable Willie L. Brown, Jr.,
15                Charles P. Schwartz, III, Paul David Schwartz, David L. Schwartz

16
17
18
19
20
21
22
23
24
25
26
27
28


                                                                                                 2
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 3 of 166




                        EXHIBIT 1
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 4 of 166


                                                         ELECTRONICALLY FILED
 1   Daniel J. Russo (SBN 77991)                         Superior Court of California
                                                         County of Santa Cruz
     MAAS k RUSSO LLP                                    9/23/2021 2:47 PM
 2
     521 Georgia Street                                  Alex Calvo, Clerk
 3   Vallejo, CA 94590                                   By: Helena Hanson, Deputy
     Telephone: (707) 644-4004
 4   Facsimile: (707) 644-7528

     Attorney for Cross-Complainants
     DONALD C. SCHWARTZ and
     MICHAEL LEANOR OSTERBERG


                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                   COUNTY OF SANTA CRUZ
10
     SCHWARTZ FOUNDATION, a California         CASE NO.: 21CV00416
11   corporation; MARGOT SCHWARTZ, an
     individual; and NOAH SCHWARTZ, an
12   individual,                               VERIFIED CROSS-COMPLAINT FOR:
13                                               1)   FOR DETERMINATION
                  Plaintiffs
                                                      PURSUANT TO
14
           V.                                         CORPORATIONS CODE tj 5617
15
   DONALD C. SCHWARTZ, an individual;            2) DECLARATORY RELIEF
16 PAUL D. SCHWARTZ, an individual;
   CHARLES P. SCHWARTZ, III, an
17 individual; DAVID RICHARD SCHWARTZ,
   an individual; STEVON S. SCHWARTZ, an
18 individual; and DOES 1-50, inclusive,

19
                 Defendants.
20
     DONALD C. SCHWARTZ; and MICHEAL
21   LEANOR OSTERBERG,

                  Cross-C omplainants

23

24
     MARGOT SCHWARTZ, an individual;
25   NOAH SCHWARTZ, an individual; RABBI
     MORICAI SCHWARTZ, an individual; and
26   ROES 1-50, inclusive,

27               Cross-Defendants.

28         COME NOW cross-complainants DONALD C. SCHWARTZ and MICHAEL
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 5 of 166



     LEANOR OSTERBERG (collectively, "Cross-Complainants") and allege against cross-
     defendants MARGOT SCHWARTZ, NOAH SCHWARTZ, RABBI MORICAI
     SCHWARTZ, and ROES 1-50, inclusive (collectively, "Cross-Defendants" ) as follows:

                                                PARTIES
            1.     Donald C. Schwartz is, and at all times herein relevant was, an individual
     residing in the State of California and in the County of Santa Cruz. At all times herein relevant
     Donald C. Schwartz was a Co-Founder of the Schwartz Foundation, a Nonprofit Public Benefit
     Corporation governed by the California Corporations Code Title 1, Division 2, Part 2 Nonprofit
     Public Benefit Corporations (Chs. 1-19), and a Member of the Board of Directors of the
10   Schwartz Foundation. Donald C. Schwartz is a State of California licensed attorney with a law
     practice operating out of Aptos, CA.
12          2.     Michael Leanor Osterberg is, and at all times herein relevant was, an individual
13   residing in the State of California and in the County of Alameda. At all times herein relevant
14   Michael Leanor Osterberg was a Member of the Board of Directors of the Schwartz Foundation,
15   a Nonprofit Public Benefit Corporation governed by the California Corporations Code Title 1,
16   Division 2, Part 2 Nonprofit Public Benefit Corporations (Chs. 1-19). Michael L. Osterberg is
17   the Controller of the Aquarium of the Bay and its affiliates.
18          3.     Margot Schwartz is, and at all times herein relevant was, an individual residing
19   in the State of Wisconsin and in the County of Milwaukee.

20          4.     Noah Schwartz is, and at all times herein relevant was, an individual residing in
21   the State of Illinois and in the County of Cook.
22          5.     Cross-defendant Rabbi Mordecai Schwartz is a resident of New York and claims
23   to be a Director of the Schwartz Foundation.
24          6.     Cross-defendants ROES 1 through ROES 50, inclusive, are fictitious names of
25   unknown cross-defendants sued herein under the provisions of California Code of Civil
26   Procedure $ 474. Cross-Complainants are informed and believe, and thereon allege, that each
27   of the fictitiously named Cross-Defendants are responsible in some manner for the occurrences
28   herein alleged, and that Cross-Complainants damages as herein alleged were proximately
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 6 of 166



     caused by such cross-defendants. Cross-Complainants will seek leave of Court to amend this
     Cross-Complaint to set forth the true names and capacities of such cross-defendants when their
     identities become known.
            7.      Cross-Complainants are informed and believe, and thereon allege, that each of
     the Cross-Defendants herein were, at all times relevant to this action, the agents, employees,
     representing partners, joint venturers and/or co-conspirators of the remaining Cross-Defendants
     and acting within the course and scope of that relationship. Cross-Comqlainants are further

     informed and believe, and thereon allege, that each of the Cross-Defendants herein gave
     consent to, ratified, and authorized the acts alleged herein to each of the remaining Cross-
10   Defendants.
                                     JURISDICTION AND VKNUK
12          8.      This Court has jurisdiction over this action pursuant to California Code of Civil
13   Procedure ( 410.10.
14          9.      Venue is proper because the facts and circumstances giving rise to the allegations
15   in this Cross-Complaint, including the initiation of this action by Plaintiffs, occurred in the
16   County of Santa Cruz, in the State of California.
17                                    FACTUAL ALLEGATIONS
            10.     On August 14, 1979 Robert A.D. Schwartz, Cross-Complainant Donald C.
19   Schwartz     and   Thorn   R.   Picarello     signed   and   had   notarized   "ARTICLES       OF
20   INCORPORATION OF SCHWARTZ FOUNDATION" (the "Articles of Incorporation" ). The
21   Articles of Incorporation were filed with the Secretary of State of the State of California on
22   November 14, 1979. A true and correct copy of the Articles of Incorporation filed with the
23   Secretary of State of the State of California are attached hereto as Exhibit 1. This Court has
24   previously taken judicial notice of these Articles of Incorporation.
25          11.     The Articles of Incorporation, Article V provides "The names and addresses of
26   the persons who are to act in the capacity of directors until the selection of their successors are
27   Robert A.D. Schwartz... Donald C. Schwartz... Thorn R. Picarello[.]" Article VI of the
28   Articles of Incorporation further provides:
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 7 of 166




            "Any action required or permitted to be taken by the Board of Directors under
            any provisions of law may be taken without a meeting, if all members of the
            Board shall individually or collectively consent in writing to such action. Such
            written consent or consents shall be filed with the minutes of the proceedings of
            the Board. Such action by written consent shall have the same force and effect
            as the unanimous vote of such directors. Any certificate or other document filed
            under any provision of law which relates to action so taken shall state that the
            action was taken by the unanimous written consent of the Board of Directors
            without a meeting and that the Articles of Incorporation authorize the Directors
            to so act, and such statement shall be prima facie evidence of such authority."

            12.     Article VII of the Articles of Incorporation provides, in pertinent part,
            that:

10          "The manner of which Directors shall be chosen and removed from office, their
            qualifications, powers, duties, compensation, and tenure of office, the manner of
            filling vacancies on the Board, and the manner of calling and holding meetings
12          of Directors, shall be stated in the Bylaws."

13
            13.     On December 1, 1979 Co-Founders Robert A.D. Schwartz, Donald Charles

14   Schwartz and Thorn R. Picarello signed "BYLAWS OF SCHWARTZ
              FOUNDATION*'"Bylaws
               of Schwartz Foundation" ) in their capacity as Directors of the Schwartz Foundation.
15

16
     A true and correct copy of the "BYLAWS OF SCHWARTZ FOUNDATION" are attached

17
     hereto as Exhibit 2. This Court has previously taken judicial notice of these Bylaws of Schwartz

18
     Foundation.

19          14.     On November 4, 1983 a duly authorized "SPECIAL MEETING OF BOARD OF

20   DIRECTORS OF THE SCHWARTZ FOUNDATION" was held in which it was acknowledged

21
     that Thorn R. Picarello resigned from the Board of Directors of the Schwartz Foundation and

22   Michael Leanor Osterberg was elected to serve on the Board of Directors of the Schwartz

23   Foundation with Co-Founders Robert A.D. Schwartz and Donald C. Schwartz going forward.'

24      true and correct copy of the minutes of the "SPECIAL MEETING OF BOARD OF

25   DIRECTORS OF THE SCHWARTZ FOUNDATION" are attached hereto as Exhibit 3. This

26   Court has previously taken judicial notice of these Minutes of Special Meeting of Board of

27   'horn Picarello was previously Robert A. D. Schwartz's law partner and in 1983 the law
     partnership had dissolved. Michael Leanor Osterberg was Robert A.D. Schwartz's trusted and loyal
28   nephew from Robert*s second marriage. Mr. Osterberg would also become a C.P.A and attorney.
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 8 of 166



     Directors of the Schwartz Foundation.
             15.    Article 3 of the Bylaws of Schwartz Foundation pertain to the Directors. Article
     3, Section I states, in pertinent part that "The corporation shall have three Directors and

     collectively they shall be known as the Board of Directors." Article 3, Section I was amended
     on November 4, 1983 to provide in pertinent part that "The corporation shall have four
     Directors and collectively they shall be known as the Board of Directors." The Court has taken
     judicial notice of this change in the Schwartz Foundation Bylaws in recognizing the minutes of
     the November 4, 1983 meeting.
            16.     Article 3, Section 3 of the Bylaws provides, in pertinent part, that: "It shall be
10   the duty of the Directors   to:... (c) supervise all officers, agents, and employees of the
     corporation to assure that their duties are performed properly."
12          17.     Article 3, Section 11 of the Bylaws provides, in pertinent part, that:
13          "A quorum shall consist of a majority of the Board of Directors. Except as
14          otherwise provided in these Bylaws or in the Articles of Incorporation of the
            corporation, or by law, no business shall be conducted by the Board at any
15          meeting at which a quorum, as hereinafter defined, is not
16
                  present[.]*'8.
                    Article 3, Section 15 of the Bylaws provides, in pertinent part, that:
17
            "Vacancies on the Board of Directors shall exist (1) on the death or resignation
18          of any Director; and (2) whenever the number of authorized directors is
            increased.
19          Pl]
            Vacancies caused by the death or resignation of a Director, or by an amendment
20
            of the Articles of Incorporation or of these Bylaws increasing the number of
21          authorized directors shall be filled by a majority of the remaining Directors."

22          19.     Article 4 of the Bylaws of Schwartz Foundation is entitled "Officers". Article

23   4, Section I provides, in pertinent part, that "The officers of the corporation shall be a
     President, a Vice President, a Secretary, and a Treasurer." Article 4, Section 2 provides that:

            "Any person may serve as an officer of this corporation. Officers shall be elected
            by the Board of Directors, at any time, and each officer shall hold office until he
26
            or she resigns or is removed or is otherwise disqualified to serve, or until his
27          successors shall be elected and qualified, whichever occurs first."

28           20.    In 1983 Robert A.D. Schwartz was the president and CEO of Key Source
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 9 of 166



     International, Inc. (aka United Plastics Corporation), United Lighting & Ceiling Corporation,
     and a partner in Schwartz & Lindheim Electrical Contractors, and the Litrex Corporation. Key
     Source International, Inc. manufactures custom computer and point of sale keyboards. These
     other Schwartz businesses engaged profitable operations. Schwartz had made multiple
     investments in real estate that had yielded significant gains. Robert A.D. Schwartz was also a
             California
     licensed            attorney, State Bar No. 62699.
              21.   As a savvy businessman, entrepreneur and licensed California attorney (in 1973),
     Robert A.D. Schwartz was readily familiar with how to add or remove directors for the
     Schwartz Foundation and neither took any action to remove, nor did he ever want to remove,
10   his son Donald C. Schwartz or nephew Michael L. Osterberg as directors of Schwartz
     Foundation. At no time from 1983 to his death in 2017 did he arrange for a quorum of Schwartz
12   Foundation directors to assemble and elect new and/or different board members of Schwartz
13   Foundation other than Michael L. Osterberg, Donald C. Schwartz and himself, or take steps for
14   such action to be taken by unanimous written consent.
15            22.   The primary source of funding of Schwartz Foundation was giIIs by Robert A.D.
16   Schwartz. Robert A. D. Schwartz passed away in February of 2017. Given his advanced age,
17   his passing was not unexpected. At the point up to the time of his passing the amount of his net

     worth that had been given to Schwartz Foundation was a very small percentage of his total net
19   worth.
20            23.   At the time of his death, Robert A.D. Schwartz was the owner of two large
     apartment buildings that were worth tens of millions of dollars.
22            24.   During the time that Robert A.D. Schwartz was alive he did not work with his
23   third wife Debbra in any of the family businesses nor did he wish to. Robert Sr. occasionally
24   utilized the assistance of his third wife, Debbra Schwartz, and (possibly) cross-defendant
25   Margot Schwartz to help him with administrative day-to-day functioning of Schwartz
26   Foundation. But, Robert Sr. never made them directors of the Schwartz Foundation (nor could
27   he acting on his own) or called a meeting where a quorum of directors of Schwartz Foundation
28   were present in this regard. Nor did cross-complainants Donald C. Schwartz or Michael L.
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 10 of 166



 1   Osterberg ever convene any meeting of the Board of Directors of the Schwartz Foundation to
 2   elect Debbra Schwartz or Margot Schwartz to the Board of the Schwartz Foundation, nor did
 3   cross-complainants ever engage in any meeting of any kind where the topic of adding Debbra
 4   Schwartz or Margot Schwartz to the Board of the Schwartz Foundation was ever so much as
 5   even discussed or ever mentioned in any way. Neither were Debbra Schwartz or Margot
 6   Schwartz were ever identified as 'Directors'n any corporate documents, certainly no
 7   corporate documents prepared in compliance with the Articles and Bylaws. Information to the
 8   contrary in filings made on behalf of the Schwartz Foundation were not accurate, were
 9   perjurious and in violation of the California Corporations and Penal Codes.
10          25.    After the death of Robert A.D. Schwartz the aforementioned aparlment buildings
11   became part of a trust that would provide income to Debbra Schwartz income for the rest ofher
12   life. Upon the death of Debbra Schwartz the apartment buildings would become property of the

13   Schwartz Foundation.
14          26.    On July 31, 2020 Debbra Schwartz passed away unexpectedly. On her deathbed,
15   Debbra Schwartz was seen talking feverishly to her daughter Margot giving instructions on
16   how to handle estate matters.
17          27.    Then, just days after the death of her mother Debbra Schwartz, while her
18   mother's body still lay in the home where she passed, on or about August 3, 2020 cross-
19   defendant Margot Schwartz attempted to stage an unlawful hostile takeover of the Schwartz
20   Foundation. She fraudulently purported to convene a "Special meeting of RAD Schwartz
21   Foundation" to elect "new board officers." Listing only herself in attendance as "secretary"
22   cross-defendant Margot Schwartz purported to elect cross-defendant Noah Alexander Schwartz
23   as a "Board Director, in the position of Treasurer" without any right of any kind whatsoever in

24   a bald attempt to manufacture standing to bring a lawsuit thereon. Presumably, this was
25   intended to be a Board of Directors meeting, despite the fact Margot had never been elected to
26   serve on the Board. See the unsigned minutes dated August 3, 2020 attached hereto as Exhibit
27   4.

28          28.    Margot Schwartz's "board meeting" was not a bona fide board meeting because
               Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 11 of 166



                  Cross-Defendant Margot Schwartz had no right to call it under Article 3, Section 7 of the
                 Bylaws. Moreover, the minutes of the meeting reference the wrong corporate name, there was
                 no notice or waiver of notice as required under Article 3, Sections 8, 9, and 10 of the Bylaws,

                 no quorum was present as required under Article 3, Section 11 of the Bylaws, the meeting was
                 not conducted in accordance with Article 3, Section 13 of the Bylaws, and it generally
                 demonstrates a lack of understanding of the distinction between officer and director roles.
                 Assuming, arguendo, that Cross-Defendant Margot Schwartz did have the right to call the
                 meeting, it was not a meeting of the Board of Directors of the Schwartz Foundation because it
                 did not include Cross-Complainants, the two surviving Directors of Schwartz Foundation. At
10               no time did Cross-Defendant Margot Schwartz contact, attempt to contact, and/or provide

                 proper notices to Cross-Complainants regarding a "board meeting." For that reason the August
12               3, 2020 board meeting lacked the requisite a quorum and it was not possible to elect new

13   'directors.'4




                        29.    Cross-Defendants then instructed the Schwartz Foundation's corporate counsel
15              to prepare a Unanimous Written Consent of the Board of Directors ("UWC") for them that
16              wrongfully purports to ratify, confirm, and approve actions of the Board of Directors of the
17               Schwartz Foundation since 1983. A true and correct copy of the UWC is attached hereto as
18              Exhibit 4. For a number of reasons, the UWC is not a valid unanimous written consent of the
19              Board of Directors of the Schwartz Foundation, first and foremost because it is falsely premised
20              upon cross-defendants being the directors of the Schwartz Foundation. Moreover, the UWC
21               attempts to ratify actions that were never taken and retroactively take actions that cannot be
22              taken retroactively and adopt a new set of Bylaws giving cross-defendants the exclusive right
23               as "designators" to name the directors of the Schwartz Foundation during their lifetimes. The

24              fact that the UWC is not dated or signed further undermines its pretense as a valid corporate
25               action. The purported retroactive actions included authorizing the removal and/or resignation

26               of Donald C. Schwartz as director, Vice President, and Secretary, effective December 31, 1990
27

28              'r   any notice whatsoever.
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 12 of 166



     (i.e. back dated) and the removal and/or resignation of Michael Osterberg as director and
     Treasurer effective December 31, 1990 (again, back dated). No such removals or resignations
     took place in 1990, and they cannot be manufactured retroactively. The UWC also purports to
     recognize Margot Schwartz and Noah Schwartz as directors and officers of the Foundation
     since 2009 and 2020, respectively (i.e., back dated). In addition to being factually and

     procedurally incorrect, the UWC eliminates the possibility of oversight and control by a Board
     of Directors comprised primarily of disinterested directors as required under California
     Corporations Code Section 5227. Margot Schwartz and Noah Schwartz were circa 3 years old
     and I year old (respectively) in 1990 and couldn't possibly have operated the Schwartz
10   Foundation retroactively.
            30.     Cross-defendants'ystematic attempt to gain unsupervised, unaccountable
12   control over the Schwartz Foundation extended to interfering with Donald C. Schwartz's efforts
13   as a Director of the Schwartz Foundation to exercise oversight and control over the corporation's

     assets, including corporate bank and investment accounts, and to engage the Schwartz

15   Foundation's longstanding nonprofit corporate counsel to assist with corrective actions after
16   learning of cross-defendants'mproper actions. In fact, after learning of the dispute over the Board
17   of Directors', and possible Penal Code 115 responsibility, Margot Schwartz stole all of the
18   corporate records of the Schwartz Foundation (i.e., without proper legal authority) from the
19   bookkeeper and secreted them away — to this day.
20          31.     The actions described in the paragraph above, and all communications relating
21   to those actions are not subject to any attorney/client privilege because of the crime/fraud
22   exclusion of Evidence Code $ 956 that provides:
23
            "There is no privilege under this article if the services of the lawyer were sought
            or obtained to enable or aid anyone to commit or plan to commit a crime or a
            fraud."
25
            32.     Cross-Defendants then caused falsified Statement(s) of Information to be filed
26

27   'onald has contacted corporate counsel, engaged a confidential consultation. On information and
     belief, that corporate counsel then informed Margot Schwartz of her legal exposure. Margot then
28   rushed out to the bookkeeper's office and stole all the corporate legal records.
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 13 of 166



     with the Secretary of State's Office, State of California in violation of Penal Code section 115
     claiming themselves as corporate officers of the Schwartz Foundation.
            33.     Cross-Defendants initiated the action herein and improperly named Schwartz
     Foundation as a plaintiff. Schwartz Foundation is not within the class of persons enumerated in
     Corporations Code tj 5617(a). That statute refers only to "any director or member, or by any
     person who had the right to vote in the election at issue[.]" Moreover, no legitimate corporate
     action was taken to authorize a complaint being filed on behalf of the Schwartz Foundation.
     However, in filing such action and naming Donald C. Schwartz and Michael L. Osterberg as
     defendants in the litigation, together with other members of the deceased co-founder's family, they

10   entitled Mr. Schwartz, Mr. Osterberg, and others, to indemnification by the Schwartz Foundation

     under California law and Article 3, Section 17 of the Bylaws of the Schwartz Foundation, thereby
12   unjustifiably causing financial loss to the Schwartz Foundation, and damaging the reputations of
13   the Schwartz Foundation, its co-founders, and rightful officers and directors.
14          34.     Cross-Defendants allege on information and belief that Cross-Defendants, and
15   their attorneys, improperly named Schwartz Foundation as a plaintiff in this action as part of a
16   stratagem to have Schwartz Foundation illegally pay Cross-Defendants'/Plaintiffs'ttorney's
17   fees. These actions constitute an embezzlement of funds targeted for charitable purposes.

18          35.    Cross-complainants offer the Unanimous Written Consent of the Directors of
19   Schwartz Foundation dated July 26, 2021 and attached hereto as Exhibit 5, as the appropriate
20   action to elect officers and directors, and authorize other actions for the governance of the
21   Schwartz Foundation going forward, subject to the relief requested below in light of cross-
22   defendants'ctions and interim orders granted in the underlying action.
23          36.    With the proper enactment of the Exhibit 5 Unanimous Written Consent the
24   Board of Directors of the Schwartz Foundation will consist of Donald Charles Schwartz, Esq.,
25   Michael Leanor Osterberg, Paul David Schwartz and the Honorable Mayor Willie Lewis
     Brown, Jr.
27          37.    With the filing of its Articles of Incorporation on November 14, 1979, the
28   Schwartz Foundation was founded by Robert A. D. Schwartz, Donald C. Schwartz, and Thorn R.


                                                                                                     10
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 14 of 166



     Picarello, each a California attorne, who served as the Schwartz Foundation's initial directors
     and incorporators. This Court has previously taken judicial notice of the Articles of

     Incorporation.
            38.       The last recorded minutes of a properly conducted meeting or properly executed
     unanimous written consent of the Board of Directors of the Schwartz Foundation are the minutes
     of a meeting to elect officers and directors and amend the Bylaws of the corporation on November
     4, 1983, for which all the original directors named in the Articles of Incorporation were present

     namely, Robert A. D. Schwartz, Donald C. Schwartz, and Thorn R. Picarello. A true and correct

     copy attached hereto as Exhibit 3.
10          39.       The number of directors who serve on the Board of Directors was expanded to four

     (4) effective November 4, 1983, by unanimous approval of an amendment to Article 3, Section 1
12   of the Bylaws of the corporation.
13          40.       Pursuant to Article 3, Section 4 of the corporation's Articles of Incorporation, a
14   director is to hold office until the next annual meeting for the election of directors or until his or
15   her successor is duly elected and qualified.
16          41.       No new directors have been duly elected since 1983 and no existing director has
17   resigned or legally been removed since 1983, such that Cross-Complainants comprise all the
18   current members of the Board of Directors.
19          42.       Margot and Noah Schwartz have alleged that the four Schwartz Brothers were
20   estranged from their father through to the time of his death in February 2017. In fact, just the
21   opposite is true. The brothers from Robert A. D. Schwartz'Robert Sr.) first and second
22   marriages all worked together in the family businesses up to the time of their father's passing
23   in February 2017. Conversely, Plaintiffs never worked at any of the family businesses — ever.

24          43.       Robert D.D. Schwartz (" Robert, Jr."), the oldest son, while achieving an
25   undergraduate and graduate marketing, accounting and business degrees at the California State
26   University, Hayward and University of Californi, Berkeley, in the 1970s and through to the
27   time of his father's passing, worked as a payroll employee assisting in the marketing,
28   accounting and management in the family-owned United Plastics Corporation, in Oakland, CA.


                                                                                                        11
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 15 of 166



 1   Robert Jr. also assisted in the day-to-day management of family-owned real estate, both
 2   commercial and residential. In fact, Robert Jr. was literally placed "in charge" of all Schwartz
 3   family-owned real estate by Robert Sr. which continued to the time of his father's passing in
 4   2017. Contrary to allegations in the Complaint, at no time did Robert Jr. ever "file a lawsuit"

 5   in any court of law or otherwise maintain an adverse claim of any kind against his father or the

 6   family business operations. To state otherwise is an absolute falsehood.
 7          44.     Stevon Schwartz ("Stevon"), the second oldest son, while earning two degrees
 8   at the University of California, Berkeley (accounting, real estate) assisted in the management
 9   and performed all booking and accounting work for the Schwartz family-owned commercial
10   real estate. Stevon also worked as a full-time employee at United Plastics Corporation
11   engaging, among other things, production activities and assisting his brother Paul in the
12   development of special tooling and production machine and processes. Stevon remained a
13   confidant to his father on family matters up until the time of his father's passing in 2017.
14   Contrary to allegations in the Complaint, at no time did Stevon ever "file a lawsuit" in any court
15   of law or otherwise maintain a claim of any kind against his father or the family business
16   operations. To state otherwise is an absolute falsehood.
17          45.    Paul David Schwartz (Paul), the third oldest son, literally grew-up on the factory
18   floor at the family-owned United Plastics Corporation, enjoying learning to work with his hands
19   in the metal shop, wood shop and plastics shop. A tested genius (likely as was Robert Sr) Paul

20   went on to earn degrees in Industrial Technology (B.S.) and Physics (Minor) at the California
21   State University Chico and a Masters'egree in Electrical Engineering (M.S.E.E.) at the

22   California State University, San Jose. Spending his summers on the factory floor and, later, as
23   a full-time employee, Paul innovated manufacturing tooling, machinery and processes at United
24   Plastics Corporation. Later, at Key Source International ("KSI"), Paul focused on computer
25   keyboard design and manufacture and headed-up all software design and development. As
26   Robert Sr. had earned a Bachelor of Science in Electrical Engineering (B.S.E.E.) from the
27   Massachusetts Institute of Technology (M.I.T.), Robert Sr. worked with his son Paul on the
28   development of various patents now on file at the United States Patent Office, whereupon they
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 16 of 166



     are both listed. Paul worked with his father at the KSI family-owned business up until the time

     of his father's passing in 2017. Contrary to allegations in the Complaint, at no time did Paul
     ever "file a lawsuit" in a court of law against his father or the family operated businesses. To
     state otherwise is an absolute falsehood.

            46.     Cross-defendant Donald C. Schwartz ("Donald" ) also literally grew-up in the
     family businesses. As a child he swept and cleaned around the factory floor machines on
     weekends for 10 cents per machine. In his early teens, Donald worked summers for another

     family-partnered business, Schwartz & Lindheim Electrical Contractors (the largest electrical
     contractor in the East Bay Area). In his later teens and college years, Donald worked with all
10   three of his older brothers both on the factory floor and in the office (engaged in marketing) at
     United Plastics Corporation, as well as running significant building painting and maintenance
12   operations at the family-owned real estate. During his summers from the Georgetown
13   University Law Center and after, Donald worked in his father's law office of Rose, Schwartz,
14   Pineda & Picarello. Donald and his father co-founded Golden Gate Broadcasting, Inc. with San
15   Francisco Giant Willie McCovery, eight-time Emmy Award Winner Belva Davis, California
16   Appellate Court Justice Harry Low, KGO radio business reporter Lynn Jimenez, Mrs. Ronald
17   V. Dellums, and East Bay Spanish Speaking Unity Council Chair Henry Mestre, and others.

18   This broadcast operation pursued a successful litigation in the D.C. Court of Appeals resulting
19   in the dismantling of the RKO Radio Network and returning 13 major market radio licenses to
20   community control. After passing the State Bar of California, Donald became the personal
21   attorney for his father and the family businesses, performing legal work therefore, as well as
     for the Schwartz Foundation, up until the time of his father's passing in 2017. In fact, while
23   paid for all of his legal work for his father or family-owned business matters, Donald never
24   charged for legal work performed for the Schwartz Foundation for the specific reason that he
25   is a director and did not wish to raise any questions of propriety in this regard. For example,

26   Donald assisted his father in marshalling a donation to the S chwartz F oundation from an estate
27   probated in the Alameda County Superior Court. Contrary to allegations in the Complaint, at
28   no time did Donald ever "file a lawsuit" in any court of law or otherwise maintain an adverse


                                                                                                   13
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 17 of 166



     claim of any kind against his father or the family business operations. To state otherwise is an
     absolute falsehood.
             47.    David Richard Schwartz is Robert, Sr.'s son from his second marriage and
     worked for a couple of decades at the Schwartz Family owned KeySource International as the
     head of quality control, testing and all internal computer operations up to the time of his father'
     death in February 2017.
             48.    Michael Leanor Osterberg is and was a Director of the Schwartz Foundation
     continuously from the 1983 Special Meeting. Michael was a trusted friend, C.P.A./Attorney for
     Robert, Sr. Michael is also Robert's much respected and loved nephew from Robert's second
10   marriage. Michael Leanor Osterberg is the Controller of the Aquarium of the Bay and its
     affiliates.
12           49.    The Honorable Mayor Willie Lewis Brown, Jr. was a trusted compatriot of
13   Robert A. D. Schwartz. As progressive Democrats they worked together to implement reforms
14   for California's Democratic Party and were, inter alia, co-plaintiffs in litigation involving the
15   same. To this day, Mayor Brown has a deep respect for his friend "Bob" Schwartz and has

16   agreed to actively serve on the Board of the Schwartz Foundation. The Honorable Mayor
17   Brown brings to the Schwartz Foundation a diversity that was important to Robert A.D.
18   Schwartz, the latter (Bob) being a man who had tapped Berkeley City Councilman Ronald V.
19   Dellums for a successful run for Congress in 1970 and organized Jewish support, therefore.
20   Bob Schwartz had a significant role in placing Jerry Brown in the Office of the Governor in
21   1975. Mayor Brown's continuing love for "Bob Schwartz" is what drives him to bring his full

22   time and attention to the Board of the Schwartz Foundation, from which the Schwartz
23   Foundation and the community at large will surely benefit.
24           Wherefore, Cross-Complainants further plead as follows:
25                                 FIRST CAUSE OF ACTION
                     (For Determination Pursuant to Corporations Code tl 5617)
                                  Against All Cross-Defendants
27
             48.    Cross-Complainants incorporate by reference herein, as though fully set forth,
28


                                                                                                      14
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 18 of 166



 1   each of the allegations contained in Paragraphs 1-47 above.
 2          49.    California Corporations Code II 5617 states that "[u]pon the filing of an action
 3   therefor by any director or member, or by any person who had the right to vote in the election
 4   at issue, the superior court of the proper county shall determine the validity of any election or
 5   appointment of any director of any corporation."          Cross-Complainants are individuals
 6   authorized by Corporations Code II 5617(a) to bring this action.
 7          50.    California Corporations Code $ 5617(d) states that "[t]he court... may
 8   determine the person entitled to the office of director or may order a new election to be held or
 9   appointment to be made."
10          51.    A dispute and actual controversy has arisen between Cross-Complainants and
11   Cross-Defendants regarding the validity of two (2) individuals, Margot Schwartz and Noah
12   Schwartz, to serve as 'Directors'f Schwartz Foundation as follows:

13                 a.      Cross-Defendants wrongfully contend that the election of Margot
14   Schwartz and Noah Schwartz as directors and officers was valid and proper.
15                 b.      Cross-Complainants contend that the election of Margot Schwartz and
16   Noah Schwartz was invalid and improper and that cross-complainants remain the duly elected
17   directors of Schwartz Foundation.
18          52.    Cross-Complainants hereby pray for a determination by this Court of the
19   invalidity of the election of Margot Schwartz and Noah Schwartz as directors and officers of
20   the Schwartz Foundation.
21          53.    Cross-Complainants further allege that all subsequent actions taken by Margot
22   Schwartz and Noah Schwartz in their capacity as directors and officers of Schwartz Foundation
23   are invalid and void as a matter of law, and Cross-Complainants demand a determination of
24   invalidity and a voiding of all actions taken by Margot Schwartz and Noah Schwartz in their
25   capacity as directors and officers of Schwartz Foundation.
26          54.    Unless so enjoined by order of this Court, Cross-Defendants will continue to
27   claim that the election of Margot Schwartz and Noah Schwartz to the Board of Directors and
28   as officers of Schwartz Foundation was proper and that proper procedures pursuant to Schwartz


                                                                                                   15
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 19 of 166



     Foundation Bylaws and California law need not be followed.
               55.   There is no adequate remedy at law of monetary relief under the facts set forth
     herein.
               56.   If Cross-Complainants prevail in this matter then substantial benefit will result
     to Schwartz Foundation and Cross-Complainants are therefore entitled to recover reasonable
     attorney's fees incurred herein.
               WHEREFORE, Cross-Complainants pray for a judgment as set forth below.

                                    SECOND CAIJSE OF ACTION
                                          (Declaratory Relief)
                          Against Cross-Defendants Margot and Noah Schwartz
10
               57.   Cross-Complainants incorporate by reference herein, as though fully set forth,
11
     each of the allegations contained in Paragraphs 1-56 above.
12
               58.   A determination that Cross-Complainants are the sole directors of Schwartz
13
     Foundation is a proper subject of declaratory relief and within the scope of California Code of
14
     Civil Procedure section 1060; and for a determination that the attached Exhibit 5 Unanimous
15
     Written Consent constitutes the valid action of the Board of Directors of the Schwartz
16
     Foundation, and properly elects a new Board of Directors consisting of the following
17
     individuals going forward:
18
                     A.     The Honorable Willie L. Brown, Jr.
19
                     B.     Donald Charles Schwartz, Esq.
20
                     C.     Michael L. Osterberg; and
21
                     D.     Paul D. Schwartz
22
               59.   A present and actual controversy involving justiciable questions related to Cross-
23
     Complainants'egal rights exists because Cross-Defendants claim that Cross-Complainants
24
     were removed or resigned as directors of Schwartz Foundation whereas Cross-Complainants
25
     contend that they were never removed or resigned as directors of Schwartz Foundation and
26
     remain the sole directors to this day.
27
               60.   Cross-Complainants desire a judicial determination of this controversy, and a
28


                                                                                                    16
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 20 of 166



     judicial declaration is necessary and appropriate at this time so that Cross-Complainants may
     resume their duties as the sole directors of Schwartz Foundation.
             WHEREFORE, Cross-Complainants pray for a judgment as set forth below.

                                    THIRD CAUSE OF ACTION
                                         (Declaratory Relief)
                          Against Cross-Defendant Rabbi Mordecai Schwartz
             61.    Cross-Complainants incorporate by reference herein, as though fully set forth,
     each of the allegations contained in Paragraphs 1-60 above.
             62.    A determination that Cross-Complainants are the sole directors of Schwartz
 9
     Foundation is a proper subject of declaratory relief and within the scope of California Code of
10
     Civil Procedure section 1060 and that cross-defendant Rabbi Mordecai Schwartz is not a
11
     Director of the Schwartz Foundation; and for a determination that the attached Exhibit 5
12
     Unanimous Written Consent constitutes the sole valid action of the legal Board of Directors of
13
     the Schwartz Foundation, and properly elects a new Board of Directors consisting of the
14
     following individuals going forward:
15
                    A.        The Honorable Willie L. Brown, Jr.
16
                    B.        Donald Charles Schwartz, Esq.
17
                    C.        Michael L. Osterberg; and
18
                    D.        Paul D. Schwartz
19
            63.     A present and actual controversy involving justiciable questions related to Cross-
20
     Complainants'egal rights exists because Cross-Defendant Rabbi Mordecai Schwartz claims
21
     that he is a Director of the Schwartz Foundation whereas Cross-Complainants contend that they
22
     were never removed or resigned as directors of Schwartz Foundation and remain the sole
23
     directors to this day.
24
            64.     Cross-Complainants desire a judicial determination of this controversy, and a
25
     judicial declaration is necessary and appropriate at this time so that Cross-Complainants may
26
     resume their duties as the sole directors of Schwartz Foundation.
27
            WHEREFORE, Cross-Complainants pray for a judgment as set forth below.
28


                                                                                                   17
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 21 of 166



                                        PRAYER FOR RKLIKF
            Now, therefore, Cross-Complainants pray for relief as follows:
            l.     Invalidate and void the election of Margot Schwartz and Noah Schwartz as
     directors and officers at the August 3, 2020 meeting;
            2.     Invalidate and void all actions taken by the improper board of directors of
     Schwartz Foundation subsequent to the illegal selection of Margot Schwartz and Noah
     Schwartz as directors at the August 3, 2020 meeting;
            3.     For a judicial declaration under Corporations Code section 5617 that Cross-
     Complainants are the only two directors of Schwartz Foundation;
10          4.     For a permanent injunction that precludes Cross-Defendants from purporting to
     act as directors of Schwartz Foundation;
12          5.     For an order setting aside and vacating that "Amended Order" of this Court in
13   case no. 21CV00032 erroneously issued under the purported authority of Corporations Code
14   $ 709 on March 24, 2021, nunc pro tune to that date;

15          6.     For an order of restitution of any and all personal expenses paid by the Schwartz
16   Foundation at the direction of or on behalf of Margot and/or Noah Schwartz, including, but not
17   limited to, attorney's fees and costs expended for this hostile takeover attempt;
18          7.     For a judicial declaration that Cross-Complainants were not validly removed as
19   Directors of Schwartz Foundation and therefore remain the sole directors of Schwartz
20   Foundation and recognizing the Exhibit 5 Unanimous Written Consent as a valid corporate
21   action establishing the Board of Directors of the Schwartz Foundation as follows:
22                 A.      The Honorable Willie L. Brown, Jr.
23                 B.      Donald Charles Schwartz, Esq.
24                 C.      Michael L. Osterberg; and
25                 D.      Paul D. Schwartz
26          8.     For reasonable attorney's fees in an amount according to proof;
27          9.     Costs of suit; and
28          10.    For other such relief as the Court deems just and proper.

                                                                                                 18
                  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 22 of 166



                  Dated: September 22, 2021               & RUSSO LLP
                                                     MAAS &
                                                     Is/Daniel J.
                                                     /s/Daniel J. Russo
                                                     Daniel J.
                                                            J. Russo
                                                     Attorney for Cross-Complainants
                                                                  Cross-Complainants
                                                     DONALD C. SCHWARTZ and
                                                     MICHAEL LEANOR OSTERBERG
  \OOOQQUIADJN"
r—A




10
t—i
I—A




12
H




13
—




14
H




15
p—I




16
h—I




17
v—




18
—-




19

20
N
N




21

22
N
N




23

24
N




25

26

27

28
.




                                                                                       19
 t
     Case 5:23-cv-06086-BLF DocumentVERIFICATION
                                     12-1 Filed 12/13/23 Page 23 of 166
 2           I, Donald C. Schwartz am a cross-complainant in the above-entitled action; I have read the

 3   foregoing Verified Cross-Complaint for. I) For Determination Pursuant to Corporations Code
                                                                                                          f
 4   5617; and 2) Declaratory Relief and know the contents thereof; the same is true of my own

 5   knowledge, except as to those matters which are therein stated upon my information and belief, and
 6   as to those matters, I believe them to be true.

 7           I declare under the penalty of perjury under the laws of the State of California that the

 8   foregoing is true and correct.
 9           Executed the   I4 day of August 2021 in
10


                                                              onald C. Schwartz
12

13                                            VERIFICATION

14          I, Michael L. Osterberg am a cross-complainant in the above-entitled action; I have read the

     foregoing Verified Cross-Complaint for: 1) For Determination Pursuant to Corporations Code
                                                                                                          $
     5617; and 2) Declaratory Relief and know the contents thereof; the same is true of my own

     knowledge, except as to those matters which are therein stated upon my information and belief, and
     as to those matters, I believe them to be true.

19          I declare under the penalty of perjury under the laws of the State of California that the

     foregoing is true snd correct.

21
            E 0 atadth I      5 daycfAadaat202ti TracyCattf raitty
22

                                                           l)fwlichael L. Oster "erg
24

25

26

27

28

                                                                                                         19
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 24 of 166




                   EXHIBIT 1
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 25 of 166
                                                                         pd        '67388
                            ARTICLES OF IN(ORPORATlON       a e»»%»» ef e» $»set»e'f e»w
                                                                »I a»   a»we c»sf»»aa
                                                                 NQV     te 1979


 ONE:      The nane of this Corporation is:

                               Schwsrtz Foundation
           The purposes for which this corporation is foxnnd
                                                               are:
          (a) The specific and prisnxy purposes are to pxonnte,
          encourage and assist the developsemt of vocational,
          musical snd citizenship education.
          (b) The general purposes and powers are to have and
          exercise ell rights and powers conferred on non-profit
          corporations under the laws of California, including
          rhe power to contract, rent,      or sell personal
          or real p~pexty; provided, buy,

          not in furtherance of the
          corporation.                 ~
                                       harems, that this corpor-
          ation shall not, except to an insubstantial degree.
          engage in activities or exercise any powers that are
                                            purposes of this

           (c) No substantial part of the activities of this
          corporation shall consist of the    ~ng   on of pro-
          paganda or otherwise attaapting to influence legi-
             in~
          slation, nox shall the corporate parcicipate in,
          or           in (including publishing or distributing
          of stat6nents), any political cazpsign on behalf of
          any candidate for public office„
TNREE:    This corporation is organized purest to the General
Ncn-profit Corporation Law of the State of California, and
does not conteeplate pecuniary ydn or profit to the mamba~a
of the corporation and. is organized for non-profit purposes.
$   Qg.'he    county in this state where the
the transaction of business of the corporationprh~xpal  office for
Alaaeda County,
                                                is located is
FIVN:     The nasms and addresses of the persons who are to act in
the capacity of directors until the selection

          ~       A, D.   Schwarz
                                              of their successors

                                               81 IUsheriin Hts. Drive
                                               Oakland, California 94621
          Donald C. Schwartz                   5U independent Road
                                               Oakland, California 94621
 Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 26 of 166



            Them R.   Picarello                  4860 Seven Hills Road
                                                 Castxo Valley, California 90546

 SIX.      Any action required or permitted to be
                                                    taken by t'e
 Board of Dixectoxs under any     ~iona   of law
 wichout a ameting, i,f all members of the Soard may  be taken
                                                  shall
 collectively consent. in writing to such action. Suchindividually    or
 or oonsents shall be filed with the adnutes of          written consent
 Board. Such action by wxitten consent shall the proceedings of the
                                               have the same force and
 effect as the unaniaxam vote of such Directors,
 doement filed unshy any    ~ion     of law which
                                                    Any certificate or other
                                                   relates
 shall state that the action was taken by the unanianus to actirn so taken
 of the Board of Directors without                        written consent
                                    a nesting and that the Arti,cles of
 Incorporation authorize the Directors to so act, and
 be prima facie
SSVES:
                 evidence of such authority,
          Tha manner of which
office, their qualificaticns, Directors   shall be chosen and
office, the meum of filling vacancies on the Roard, and the
                                                                ~
                                                        such statement, shall




calling met holding meetings of Directors, shall be stated in manner
                                                                       from
                               powers, duties, crrapenaation, and tenure of
                                                                        of
                                                                 the Hylaws,
          ihe authasimd ntmher, if any„ the qualificaticns of mambers
the corporation, the filling                                               of
if any, the pxopex~, voting, ofandvacancies, the different classes of membership,
                                    other rights and provileges of members,
and their liability for dies and assessaents
thereof, and the  t~ticn
stated in the Bylaws.
                                               and the amthod of
                             of mambexship or transfer thereof collection
                                                                  shall be
 RIG':     The p~        of this
 charitable purptmes and no pertcoxporaticn
                                 of  the net   bmoc   ox'ssets of the  ~-
                                               is irrevocably dedicated to


                                  ~
 sation shall ever inure to the benefit of any director,
 thereof or to the benefit of any private peracns.          officer, or masher
           Qn the dissolution or               of the corporation, its assets
remaining after payment of or pxovisicn up for  paymant of, all debts and


                                   ~
 liabilities of this corporation, shall he distributed    to a non-profit fund,
foundation, or corporatien which is orgarnzed and operated
~table      puepases and which has eatab3Lshed its tax-exemptexclusively
Section 591 (c) (3) of the Internal.                              status
                                                                            for
                                                                         under
                                                Code.
           If this corporation holds any assets on trust, or the
corporation is formed for charitable purposes,     such assets shall be disposed
of in such manner as nay be directed by the cheree
the. county in which the  ~ticn      has  it;s
                                                       of xhe auparior court of
                                               principal
therefoxe by the Attorney General or by any parscn        office, on pe .on
                                                       concerned in the ~f.quida-
ticn, in a proceeding to which the Attorney General is a
                                                             party.
           Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 27 of 166




        tilgg:    Mo~,thstsnding any other
        Incorporation, if this corporate isprovision
        under Section 509 of the Internal
        restrictions:
                                                 Code,~
                                                     of these Articles of
                                             classified as a private fomxdstion
                                                       the  corporation shall be,
        Mile such status is in effect, subject to the follasdng
                                                                 limitations and
                 (a) The coxpox~ion shall distribute its incxne for each
                 taxable year at such tine snd in such manner as not to
                 becca@ subject to the tax on ixuKstributed
                                                            income imposed
                 by Section 4942 of the Internal Revenue Code of 1954.


                 ~
                 &) The coxporation shall not engage in any act of self-
                 dealing ss defined in Section 4941(d)
                         Code of         1954.
                 (c) The corporation shall not retain
                                                       of the Internal

                 holdings as defined in Section 4943(c) any excess business
                                                         of the Internal
                            Code of 1954.



                 ~
                 (d) The corporation shall not make
                 manner as to subject it to tax underNLy
                                                         investmsnts in such
                                                      Section 4944 of the Intexna!.


                                                                         ~
                         Code      of 1954.
                 (e) The corporation shall not sake any taxable expenRtuxes
                 defined in Section 4945(d) of the Internal
                 IN WZIhlE% NHERBP,
    as the first JKrectors, have
                           /9'W            ~ed
                                           the undersigned, being
                                                 .   1979.
                                                                         ~
                                                                   Code of
                                                                            as
                                                                                      1954.
                                                                             nanoid above
                                                   these Articles of Incorporation    on




I   I              oFFJCIAL SEAR                       Xhhm,   R. Pi@cello
                  gAggxN L SOARES
                wurst eve.m . eaawoNsk
               +~sea ~n~isx
                   CQUsPFT OF ALANCSI
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 28 of 166




           ~
 State of California
 County of




                  r~
                       j        AL,      1979,   befog, )BNnlilr
         )Nl / Pv&                     , a Notary Public for the 'State of
 California, pexsonally appeaxed Robert A. D.    ~s,     Donald   8~,
 snd 'Lham R. Picarello, known to me to be the persons ahose names and
 subscribed to the foregoing Articles of Incorporation, and ~ledhed
 that they executed the sama.



                                Notary Public'     the State sf California.
                                Ny ComdssionPxpires
                                                                         l@b
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 29 of 166




                   EXHIBIT 2
   Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 30 of 166




   ~ ~  %e prJxjcipal
   business is locatedoffice
             2.
       Tha county
                   QQiRR QF

  by mssnCkmnt of of
                             of
                       in AlamedatheCounty,


                     chs cargmaticn's
                                      coxporstIcn fcr tbe
                                            CsQfoxn4. transaction af its




    ~             the
  oC4earhe. Ths Board Articles of
  offIas fxamt cma Innate
  chs
  shall not baaddress
                         of Dhectaxs,
                            tn another
                deemed an snmnchmnt
                                               ~,
                                      principal office cen be
                                     ~ation    of this
                                                    change

                                                             ~
                       snd effectism datethin the named county
                                          below, sad such
                                    of these Bylsms      c
                                                              changed cnly


                                                                   of
                                                Datedc
                                                       19'ated:                1979



      Ths coxporathac
 its business mmy
 time dssiBnste.      ~
 mithout xhs State of msy also have offices at such
                      California, cdscrs it is
                          snd ss               quslifImd
                                 chs Board of Directors to do     ~s,
                                                      other places, &thin
                                                          may, fccm thee
                                                                          or
                                                                         as
                                                                         to

 88CEXN l.


           ~,
                  HQXRQNCtXGN QF
     2he corporation shall
 except,
                                   ~
                               ARCZCtZ 2.    MEMBERS



                              mdcs na provision
the State of Cs pucsuent ta Sectian 9603 of the Sm'embers tbsxsof ss
                                                                       such
xule of lsw xslstfag ia, far the puxpcme of any OaxpaxntiacIs Oads af
and shall  ~s             nanpcafit coxpoxaticns, statutory pcovtsicn or
its Board of DQ".ectorstosbsl
                                   ocxm~
                   all of thebsrtg~ts snd pomsxm
                                                   the parexm caastitutini
                                              ths meehsxs of
                                                   of xemhexs chs
                                                             th
                                                                     xICLcxl
                              kHTIQZ 3.     DQECKK
%CEIL l.
     Ths corporation
be bnama as
               or
pxxmidsd in these by
                     shalL hsvm chxms Mxsctoxs
            the Board of IKxectoxs.
of this Bylaw,
                  Bylsss.
                                     Ths cxmhsr may be
                     xmpeal of this By1cw
                                          and                ~
                                                snd collectivel
                                                                 they shall
                                              adoptiaa of a new smmmhmnt
                                                                Bylaw, as
    Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 31 of 166




    ~ ~   he
           DLrectcxs shell esetedse
    its ~~Pi   snd
          3. BDelES
                                    the
                            its afnsies. passers of tha cotnaratian
                                          except ss atb      s ~ddedby lses.
         It shall be the duty ot the
                                       Mrsctate ta:
         (e) Perform scy snd all
    hsdividually by lses,         duties            as them
    at by these By
                          by the Articles of
                                               Incoqreestlcncollectively ar
                                                             of this coqosmtion,
        (b) Appoint snd reassume,
  wise pxendded in these
  if aqy, of all offlcen,Bylass,
                                  employ snd   dis,
                                    prescribe the
                             sasnts sad eeplcyeee
                                                          sad, except ss atbex
                                                          snd fist cmpsnsstLcn,
                                                   af the eetpamticn.
       (c)             all officers, agents, snd
 tn assure Supervise
            that their duties                      snssIoyees of the
                                see       emsd properly.             cctpoeatless
       (d) Sleet at such these
                                 snd places ss xecpetted
                                                         by these Bylstes.
       (e) RsSglster their addresses
 snd, notices of                       with tha Secretary of
                 nssatdnga maiiad ar
 shall be md'otices                                            the corporation,
                                      telegraphed to thea at such
                          thereof.                                  addresses
 SOZIN 4. 3SNS OF OHIIIR


                                                             ~,
      Each DLxectar shall
 election of the Booed    hold office until she neet
                       of                            annual saarhSE fat
 his ae het successor is Djlzectaes as saecified in this
                         elected   snd       ifies.               snd     until
 SECZEN 5.     KACE OF SSEEXBKS
      Maenbes shan be hald at
unless axbsxwisa provided         the prhclpsl office of
the Stats of QLLMaxeda by the Based ar at such lace      the caqsorstion


~
                         sdsieh
xesotutlceL of the Beard af     bss been dssianatsd       within ar withaL
eeecsnlps shell be be1d ax   nsrectcee.  xe ebs sbssnco  the   to ches by
that any such meethg heldths prbscipsl affice of tha of     such designation„
                             elsseheee shall be valid ccx
         af all dLxectats gLven                                  ion, pxavtdsd
with the Secretary af            either               if hs    m  the written
                       ths caqorstion. befate ae after the esseting snd    filed
SKIM 6.        REGKAR AND ABWAL
                                  SSEEH1%8
     Regular meetings
January at 10:00 a.m., af Dirscsxsxs shall be beld, ees the eecund
                         missa such                                 Hmdsy of each
the         essenkng shall bs ba1d dey Sdls ere a legal holiday, in
           day.
     At tbs Annual
                     ~ ~tim         et the same haut snd
                                                           pleas ets tbe which
by ths Based of Directors. meethsg af DLtaceaxe the Director
shall nat ba
   ta ehe camber elttsd.
                 af
                                                                         neat
                                                                               sMsnt


                                                                  shall ba elected
                           Ths csndLdetes recaf for the electicn of Mxactxess
                                         votinse
x     cost ae usta, Ditectaes   to be elected
                      wf.th voting being
                                                     the highest mnhsr of
                                                     be  elected.  Each
                                                                             vates
                                                                         Director
                                         by ballot only,
   Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 32 of 166




  ~        7~    SPECfAL NEEZINGS

       Special meetings
  president, or, if he orofsbs
                            ths Board of Directors
                                                   may be called
  by the VJ.ce-president, or is absent oz is unable to zefuses by to
                                                                     the
  be held at the place,      by sny two directors,                   act,
                         within or without the Szatesnd such meetings shall

  ~
  by the pszson ax'ersons

           8.
                            cal
  designation, at tha principal
                NZXCE QF M?EIINQS
        The Seczetszy of the
                                    the seating, and of



                              caqoratian, or
                                                      in
                                                         Califanda, designated
                                                         the absence of such
                                 aPice of the ccrporatian.


  President, shall deliver   notice of the t?msother person designated by the


                                                            ~
  Board of Mzectors to                           and place  of meet?ngs af the
                         each Mrector pexsanally
  three {3) days or by Ijhited                      ar by
                                Stares mail at least seven tele  am within
  ta the day of the casting, sxceat                              days,
 Mrectozs, except fox'he               that notice of all    {
                                      regular sect?ug of Mzectozsmeet
  the electhn of Mrectazs,
                               it hereby dispensed with and exceptheld forof
 wise provided in Chase
 States anil or on its
 be addressed to each
                       Xf
                          Bylsws ar under Isw. If
 the notice shall bs deemed
                               to be  delivaxed cn
                         dslivsxy ta the telegraphits deposit in tha
 of the cozparatian. 9Izector
 nat readily ascertainable,
                                                                      ~
                                                     sent by mail orsstelegram,
                                                                        other-

                                                     caspany. Such notice shall
                                  at bis ar her address
                           the address of a Mrectar as shown on the backs
                                                       is not so shee snd is
 at the city ar place in whichthe notice shall be
                                                    ahhwsed
                                  the meetings of Mrectors tn him nr her
 Notice of the time and
                          place of hold?ng of sn a4ouzned sre regularly held.
 be given to absent
 &dg ouxned.
                       ~tozs     if the time sad place are f?xed
                                                             seating need not
                                                                  at the meet?ng

      Notice of cmetings uot
 day snd hour of the           ~         dispensed
                                                with shall specify the


                                         ~ ~
                       seating and the general natura
 transacted.                                          of the business taplace,
                                                                          be
 SECTION 10.    MAIVER CF NOTICE
                                   AND         'TQ NLDING
                                                            NM!1NGS
      The transactions of
 noticed or wherever held, sny meet?ng of the Board,          called snd
 duly held after proper     axe ss valid as though
                        call  eud  notice,          the meeting had been
 defined, is present                       pxovided a         as hsxeinsftmr
 each Director uot snd pravi,ded that either bsfxcmquazms,
                                                       or after
 the seating, or anpxwsent  signs a waiver of notice,            the meeting
                                                       e consent
 cccsents, or approach shallof ths cdnutes thereof. All such to hold?ng
                    sppmmQ.
 part of the minutes of the be filed with the corporate xecozds   waivezs,
                                                                     ar made
                             vesting.
                       PDR MEZQCS
     A quorum shall
                       consist of a sndozity of the
     Except ss   o~e                                  Basrd of Mzectors.
                            ptmvided in there Bylsws or
  Incegmation of the corporation,

                ~
 sidszad by the Board at
                                                         in ths Articles of
                                     or by lest, na business
'tain at such
                      is  a
                           and ths only motion
                             motion to a@urn fzcm
                                                               h~sr
 deGned, is not present, any zesting at which a quazms, as shall be can-
                                                 which the chdz shall
 time fiwed faz th»
                    aexr. regu1sr meeting           time to thus until enter-
                                           of  the Board.              the
   Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 33 of 166




        ashen a smeting
   necessary to give anyis agouzned for lack of a quorum, it
                           notice of the time end
   meting or af the business                                       shall net be
                                 to be tranacted    place  of the  ad)earned
   by snnounesnmnt at the
                            smstizjg at which ths at such meeting, other than
                                                   ad)cerement is taken.
        The IHrsctors
   quonm is            present, at a duly called
   the lass afinitially present                    and held meeting
                a quorcm si: the msy continue to da business          at which a
   fram the meeting.              meeting dua to a              natwicbstendiug
                                                    withdrawal af Directors


        Every act or dszdaion dane or made
   present at a meeting
                        duly beld at which aby a ma3arl.ty of the Directars
   of the Baszd of Dixecnzn,s,
   of this corporation,        unless the lsw, qenum  is     ent is ths act
                        oz'hese Bylsws require  the Artie    af Zncoqxnatian
                                                  a greater camber.

       Neetings af the Board of
  President of the coqoration     1Kzeetors shall
  President of the               or, in his or hsrbeabsence,
                                                      presided over by the
                   mqemtian
  chosen by e majority           or, in tha absence of        b the Vice-
  tary of the numerationof the Dixaceoa                 both,
                                          present at the meeting.a Qmiussn
 Board, provided that      shall  act as Secret                      The Secre-
                        iu his ar  her              of all suet      of the
 appoint another person to             absence,      presiding o cer shall
                             act ss Secretary   of the smeting.
       Hearings shall be
                          governed     Bobezts'ules of Order, as
                      time to time,byinsofar
 may be revised fram
 with or in canfliet                              such rules are mat such rules
 this corporation, orwith   these Byisws, withesthe                   inconsistent
                       with law.                     Articles of Ineozpazation
                                                                                of

      Any actian   requimd or penCtred to
 under sny pzavisian   of law                be taken by tbs Board
 of ths Board
 nucinn. Suchshall
 of the
                                   be taken without
                      individual y or collectively a
                wrctten consent or canssnts
                                                      nm, if
                                                    consent
                                                                    of Directors
                                                                   ell
                                                               wziting
                                                                       neahers
                                              shall ba filed with ths to such
                      of the Baszd, Such sctien
 the seemproceedings
           farce and affect                                            cdnutss
 cate or other doemmnt       as the muzLbunm voteby written cansent shall have
aetian so taken shall filed under any provisionof      the Directors. Any
consent of the Board     state that the action wss takenlew which relates tocertifi-
                                                     of
of Yzmazlrnatian and of IKzectors without a enettug by unaainuue written
so aet, aed such
SECERN 1S.
                        Bylsws of this corporation
                   statement shall be prima
              VACANCIES
                                                    autlxeise the
                                             facie evidence of such~rs
                                                        and that the Articles
                                                                             to
                                                                     authority.
       Vaasnci.es an
 resignation of anythe  Board of Directors
                                           shall
                     Director; and (2) whenever exht (1) an the death ar


                                                                   ~
Directors is increased.                          the numb of authorized



  ~
      'lhe Board of
 (1) if he or shs isDirectors may declare vacant'he
(2) if within sinty declared of unsmmd mind by an office of a
a                    (60) days after notice           order af court; or
           he or she does not                of h4I
                               accept the officer    or her election to fill
attending a meeting of                             either tu writing or
                        the Board of Directors.                         by
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 34 of 166




       V~ ~            by the death ar xesiyetixn
  amndmjnit of the Aztialea                       of a Director, er by an
  tha eihsr of authorized of lncoxporatIan or of these Bylssa

       A psrsan    ~~
  zsssdxdng IMxectozs.    Dlxectora shall be K1ed


                               e1ectIcn of the Rosxd of
  until Ids er hsr death or xesiNucticu
                                        fmm
                                                              increasing
                                                  by a ms]ority ef the

  hold office until tha to fol a vacancy as provided ixL this section
                                                        Mzeetors or
                                                  office.
                                                                      shall
  SECTION 16.     m-X,IARuZrr GF DLRJICDRS
      Tbe
 ar other Dtixeetors shall not
          abligstiom of ths bs personally liable far ths debts,
                                coxporstian.                          Debilities,
 SRCTLLN 17.      XM 886T'F SX
                  D
                               CSPORATTGN FOR    LITERS ERPRNBIN GF OFFLQR.
      Should any
 or shs wss or isperson  be sued, either aLone ar



                                                        ~ ~ful
                                                    with
 soy
                   a Dixector,
          scxgug szistug out ofofBeer,    or ssmlcyss of others,
                                                          the
                                                                  because ha
                                                               mzpaxation,
 in the Iedhmmnz.'e of his ar    his  ar bsr                                in
                                                     udsgsssanca of nanfsasenca
                                bsr
 against the oaxperatbm, ixxhsxCty   duties er aut of any al
 assessed       ~t
 including ethaxnsy's fees incuxxwd far his ax bsr
 in the seem ar a ths
                                       iu the
                       ceqemtian, its receiver,
                                                                    wmeg531 aet
                                              defense of the pmccsugxlg,
                                                                          msy be
                   separate pmessdtug if 9) the ar its txustm, by ths court
 in whole or in part,  az ths pmcesding against             sued is
 the cggcoval af ths court;  snd (2) tha court finds   or  hsr is settled with
 fairly merits such izshexiity.  Ths ucoet af such     that  his ox'sr conducz
 of ths axpcxlsss,                                    tudcicnlty shall be so much
 pmceading, as the eouxt sttcuxmy's       fees incuxxsd in the defense
                                 to be reasonable.                      of the
                              ARTICLE 4.     GFFLCERR
 SECTIIN   l.   RINKR GF CRFLCERS
     The oKtcem of ths coxperatien shall
a Secretary, sud a Tzussucsr. Ths
by ebs Board af ufxscmxs,              ~ioubs s President, a VLcs-President,
                                                   also have. as dstensinsd


~
                           cos or coxs sddttian
ssexetsrim, Assistant Ttsssucurs,                 cs-presidents,
                                   ac'ther such officers. Ixm Assistant
sny hold tuu ar seza offices.                                    pszsau
                              exmpt these of President  and Secrezsxy.
           2.   QGALlFCCATXOR. ELPATMN.
                                        AND TERM OF OFFLCE
     Any parson may serve as
                              ofhcer of
be elected by ths Basxd of Mxsctors, at this corporation. Dfficaca shall
shall hold office until     or sha xesignssay
disqualifhcd to saeva, orbeuntil
snd qualified, ~diver
                          accucs
                                              time, and each
                                 his ax her successor shell
                                    fizst.
                                                                 o~
                                           or is xemved or isofficer
                                                            be elected
NcNN 3. SBIIRKIIIE QIWRRIS
     Tha Raazd of Dizectocs
                            may sppcdnt such other
~ty,
may dssm desirable, and

the Baszd of IMzsctors.
                        such office shall serve
           snd pai.~ such duties
                                                   officers er agents
                                                  such teems, have suchas it
                                   cs may ba pxescrlbed
                                                        fecal time to time
                                                                           by
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 35 of 166




        Any officer may be
  Board of Mzeetors, at      ~, IK~    either with or
  Searetsxy of the corporation. Board of
                                                     without cause,
  Eivtug written nottee taanythettms, Any officsx'may resign at enyby the
                                                                     time by
                                                     or to the President or
  the date of the receipt           Any such zesignation
                                                         shall
  therein, and, unless
  rasigaattan shall not bs
  vtsiaos of this section
                            o~e
                           of  such  notice or
                                 specifted therein, tbe
                                                               take affect
                                               at any later date specified at
                                                        acceptance of such
                           necesssxy to mike it effective.
  cantxact which hm been  shall be superseded by            The above pro-
                          approved ar ratified       canflicting terms of
  relating to ths eayloymant of
                                any officer af        Board of Btrsctozs a
  SECZZM 9.
                                                   eozparattan.
                VACANCIES




 ~     Any vacancycaused by the death,
 or otbazcnse, af any
 the event of a vaeancvofficer
 time as the Board.stM11
                               shall be zesignatian.
                         in any office other
         may be filled tsm@orartly
                          ftli                  V~
                                    by appointment by the
                                                         ~&
                                        filled by the Beard ofcttsctaaLtficattani
                                                               Directors. In
                                             than that of President,
                                                                      such


 ~
 officers appcdntad at, the    the vacancy.               President  until  such
 the Board shall detezmtne. dtsczetice of              occurtng in
                                          the Board msy or may uot  offtecm  af
                                                                   be filled as
          6.   BIIrIES (IP PEESIDENI
       The President        be ee chief executive
 and shall, sub)eet shall
                      to                             officer of
  contxol the affairs af thecontxol of the Board of Mzectors,the corporation
                         the
                                                                   supervise snd


                      ~
                              corporation. He or she shall
 incident to his or her affairs
 law, by the Articles of           snd such other duties      ysr8om all duties
 or which may be pxescrtbect~raticm                       as msgr be rsctuirad
                                          of this eoryanttan,    or by chase By
 shs shall preside at all fram time to time         the Board of Directozs.
 of the          of the               of the Basr of Directors                  He or
 by lscv, by tha Articlescorporation. Exempt as otheerlm          and, if     licable,
 iu the name of the        of Ineorporattan, ar              expressly
                                                 by these Bylsws, he or sheded
                   ius~
~ehadw or other
 Board of detractors.
         7.
     In the
                      coxparatian,  execute

               BODIES QF VICE-PRESIOENZ


or refusal toabsence
                                            such deeds, mortgsgss,
                               which may from ttms



                      of the President, ar in the
                                                                     bands.



                                                   event of his ar her
                                                                               shall,
                                                                             contracts,
                                                    ta time be suthartsecl by the


               aet,
and when so sating   the Vice-President shall perform                   inability
an, the Pcesidsnt. shall   have all the powers         all the ckcties az'the
                                                of, sub)act                    President,
such other dautes asThe Vice-President shall have other ta all the restriction
or by these Bytaws, ormsyasbe prescribed                   such
                                            lscv, by the Articlespowers and per%arm
                            may be prese   ed by the Board of      of Inecmporatton,
                                                               IKxectors.



     ~
     The Secretary shall;

or a copy, ofand keep at the
              these Bylaws asprtneipal
                                            ~e
                                         office of tha aoxporation


                                          ~hal,
                                                                   the
                                                     altered to date. orighsl,
                               mcmnded or
     Eaep at the
as the Board msy prfncipsl a%Lee of the corporation or at
recording thereindatetmtne,
                  the
                             a bock of          of all       such other lace
snd, if spectal, bow  time  and place of               vmetings af the
                     called, how noti,ce   ~o      whether regular or special,
                                                  was given, the oases
                                                                       of those
   Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 36 of 166




   pxssent at the meeting,
                             snd the pxoceedhlgs
                                                    thereof.
       gee that
  of these gylsseallornotices sra duly gimel in
       ga
           ~
  that thecusto«hnl
           seal is
  an behalf of the
  Bylaws.
                       as xxxpcixsd by her.
                      Of the Xecaxds snd af
                     coxpoxaticn under  its
                                                 aneurhme with the Pmvfsicns

                                             the seal of lhs aoxpamtLon
                             ta all «hly esecuted
                                            seel is    ~sd                sod ses
                                                    doc«ments, the execution
                                                                             of shich


  sny ~bip   ~
       Keep at the

             ~ed,
                     principal office af the
   ccnteicling the usnm snd
                   has been
  nanherldlip bcdk tagslhsx
                                     of sech
                                         be
                                              snd
                                             or
                                                                by Lss ar by these

                                               carpoxstjAal a msnhers
                                                  any'snher, sod im book
                                                sha shall xscoxd such
                             wich the date cn which
                                                                          case where
                                                                       fact  hn che


              ~
                                                      such nsehersbip ossssd.
        Exhibit at all xsss«xlsble
  ar to his or her sssnt           tines
                           ar attorney. «xltamcpXXSt
                                              any Defector of the



           ~                                         therefoxe, thecorporation,
  the msshsxship
  af the caxparaticn. s and the           of ths pxoceedixlgs Rf tbe
                                                                       laws,
       Tn general,
 snd such ocher duties    all duties incident to ths
                       ss may be xscpdxsd            office of gecxetexy
 Xncorporetlcn of this                    by Lsw, by the Articles
 assigned to hhn or hercoxpaxstfel«cr by
                        fxcm thns to tbns     8 gylsws, ar «kdxh of
                                                                  nsF be
                                          by the gosxd of Dtrectxlxw.
 ggCTLtCS 9  WEIL GF TgFMOKgl
      gcbdect to the pmvtsicns
 shalL:                        of ARROZ 6 of these
                                                   gyisws,          tbs Treasurer
      Hasx chsxga
 securities of thasnd custody af, snd be
                   corporation,          xespcnsible
 tbe caxparstion in such        snd dePosit 811 such
                                                      funds
 shall be selected by thebeche, trust c«xxpscdss. Or other
                          Board of DLxectoxs.              depositaries ss
      gscx-"Lm.
 far scCy sourceand gt~ xeceipt for& xxxdes due snd
                 shatsoe«sxr.                            payess to tbe caxieratfm
     D4lburse ar
bs directed by theCBU88 to be dLsbuxssd tha funds of tha


                                                 ~
disbursements.      Iosxd of IHzscxoxs, tstdcg            ccxxpoxsticn ss may
                                               proper llauchelnl fnr such
     geeP Snd nsdxltCdxl
       iss snd businessa&usta   snd caxxent
    ilities,   ~ts, disburseasnts,
      RhihQCt at 811
                        transactions,    hm
                                         galas
                                                         of the coxpareticn'8
                                                     sccaunxs Df its assets,
                                                    lasses.
xscccik to sny Mxscror xssscmable thus tbs beats
sttcnxxxy. an recpIest     of the ccxpoxstfARl, or of sccaunt and Gasncial
                                                   ta his or her agent ar

                                                                         ~
                        thercdbxs.
af snp'r slltaoftheh4Pxssident
      Render
                                snd Mxsctoxs, «dens«Ier
                        ar her trsnsscthns  ss Txslsuxsrrequited,   sn

     ~,
candtthe, of tha cox pareticn.

the ftxlsncial or  cense to be peqwcxsd,
               statsmente                snd certify, vr
                           ta be h«cl«Ided in any
                                                          snd of ths fixlsnciel

                                                             cmice to be certified,
                                                    xs«glixsd reports.
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 37 of 166




         In general, perform
                              all duties incident Co
   snd such other
                   duties as msy ba
   Incorporation of the
                                                     the affine of
                                     reluizsd by Isw. by the
   assigned to him or heranparatixn, ar by these Bylaw, Articles af
                                                                        ~ez
                           fram time ta the                or
                                              by the Bosrd of which may be
                                                              lKzectors.


        Tbe Baaed of
   two (2) or sure ofDirectors msy, by a ma)ority vote
                       its msabers to constitute
   delegate to such CanmLttee                              of its msshsrs,
                                                                            designate
                                                   sn Executive
   manage,mnt af the business any of the powers snd               Committee snd
   to adopt, amend, oz          snd affairs of tha     suthxuity of the Board in
   such cosmLttee snd   repeal                      corporatian.
                                the Bylsws, and xovided            except tbe power
                      the delegstirn
   to relieve the Board                                    that  the
                                       thereto o authority shall, delegation af
   sibility fsposed cn aforDirectars
                        it             oz sny individual             not operate
  af this coxpazatfxm, or hfm or her by 4w, by the DLrectar of sny respon-
  the Board may at sny
  delegated, fncxswme
  swnbexs, snd fLII ar   ~e
                       va~
                            by these Bylsws. By a
                         tfme revoke or modify sny  msdorizy
                                                    or all ofvote
                                    but not below twa
  ccsmlttee shall establish therein fram the msabers
                              rules snd regulaticns
                                                                tbe
                                                                     af its
                                                                   ~xy      ~,
                                                          Artiales of Incorporation

                                                        (2) the mmhsr of its so
                                                            of the Board. Tbs
  at such times      it deems nacsss, provided that
                                                 fax'ta umetfngs and mset
  all msstfruls ofasrhe Committee                   a xwsscamtbie
                                shel be ven to f,ts                notice
                                                       msnbers, and no sctof
 Casmlttse shell be valid
 usllority of ita mesbers. unless
                                                         written consent ofofa the
                                  appro    by a vote
 proceedings snd zepazt theThe CammLttee shall keep orregular minutes of its
 may rBguixe.                sssm to the Board
                                               fxos time to time  as the Board
 SKTM 2. SQND25
                      M) AU BCC      CPS"II'~&f.ll
      5m corporation shall
 fram tfms to time          have such Standing
                   be designated by rssolutian snd Ad Hoc
                                               of the BoardCamsittees ss
                                                            of Directors.mxy
         ARTICLE 6.    EXECUTE% OF
                                     INSTSUNENXS, IEPOSX1S
                                                           AND FL5DS

      %be Board of
may be zesolutian     ~s,     exrapt as
                   autkzmire any officercrhexwisa provided in these
enter inCa sny cantesct'r                or sgsnt of the             Byisws,
of snd cn bsbslf            ssmcute snd deliver           corporation ta
                  of the corporation, snd such
confined tn specific
or employee shell     instances, Unless sa
                                                sny
                                                     ~ty
                                                    fnstnssent fn the nsms
                                            authorised, msy be general or


~ o~s
any contract oz have eny power or autharity to bind no officer, agent


        2.
     Except as
                engagement ar to pledge
monetarily fne any



Basxd of DLzsctazs,
                    purpose
             CHECKS AND MDB3
                             or fn any amount.


                         speci.ficslly    det~
                                                       the coxparatian b
                                         its credit or to    render it Iiab



notes, orders for or ss otherwise zmluixwd by Iaw,
                                                 by resolution of the
                  payments
corporation shall be       of sunny, snd other       checks, drafts,
                                                                     promissory
of the corporation.  signed by the Trsasuxer   evidence of indebtedness
                                             snd camltezsigned          of the
                                                               by the President
SECTS 3.     DEPOSES
    All foods of the
                       corporation shal1 be
                                               deposited fram time to
                                                                        time to the
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 38 of 166




             4. uFrS

                                 msy accepr on behalf of
                                                           ths corporation sny

                               MIGRATE %XSM. REPORIS
                                                           AIEI REAT.
  SECTSÃ L     Magenta m'SERnm



 of holding,   ~
      The corporation
 place as the Board ofshall
 of Doctors and of all
                            keep at its pr
                       Dtxecnccs
                         meetings of meebe4, if
                     reguIar
 notice given, the nmass of  cr
                            those present and if
                                apaches, and,
                                                           ~
                                               al office, or at such other
                                 msy order& a Scok of
                                                              of sI1 smetfn
                                                 any, with the time and
                                                 specdal, bow calhd, the
                                              the proceedings Checeof.
                                                                        place



                                                                        ~
 I%CERN 2. ICSS QF
                      AEONS
      The corporation


 QCTX(N 3. IRPKCmr
                          ~,
 of its proIertIes andshall keep and maintain a     te and correct
 assets, liabQitdes, business trNIsactions, inctuBng aconite
                                disbungemsnts, Ewdns, and
                        K DXRECnm
                                                          losses.
                                                                  of its

      Every   ~or         ~,
 to inspect all bocim.shall baMe the absolute right at acr reasonable
 Icopectias of the corporation. ckmumsnta of chary Icfnd, and the     time
                                                                  physical



                               ~
 SECMM 4. GOBPCBATE
                        8BAL
     The Board of  I@rasters msy adept. use, and
 seal. Such seal shall                            at       alter, a co mete
                        be
 to affim it shall not effect      to i11. coxpcnmta wi11
                                                     instruments,
                              tbe validity of any such             but Route
                                                        instrument.
                          AIDXCLE 8.    FISC!K YEAR
SCBQI 1, BSGIT lRLR OF 3R
                          CSSSNHW
     Ba flaaal yam tha aapeaafaa
January acd end cn theaPlast             eball begla m Sa fhat
                             dsy of Dsceaher.                  Ised ot


SECXKN I..    AMEHIHEMZ

     Sub)act to any provtshmL of
of nonprofit corporations,        Iaw applicable tc
                                                     the
amended, or repealed end    these amylase, or acy of them,ssencbent of Sylass
                                                            mey be aleaad,
                          nse Byhae    adopted as .'allows:
     (a) Sub)ect to the poser
them, by the mte of a
                    ~ority
                          of the mschers, if any, tn
                                                     change or
'special amati'f Nzsctnrs, of Directors present at any

                           'ai
notice of such meeting and of st which e qeaun ia present, ~idedor
is yam each DIrector as 4 the intention to change the gy
or oy written consent of   ~     I
                                   in lQEHZZ 3, Section 9 of
                         all Direcrors
                                                                  ~ that
                                       vlthouc a seethe as these 8 Iassi
                                                           panrldsd hl
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 39 of 166




  ~,
  AEZIQZ 3, Section
 ar changing che number    15 af these Byisss
                                of
             or repealed NcaeptDLreccars
                                                         ~
                                                 prays.ded,
                                             of the corporation
                                     as provided in Paragraph   may
                                                                    Chat s By]sw fixing
                                                                     not ba a
                                                              (b) of thissec:       ar
 if sny,{b) orBybythechewritten  consent of a ~ority of
                               of a ms3oricy af a quorum msnbers entitled ta vote,
 vote, if any, at avoce   nesting of members called snd of mesbers entitled to
 smeting for che purpose         of absnghg the Bylcets. noticed as a special
                       ARCZCIZ 10.   AMESEMEÃZ OF
                                                    ARCIQZS
 SECTION   l.   AMENIBIENZ OP ARTICLES
                                         HERSE AIMZSSZON OF
                                                              MEMBER
      Before any masher, other Chan
 to the corporation,                the
 adopted by a writingany emsnhent of the Art zatars,
                                               les of
                                                       have been admitted
                      signed by Csa-thirds {2/3)      Zncarporation
 corporation.
 SECTION 2. AMERIRENZ
                       GF A1CZQZS
      After msnhers, other than
 caxporaticxc, amendnsnt af the
 by rssolutian of the Baaxd,
                             of
                                         AFZER AD%%ION GF
                                                            ~
                                                 of the izjcoxporatcnsmayofbethe


                                 incozpozators, have been adsd.tted
                                Articles of Inaoqeratian may be ta the
                                                                  adopted
 of usa-Cbirds (2l3) of the Directors and by the voce or written
 of manners.                 nusbex of voting mecbers representing cansent
                                                                    a quarczs


 SECTION 1.

     No    ~,   PIEHZBZZZCN AQGNK

                 Director,
                                     SHARING CC66OBATE

wf.th this corporation, or officer, esployee, or other
                                                         ~      AND ASSETS



aarporation, provided,
Co sny such pexsan        ~,
scy of the net earning orany private individual, shel receive
                             peccxdazy profit fxcm the
                    of rsssansb1eChat.
corporation in effecting eny of its
ef the Bc3eXd of Znxectoxe; end
                                         this
                                    ccmpens
                                                             san cannected
                                                         operations
                                                                     et any Chas
                                                                     of the
                                                    ian shall nat pxevent
                                                  far services performed
                                       puxposse ee shell be fixed              the
to share in the cKscxibution no such person or persaas shall be    by revolution
assets on dissalucian of the of, snd shall not receive, sny of theentitled
corporation shall be deemed tocorporation. All mssbers, if any, of corporate
                                                                        tha
such dissotutian or wtn          have expressly caasentsd
                              up of  the affairs of the     and agreed  that an
voluntarily or invaluntariky,                            corporation„whether
                                the  assets
have been saCisfied,
                      then rectminlng in theofbends
shall be distributed as
                                               the coznoratian, after all
                                                                            debts
                         required                    o the Board of Directors
corporation end not othexwise.     by  the Articles of Incorporation af
                                                                          this

     We,
                 RKTM CMEC OF DZRECZORS
         the undezsigaed, are all of
in tbe Artiales
corporation, end pursuit
SXK of said Articles
                                         ~
                     and by ARZICZZ ZBREE,
                                               ADOFZTKG PKAWB

                of Incorporation of the persons named as the fixst Directors
                                             Foundation, a California
                          to the authority granted to the Directors in ARTZCIZ
                                           Section 14 of these
                                                               Bylaw@, to
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 40 of 166




 take aotfan by unenhema
 and hereby ds,           wrLtten eeaant
 the By1awa of  «hut  the forego&a Syrus,
                                         vftbont ameet, omeent to,
              AM corporate.                cone4tLag of 1
                                                          pages, as
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 41 of 166




                   EXHIBIT
                   EXHIBIT 3
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 42 of 166

                   SCHWARTZ FOUNDATION
             cANIIION STANFORD NOVSE I4'I 6 LAKESIDE DRIVE
                      OAKLAND. OALIFORNIA 946 I 2
                           TELspN&NR 4 is/skip 92ss


                  NINUTES OF SPECIAL NEETING

                    BOARD OF DIRECTORS OF
                  THE SCHWARTZ FOUNDATION


      A special meeting of the board of directorsof the.
 Foundation, was held at ll A.M, on November 4, 1983, aaSchwartz
                                                          One
 Xaisex'laza, Suite 1450, Oakland, California..
    The following directox's ware present at the meetingl
                 'Robert A.D. Schwartz
                  Donald C. Schwartz
                  Thorn   R..Picarello
      The fdllowing directops were absent from the meeting:


      The following individuals were also'resent at the meeting:
                  None
   The chairman called the meeting to order and announced
the meeting was beld:pursuant to waiver of notice of meetingthat
which was given to all dix'actors of the cozporation, A copy of
this weigher was ordered inserted in the minutes book iiinIediatiely
  -
            'receeding
            the minutes of this meeting.
   The minutes of the last meeting of directors were then'read
 and approved.
     A motion was raised, seconded and passed unanimously 'to amend
 the Bylaws of the Schwaftz Foundation, "Articl,e 3. Directors",
 "Section. 1. Number" text thereof to read as follows:
                  "The corporation shall have four directors and
      collectively'hey sha1.1 be known as the Board of Directdis,.
      The number may be changed by amendment of the Bylaw,, or, by
    'epeal    of this Bylaw and adoption of a new Bylaw, as provided
    ..in .these Bylaws".
      The, chairman- stated that the election of new officers was
in order„ 'The board then proceeded to elect new officers of
the corporation. The following nominations were. made and sec-.
ondedl
Special Heating MinutesDocument
  Case 5:23-cv-06086-BLF continued
                                12-1 Filed 12/13/23 Page 43 of 166



                                                  Qffiee
Robert A'.D. Schwartz                         Px'esidsnt .
Donald C. Schwaxtz                            Vice President 6 Secretary
Michael L.,Osterberg                          Treasurer
        I&

     Ho furIther nomknations were made, and the persons named
above were unanimously elected to the offices set forth oppo-
site their respective names.

     The chairman stated that'he electi,on of new directors
was in order. The board then proceeded to eLect new directors
of the corporation,
     The     following nominations were made, secondad and
           unanimously'pproved:
                   'Robert A.D. Schwartz
                   Donald C. Schwartz
                   Michael L. Osterberg
     Thorn R.   Picarelle has resigned fram the board.
     ()
    'he chairrman raieed the issue of designation cf agent .for
service of process. A motion was made, seconded and unanimously
passed to designate Donald C, Schwartz at One Kaiser Plaza, Suite
1450, Oakland, California,.94612, agent for service of yrocess..
     Thews being no further business 'to come before the meeting,
the meets.ng wss duly adjourned.

                                 Donald C. SChva'rtz
                                 Secretary

     The f     egokng --~ yageee of minutes of the Special Nesting
of th e Sy    artz ou d, tion hav been read by .me and ayyroved..

    ~aooert -a.u. ocnwar
                                                  a APicarello
                                             Thorn R.
                                                        8a~id
    'resident 6
     Chairman of the     Ihard'ember
                                 Secretary (resigned)
                                        of        (resigned)
                                                         Board
                                   -2-
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 44 of 166
Byecial “hatinglMigutal“gontihu€é
Special Neetiug Minutes continued




    David C..c Schruarta
         'ice       rtz
    Vice President and
    Secretary
    Member of the Board
    Mbmber        Board.




                          "'
    Treasurer-
    Mhmbar of the 3
    Heinber       B- ~-
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 45 of 166




                   EXHIBIT
                   EXHIBIT 4
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 46 of 166



                                  UNANIMOUS WRITTEN CONSENT
                                   OF THE BOARD OF DIRECTORS
                                              OF
                                     SCHWARTZ FOUNDATION


                The undersigned, constituting all of the directors of the Schwartz Foundation, a
California nonprofit public benefit corporation, in accordance with the authority provided Section
5211(b) of the California Nonprofit Public Benefit Corporation Law, hereby adopt the following
recitals and resolutions:

Past Acti vities

                 WHEREAS documentation of many Board actions over the course of
         years since 1983 is unavailable or unclear, and the directors now wish to ratify,
         confirm, and approve the actions of this corporation and its officers;

                 NOW, THEREFORE, IT IS RESOLVED that the following actions of
         the Board of Directors of this corporation are hereby ratified, approved, and
         confirined, notwithstanding any defect or inadequacy in Board process or
         documentation of Board action at the time:

         ~   Authorizing and directing the President, or an individual delegated by the
             President, to execute and file with the California Secretary of State, as
             required by law, the biennial Statement by Domestic Nonprofit Corporation
             required by the California Corporations Code, as well as payment of any fees
             or penalties associated with such filings;
         ~   Annually electing the following directors who served during the dates set
             forth below:

                     Robert A. D. Schwartz - incorporation until his death in 2017
                     Thorn R. Picarello - incorporation through 1983
                     Donald C. Schwartz incorporation through 1990
                                         —



                     Michael Osterberg - 1983 through 1990
                     Debbra Schwartz - 1991 until her death in 2020
                     Robert D. D. Schwartz - 2007 and 2008
                     Margot Schwartz - 2009 to present
                     Noah Schwartz - 2020 to present

         ~   Annually electing the following officers who served during the dates set forth
             below:

                     President:              Robert A. D. Schwartz - incorporation until his
                                             death in 2017
                                             Debbra Schwartz - 2018 until her death in 2020

                     Vice President:         Donald C. Schwartz - 1983 to 1990
                     Secretary:              Donald C, Schwartz - 1983 1990
                                                                        —




(01280449.nocx; 4}                                  -2-
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 47 of 166



                                       Debbra Schwartz - 1991 to 2006
                                       Robert D. D. Schwartz - 2007 to 2008
                                       Margot Schwartz - 2009 to present

                     Treasurer/CFO:    Michael Osterberg - 1983 to 1990
                                       Debbra Schwartz - 1991 to 2018
                                       Margot Schwartz - 2018 to 2020
                                       Noah Schwartz - 2020 to present

         ~   Authorizing the removal and/or resignation of Donald Schwartz as director,
             Vice President, and Secretary of this corporation, effective December 31,
              1990;
         ~   Authorizing the removal and/or resignation of Michael Osterberg as director
             and Treasurer of this corporation, effective December 31, 1990;
         ~   Authorizing the removal and/or resignation of Robert D. D. Schwartz as
             director and Secretary of this corporation, effective December 31, 2008;
         ~   Engaging an accounting firm to prepare and file this corporation's annual
             federal and state tax returns, and legal counsel to review the same;
         ~   Reviewing this corporation's annual tax returns, through the year ended
             December 31, 2019;
         ~   Authorizing all direct charitable activity conducted in furtherance of this
             corporation's exempt purposes, including developing and implementing the
             Peer Tutoring Resource Center in Oaldand beginning in 2012 and continuing
             to operate through present day, and The Therapists, a jazz band performing for
             the elderly in nursing and other residential facilities beginning in 2015; and
         ~   Engaging and compensating all contractors and service providers to this
             corporation, as reported in applicable Forms 990-PF.

Bylaws Amendment and Restatement
                WHEREAS the Board has determined that it is in the best interests of this
         corporation to amend its Bylaws to conform to current law and best practices;

               NOW, THEREFORE, IT IS RESOLVED that the proposed amended
        and restated Bylaws attached hereto as Exhibit A (the "Amended Bylaws") are
        hereby approved, such Amended Bylaws to become effective immediately; and

                RESOLVED FURTHER that the Secretary of this corporation is hereby
        directed to notify this corporation's tax preparer and provide a copy of the
        Amended Bylaws to him or her, to facilitate proper reporting of these changes to
        the applicable regulators.


Officer Elections
               WHEREAS Margot Schwartz is currently the Secretary of this
        corporation and the position of President is vacant;

                     NOW THEREFORE IT IS RESOLVED that Margot Schwartz is

101280449.nocx, 41
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 48 of 166


        hereby removed from her position as Secretary, and is appointed as President of
        this corporation effective immediately; and

               RESOLVED FURTHER that Noah Schwartz is hereby affirmed as the
        Treasurer, appointed August 3, 2020, and is hereby appointed as Secretary of this
        corporation, effective immediately.

Omnibus Resolutions

                RESOLVED FURTHER that the officers of this corporation are hereby
        authorized and directed to take all such further actions as they may deem
        necessary or appropriate in order to implement the foregoing resolutions, and any
        actions heretofore taken by the officers to further the purposes of the foregoing
        resolutions prior to the date of this Unanimous Written Consent are hereby
        ratified, approved, and confirmed.


                IN WITNESS WHEREOF, each director has provided his or her written consent to
the resolutions included in this Unanimous Written Consent as of the date set forth in the e-mail
message sent by such director to margotduffyschwartz@gtnaikcom approving this Consent. Such
execution may be in counterparts.


Directors:                                          Margot Schwartz
                                                    Noah Schwartz




(0128044anocx; 4}
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 49 of 166




                        EXHIBIT 5
   Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 50 of 166




                              UNANIMOUS WRITTEN CONSENT OF

                                          THE DIRECTORS OF
                                        SCHWARTZ FOUNDATION

                                             July 26, 2021

        The undersigned directors of Schwartz Foundation, a corporation organized as a nonprofit
public benefit corporation under the Nonprofit Public Benefit Corporation Law of the State of
California for charitable purposes, do by this writing consent to the following actions and adopt
the following resolutions pursuant to Article Six of the Articles of Incorporation, Article 3,
Section 14 of the Bylaws of the corporation, and Section 5211(b) of the California Corporations
Code:
         WHEREAS, the corporation was founded on November 14, 1979, by Robert A. D.
 Schwariz, Donald C. Schwartz, and Thorn R. Picarello, each a California attorney', who served
'as the corporation's initial directors and incorporators,

       WHEREAS, the last recorded minutes of a properly conducted meeting or properly
executed unanimous written consent of the Board of Directors of the corporation are the minutes
of a meeting to elect officers and directors and amend the Bylaws ofthe corporation on November
4, 1983, for which all the origina! directors named in the Articles of Incorporation were present
namely, Robert A. D. Schwartz, Donald C. Schwartz, and Thorn R. Picarello.

       WHEREAS, Thorn R. Picarello's resignation from the Board was acknowledged and
Robert A. D. Schwartz, 1)onald C. Schwartz, and Michael Leanor Osterberg (a Certified Public
Accountant and California attorney') were elected to serve on the Board of Directors at the
November 4, 1983 meeting.

         WHEREAS, pursuant to Article 3, Section 4 of the corporation's Articles of
 Incorporation, a director is to hold office until the next annual meeting for the election of directors
 or until his or her successor is duly elected and qualified.

        WHEREAS no new directors have been duly elected since 1983 snd no existing director
 has resigned or legally been removed since 1983, the undersigned Donald G. Schwartz and
 Michael Leanor Osterberg comprise all the current members of the corporation's Board of
 Directors.

         WHEREAS, in addition to Co-Founder Donald C. Schwartz's role with the corporation,
 certain other members of the deceased Co-Founder Robert A. D. Schwartz's family (these other
 family members referred to collectively as "Managers" ) have assisted with the business of the
 corporation in recent years, including with regard to its day-to-day management.

 l. At that time or at later date(s).
 2. At that time or at later date(a).
   Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 51 of 166



Unanimous Director Written Consent
July 26, 2021
Page 3 of 7


        WHEREAS, Plaintiffs have taken a number of additional wrongful and damaging actions
in their effort to gain control of the corporation since the death of Co-Founder Robert A. D,
Schwartz's wife on July 31, 2020, including in an undated, unsigned director written consent, in
which they are incorrectly identified as directors and attempt to rewrite the corporation's history,
and adopt amended bylaws granting themselves the right during the remainder of their lifetimes
to designate who shall serve on the Board of Directors of the corporation in direct contravention
of Article 2, Section I of the Bylaws, Article 3, Section 6 of the Bylaws, and the intent of the
corporation's co-founders.

       WHEREAS, it has been determined to be in the best interests of the corporation for the
Board of Directors to retain tax counsel to advise the Board on tax matters relating to the Assets,
including with regard to potential corporate and manager liability under Internal Revenue Code
Sections 4942 (taxes on failure to distribute income), 4943 (taxes on excess business holdings),
4944 (taxes on investments which jeopardize charitable purpose), and 4945 (taxes on taxable
expenditures), as well as matters relating to Internal Revenue Code Section 4941 (taxes on self-
dealing) in connection with the Litigation and other actions taken by Plaintiffs.

Litizatlon
        NOW, THEREFORE, BE IT RESOLVED, that the officers of the corporation be and
hereby are authorized, directed, and empowered to terminate counsel purporting to act on behalf
of the corporation, Donahue Fitzgerald LLP, and put them on notice that they were not legally
retained on behalf of the corporation and that the corporation will be tahng action to recover any
fees wrongfully paid to them f'rom corporate funds.

        RESOLVED FURTHER, that the officers of the corporation be and hereby are
authorized, directed, and empowered to retain Mass & Russo LLP as litigation counsel to defend
all defendants in the Litigation who were sued because they were or are directors, officers, or
employees of the corporation and, if necessary, to bring an action on behalf of the corporation to
pursue its rights and recover damages for defamation, self-dealing, conversion, and other
damages and losses of which it may not yet be fully aware.

       RESOLVED FURTHER, that the oincers of the corporation be and hereby are
authorized, directed, and empowered to cause counsel for the corporation to dismiss all claims
purportedly brought on behalf of the corporation in connection with the Litigation (references to
"Plaintiffs" herein do not include the corporation).

         RESOLVED FURTHER, that Mass & Russo LLP be and hereby are authorized,
 directed, and empowered to hire such experts and consultants as they may deem necessary in
 their representation of the corporation and the defendants in the Litigation and, if necessary,
 other actions in accordance with these resolutions.




                                                 -3-
   Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 52 of 166


Unanimous Director Written Consent
July 26, 2021
Page 5 of 7


       RESOLVED FURTHER, that the role of the Board of Directors is supervisory in nature,
as provided under California Corporations Code Section 5210 and as described in Article 3,
Section 3 of the Bylaws of the corporation.

        RESOLVED FURTHER, that a majority of the Board shall be comprised of disinterested
directors in accordance with California Corporations Code Section 5227,

       RESOLVED FURTHER, that in the event an elected director declines to serve, the
remaining directors shall take further action to fill the resulting vacancy.

Election of Officers
        WHEREAS, Article 4, Section I of the Bylaws of the corporation provide that the
corporation shall have at least a President, Vice President, Secretary, and Treasurer with the duties
set forth in Article 4, Sections 6 through 9, respectively.

        NOW, THEREFORE, BE IT RESOLVED, that the following individuals are hereby
elected to the following corporation officer positions and to serve until their successors are duly
elected:

               President:             Margot Schwartz
               Vice President;        Charles P. Schwartz
               Secretary;             Noah Schwartz
               Tmasufef;              Max Meregillano

       RESOLVED FURTHER, that the officers o f the corporation be responsible for the day-
to-day management of the corporation, directly and/or indirectly through persons they employ on
behalf of the corporation, as provided under California law and the Bylaws of the corporation.

        RESOLVED FURTHER, that in the event any of the elected officers decline to serve, the
directors shall take further action to fill the resulting vacancy, ensuring that no individual serves
as both the President and Secretary or Treasurer, in accordance with California Corporations Code
Section 5213(a) and Article 4, Section 1 of the Bylaws of the corporafion.

Princinal Executive Offlce
       WHEREAS, it has been determined to be in the best interests of the corporation to
designate an address for its principal executive office in conformance with Article I, Section I of
the Articles of Incorporation requiring that the principal office of the corporation be located in
Alameda County.

      NOW, THEREFORE, BE IT RESOLVED, that 14665 Washington Ave. 026, San
Leandro, California 94578 be and the same hereby is designated and fixed as the principal and
   Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 53 of 166


Uuauimous D e cttr W itteu Cote ut
July 2 6,2 0 2 I
P ye 7 if 7


Omnibus
        RESOLVED FURTHER, that the officers of the corporation be and hereby are authorized,
directed, and empowered to take such other action and to execute such additional documents as
may be necessary to carry out the intent of the foregoing resolutions.

        This unanimous consent is executed pursuant to Article Six of the Articles of
Incorporation, Article 3, Section 14 of the Bylaws of the corporation, and Section 5211(b) of the
California Corporations Code, which authorize the taking of action by the Board of Directors by
unanimous written consent and shall be filed with the minutes of the proceedings of this Board
of Directors.

Executed efFective this 26 day of July 2021.


                                                   Donald C. Schwartz, Director



                                                    Michael L. Osterberg, Director


       The following newly elected Directors hereby accept their positions on the Board of
Directors of the corporation:



                                                   Donald C. Schwartz




                                                                            /     a   lr
                                                   IJJillie L, Sro   Jr,
    Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 54 of 166

Unanimous Director Written Consent
July 26, 2021
Page 7 of 7


Omnibus
        RESOLVED FURTHER, that the officers of the corporation be and hereby are authorized,
directed, and empowered to take such other action and to execute such additional documents as
may be necessary to carry out the intent of the foregoing resolutions.

       This unanimous consent is executed pursuant to Article Six of the Articles of
Incorporation, Article 3, Sertion 14 of the Bylaws of the corporation, and Section 5211(b) of the
California Corporations Code, which authorize the taking of action by the Board of Directors by
unanimous written consent and shall be filed with the minutes of the o           gs of this Board
of Directors.

Fxecuted effective this 26'" day of July 2021


                                                                       t. arti.,'I &irector
                                                                         /
                                                                       r          2 7


                                                      Mic'&tot''I L. Osterberg, 1 &tt" i -!:
                                                          /

       The following newly elected Directors hereby accept their positions on the Board of
Directors of the corporation:



                                                      Donald C. Sch;& arts
                                                                              I




                                                      Micl& icl Osterb&u c




                                                      Paul D. Schwartz



                                                      Willie L. Brown.lr.




                                                -7-
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 55 of 166



 1                               PROOF OF SERVICE BY EMAIL
            I am employed in the county of Solano, State of California. I am over the age of 18

     years and not a party to the within action; my business address is 521 Georgia Street,
     Vallejo, CA 9 590
            On   4     ,4021 I served the following documents:
 6     VERIFIED CROSS-COMPLAINT FOR: 1) FOR DETERMINATION PURSUANT
       ~


 7    TO CORPORATIONS CODE g 5617; 2) DECLARATORY RELIEF
     on the parties to said matter by causing a true copy of said document(s) to be transmitted by
 8
     electronic mail to the email addresses known or represented to me to be the receiving email
 9
     addresses of the parties/persons/firms listed below:
10

      David A. Stein
      dstein@donahue.corn
12    Jessica M. Takano
13
     jtakano donahue.corn
      DONAHUE FITZGERALD LLP
14
      Christopher Lamerdin
15
      Attorney General's Office, State of
16
      California
      Christopher. Lamerdin@doj.ca.gov
17
            I declare under the penalty of perjury under the laws   the State of California that the
18   foregoing is true and correct. Executed in Apto
19

20
                                                        SAMUEL I. SCHWAR fK
21

22

23

24

25

26

27



                                                                                                     21
     VERIFIED CROSS-COMPLAINT
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 56 of 166




                         EXHIBIT 2
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 57 of 166



 1   David A. Stein, SBN# 102556                                           ELECTRONICALLY FILED
     dstein@donahue.com                                                    Superior Court of California
 2   Jessica M. Takano, SBN# 184079                                        County of Santa Cruz
     jtakano@donahue.com
 3   Kristoffer S. Jacob, SBN# 320286                                      2/22/2021 1:28 PM
     kjacob@donahue.com                                                    Alex Calvo, Clerk
 4   DONAHUE FITZGERALD LLP                                                By: Helena Hanson, Deputy
     Attorneys at Law
 5   1999 Harrison Street, 26th Floor
     Oakland, California 94612-3520
 6   Telephone:      (510) 451-3300
     Facsimile:      (510) 451-1527
 7
     Attorneys for Plaintiffs
 8   SCHWARTZ FOUNDATION, MARGOT
     SCHWARTZ, and NOAH SCHWARTZ
 9

10                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

11                                IN AND FOR THE COUNTY OF SANTA CRUZ

12

13   Schwartz Foundation, a California                      Case No. 21CV00416
     corporation;
14   Margot Schwartz, an individual; and                    COMPLAINT FOR RELIEF UNDER
     Noah Schwartz, an individual,                          CORPORATIONS CODE SECTION 709,
15                                                          INCLUDING DECLARATORY AND
                         Plaintiffs                         INJUNCTIVE RELIEF
16
              v.
17
     Donald C. Schwartz, an individual;
18   Paul D. Schwartz, an individual;
     Charles P. Schwartz, III, an individual;
19   David Richard Schwartz, an individual;
     Stevon S. Schwartz, an individual;
20   and DOES 1-50, inclusive,

21                       Defendants.

22

23

24

25

26
27

28
     #4820-2007-4972.2

                                       COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 58 of 166



 1            Come now Plaintiffs SCHWARTZ FOUNDATION, MARGOT SCHWARTZ, and
 2   NOAH SCHWARTZ (collectively, “Plaintiffs”) and allege against Defendants DONALD C.
 3   SCHWARTZ, PAUL D. SCHWARTZ, CHARLES P. SCHWARTZ, III, DAVID RICHARD
 4   SCHWARTZ,            STEVON      S.   SCHWARTZ,          and   DOES   1-50,   inclusive   (collectively,
 5   “Defendants”), as follows:
 6                                                  PARTIES
 7            1.         Plaintiff SCHWARTZ FOUNDATION (the “Foundation”) is a California
 8   corporation, duly organized and existing under the laws of the State of California.
 9            2.         Plaintiff MARGOT SCHWARTZ (“Margot”) is an individual currently residing in
10   the State of Wisconsin, and with a residence in the State of California.

11            3.         Plaintiff NOAH SCHWARTZ (“Noah”) is an individual residing in the State of

12   California.

13            4.         Plaintiffs are informed and believe, and based thereon allege, that Defendant

14   DONALD C. SCHWARTZ (“Donald”) is an individual residing in the State of California, in

15   Santa Cruz County.

16            5.         Plaintiffs are informed and believe, and based thereon allege, that Defendant

17   PAUL D. SCHWARTZ (“Paul”) is an individual residing in the State of California, in Alameda

18   County.

19            6.         Plaintiffs are informed and believe, and based thereon allege, that Defendant

20   CHARLES P. SCHWARTZ, III (“Charles”) is an individual residing in the State of California, in

21   Santa Cruz County.

22            7.         Plaintiffs are informed and believe, and based thereon allege, that Defendant

23   DAVID RICHARD SCHWARTZ (“David”) is an individual residing in the State of California, in

24   Contra Costa County.

25            8.         Plaintiffs are informed and believe, and based thereon allege, that Defendant

26   STEVON S. SCHWARTZ (“Stevon”) is an individual residing in the State of California, in

27   Alameda County.

28            9.         Plaintiffs are ignorant of the true names and capacities of Defendants sued as
     #4820-2007-4972.2                                  -1-
                                    COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 59 of 166



 1   DOES 1-50, inclusive, and therefore sue these Defendants by such fictitious names. Plaintiffs
 2   will amend this Complaint to allege their true names and capacities when ascertained.
 3                                         GENERAL ALLEGATIONS
 4   History and Activities of the Foundation
 5            10.        The Foundation was formed in 1979 by Robert A. D. Schwartz (“Robert), who had
 6   a particular interest in education and improving academic outcomes. In the late 1970s, the
 7   Foundation initiated a peer tutoring program in the Oakland Unified School District and
 8   continued to support this program for twelve years. The program eventually served more than 30
 9   schools and regularly brought together educators, civic leaders, and parents for learning
10   conferences.

11            11.        Based on the early success of this peer tutoring program, Robert, his wife Debbra

12   Schwartz (“Debbra”), and their daughter Margot became interested in having the Foundation

13   establish a permanent resource for those interested in using peer tutoring as an instructional

14   strategy. They commissioned a research report from the Urban Strategies Council (the “Council”)

15   in 2012 and participated in numerous discussions with representatives of the Council and other

16   stakeholders regarding the planning and implementation of this significant project. Once the

17   Council produced a report demonstrating the effectiveness of peer tutoring in schools across the

18   United States, Robert, Debbra, and Margot decided to devote a substantial amount of their time

19   and Foundation resources to the development of an online Peer Tutoring Resource Center. In

20   2013, they launched https://www.peertutoringresource.org/ptrl/ – the Peer Tutoring Resource

21   Center website – which includes a research library, database of classroom and program materials,

22   and a forum for practitioners to share challenges and successes.

23            12.        In addition to its focus on peer tutoring and education, the Foundation’s charitable

24   work during the time Margot has been a director and officer (since 2009) has included supporting

25   a music program for the elderly in nursing homes and other residential facilities, which includes

26   performances by a jazz band called The Therapists. This program has been ongoing since 2015.

27   Both Robert and one of his sons, Robert D. D. Schwartz (“Rob”), played in the band, which also

28   produced two studio albums paid for by the Foundation.
     #4820-2007-4972.2                                   -2-
                                     COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 60 of 166



 1   Foundation Governance
 2            13.        The Foundation was incorporated on November 14, 1979. The following
 3   individuals were listed as the Foundation’s initial directors: (1) Robert; (2) Donald; and (3) Thom
 4   R. Picarello. On November 4, 1983, Mr. Picarello resigned from the Board. The meeting minutes
 5   reflecting Mr. Picarello’s resignation were approved and signed by all members of the Board.
 6            14.        Plaintiffs are informed and believe, and based thereon allege, that in the 1980s or
 7   1990s, Donald and his three brothers (all children of Robert’s first marriage) sued Robert for
 8   reasons unrelated to the Foundation, resulting in a lengthy and acrimonious dispute. Whether it
 9   was because of this lawsuit or for other reasons, Donald ceased having any involvement with the
10   Foundation. In fact, there is no record of Donald acting or being identified as a director or officer

11   of the Foundation after 1983. Instead, Robert and Debbra ran the Foundation together and were

12   identified on its legal and tax filings as the Foundation’s only directors and officers. (The sole

13   exception to this was when Rob was listed as an officer on one Statement of Information in the

14   2007-2008 time period.)

15            15.        More recently, between 2009 and 2017, Margot assisted Robert and Debbra in

16   running the Foundation. They were all directors and officers of the Foundation and were listed as

17   such in the Foundation’s tax filings and its filings with the California Secretary of State and

18   Attorney General (Registry of Charitable Trusts). No one else was listed as a director or officer

19   on any of these filings. There was also no indication that Donald remained involved with the

20   Foundation.

21            16.        In February 2017, Robert passed away. Debbra and Margot then continued to

22   manage the Foundation together.

23            17.        Corporate counsel for the Foundation worked with Debbra and Margot on

24   Foundation matters. Among other things, the Foundation did not have minutes or other formal

25   corporate records documenting its operations and corporate governance over the course of many

26   years. In order to clarify the situation, counsel searched their firm’s records and reviewed a

27   number of publicly available filings for the Foundation to determine the identities of the directors

28   and officers of the Foundation over the decades of its existence. They found no records indicating
     #4820-2007-4972.2                                   -3-
                                     COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 61 of 166



 1   that Donald had continued to be a director or officer of the Foundation after 1983.
 2            18.        On July 31, 2020, Debbra unexpectedly passed away. As the sole remaining
 3   officer or director of the Foundation, Margot called a special meeting on August 3, 2020. At this
 4   meeting, Margot elected her brother, Noah Alexander Schwartz (“Noah”), to the Board of
 5   Directors. Since that time, Margot and Noah have been handling the affairs of the Foundation as
 6   its only two officers and directors. Attached hereto as Exhibit A is a true and correct copy of the
 7   minutes for the August 3, 2020 special meeting.
 8            19.        Based on the information gleaned from their own files and the Foundation’s
 9   publicly available filings, corporate counsel for the Foundation prepared a Unanimous Written
10   Consent (“UWC”) for execution by the Foundation’s Board, for the purpose of ratifying,

11   confirming, and approving the actions of the corporation and its officers since 1983. The UWC

12   confirmed past actions of the Foundation, including, but not limited to, authorizing the removal

13   and/or resignation of Donald Schwartz as director, Vice President, and Secretary of the

14   corporation, effective December 31, 1990. The UWC also recognized Margot and Noah as

15   directors and officers of the Foundation since 2009 and 2020, respectively. On August 27, 2020,

16   the Board of Directors of the Foundation executed the UWC. Attached hereto as Exhibit B is a

17   true and correct copy of the UWC approved by the Board.

18            20.        Also on August 27, 2020, the Board approved a set of Amended and Restated

19   Bylaws that corporate counsel had prepared for the Foundation, to conform to current law and

20   best practices. These amended bylaws name Margot and Noah as Designators with the authority

21   to appoint, remove and replace directors, and provide that each Designator shall serve for life or

22   until the Designator resigns or becomes incapacitated. Attached hereto as Exhibit C is a true and

23   correct copy of the Amended and Restated Bylaws approved by the Board.

24            21.        The Foundation filed an updated Statement of Information with the California

25   Secretary of State on September 11, 2020. This filing listed Margot as the Chief Executive

26   Officer and Noah as the Secretary and Chief Financial Officer, and it identified the Foundation’s

27   corporate counsel Erik Dryburgh as its Agent for Service of Process. Attached hereto as Exhibit

28   D is a true and correct copy of this Statement of Information.
     #4820-2007-4972.2                                  -4-
                                    COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 62 of 166



 1   Donald’s Efforts to Deprive the Foundation of Assets
 2            22.        Donald is one of Robert’s children from his first marriage and is a half-brother to
 3   Margot and Noah. Although Foundation records reflect that Donald was one of the original
 4   directors in 1979, he demonstrated no interest in the Foundation’s charitable work or its mission
 5   during the entire time period of Margot’s involvement with the Foundation, from at least 2009 to
 6   the present.
 7            23.        Recently, Donald launched a campaign to try to take control of the Foundation (or
 8   at least its assets), because the Foundation stands to receive substantial property as a result of the
 9   death of Robert in February 2017 and Debbra in July 2020. Robert’s estate plan provided for two
10   large apartment buildings in San Leandro (the “Buildings”), which produce substantial rental

11   income, to be held in trust to benefit Debbra during her lifetime. Upon Debbra’s passing, the trust

12   provides for the Buildings to be transferred to the Foundation to support its ongoing charitable

13   work.

14            24.        After Robert’s passing, Donald received a substantial cash gift per the terms of

15   Robert’s will, and the probate of Robert’s will closed in January 2020. There was no formal

16   objection from Donald or anyone else, although Donald clearly was not satisfied with his

17   inheritance, either at the time of the probate of Robert’s estate or thereafter. Donald presumably

18   did not make any formal objection because the will contained a no-contest clause, and any

19   objection would have carried with it the risk of losing his inheritance. However, by his actions

20   described herein, Donald is actively attempting to violate Robert’s estate plan and avoid Robert’s

21   testamentary intent, which was to provide assets to the Foundation to fund its ongoing operations

22   and charitable mission.

23            25.        After Debbra’s passing on July 31, 2020, Donald aggressively tried to enlist the

24   support and consent of his six siblings and half-siblings (Robert’s children from his three

25   marriages) to prevent the Buildings from passing to the Foundation as Robert had intended.

26            26.        Donald began using veiled and overt threats, as well as outright lies, to try to bully

27   Margot and Noah into going along with his plan to take the Foundation’s rightful assets. Donald’s

28   campaign to rob the Foundation of its intended assets included the following:
     #4820-2007-4972.2                                    -5-
                                     COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 63 of 166



 1                 a. On August 2, 2020 Donald called Margot and Noah, ostensibly to offer
                      condolences on the passing of their mother on July 31. He expressed a desire to
 2                    have a family meeting with all of their siblings. During this conversation, Donald
                      stated that Margot and Noah had a choice to make between “working together” or
 3                    “blowing up the family.” Donald implied that he and his other brothers (Margot
                      and Noah’s half-brothers) had some kind of plan they hoped everyone would
 4                    participate in, and that if Margot and Noah did not do what the sibling group
                      wanted, they would be choosing to destroy the family. Donald even used the word
 5                    “victim” at one point, describing what might happen to Margot and Noah if they
                      chose unwisely. Margot perceived this at the time as a threat, but she agreed (in
 6                    the interest of giving Donald the benefit of the doubt) to find a time to get together
                      and told him she would be in touch about that when she and Noah were ready.
 7
                   b. On the evening of August 4, 2020, Margot received a text message from Donald
 8                    asking to “talk briefly in the morning.” She responded the next day letting him
                      know that she would be traveling and therefore would not be available to talk and
 9                    that she would let him know when she was back in town. To this, he responded,
                      “Very important we talk - briefly.” Margot did not respond as she did not have the
10                    emotional bandwidth for a conversation with him at that moment. A true and
                      correct copy of this text message chain is attached hereto as part of Exhibit E.
11
                   c. On August 12, 2020, Donald sent Margot a text message saying, “Not contacting
12                    me is a bad decision.” She perceived this to be a threat but chose to respond the
                      next day in a cordial manner, as she was aware of Donald’s past history of
13                    violence and alcoholism and did not wish to provoke him. A true and correct copy
                      of this text message is attached hereto as part of Exhibit E.
14
                   d. On August 15, 2020, Margot and Noah sent an email to all of the Schwartz half-
15                    brothers to set up a Zoom meeting for August 24. On August 22, Donald requested
                      that a Trust attorney be added to the meeting. Margot responded, “who is this
16                    attorney planning to represent?” This elicited a lengthy response from Donald in
                      which he explained in great detail an elaborate scheme to attempt to break the Will
17                    and Trust of Robert in order to divert funds away from the Foundation and into the
                      hands of Donald and his siblings. His aim was to convince Margot and Noah to go
18                    along with this plan because “if we all agree, then we can get control of the Trust
                      ourselves and directly benefit therefrom.” Margot and Noah responded that they
19                    had no interest in participating in such a plan. Attached hereto as Exhibit F is a
                      true and correct copy of this email chain, including Donald’s August 22, 2020
20                    email detailing his plan to deprive the Foundation of its intended assets.
21                 e. In response to this refusal to go along with his plan, Donald sent Margot an email
                      on August 23, 2020 stating, “I gave you an opportunity to do the right thing. You
22                    are choosing otherwise... Once again, we can choose to work together or against
                      each other. The choice is yours.” Margot perceived this to be a threat. Attached to
23                    this email was an Affadavit (sic), the author of whose name was redacted by
                      Donald. It alleged, among other things, that Debbra and a close family friend,
24                    attorney David Kelvin, had “worked together to falsify a Trust document whereby
                      Debbra Wood Schwartz would be the sole beneficiary of a Trust and thereby
25                    knocking-out (sic) Donald Charles Schwartz as a beneficiary of his father’s estate
                      plan — and thereby destroying the original Trust instrument.” Despite the
26                    redaction, the name on the “Affadavit” was readable and was Derek Sean Wheat, a
                      man who Plaintiffs are informed and believe has at least one felony conviction and
27                    who is a very close friend of Donald. Margot asked David Kelvin about these
                      claims, and he of course denied the allegations. (Mr. Kelvin has since passed
28                    away.) Attached hereto as Exhibit G is a true and correct copy of Donald’s
     #4820-2007-4972.2                                  -6-
                                   COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 64 of 166



 1                       August 23, 2020 email to Margot with its attachment.

 2                  f. On October 22, 2020, Donald sent Margot an email asking, “Do you have an
                       attorney on the Schwartz Foundation? If not, I will address some concerns
 3                     specific to the Foundation to you.” Margot did not respond to this email, as
                       Donald had been told many times by that point not to contact her. Attached hereto
 4                     as Exhibit H is a true and correct copy of Donald’s October 22, 2020 email.

 5   Donald’s Efforts to Gain Control of the Foundation
 6            27.        After Donald failed to convince all of his siblings to try to steal the Buildings from
 7   the Foundation, he apparently decided to instead try to take control of the Foundation itself (and
 8   presumably, its current and future assets). As Plaintiffs learned only after the fact, Donald filed a
 9   lawsuit seeking declaratory relief on January 7, 2021, entitled In re Schwartz Foundation, Santa
10   Cruz County Superior Court Case No. 21CV00032. He then filed an ex parte application in that
11   action on January 8, 2021 – without giving notice to the Foundation, Margot, or Noah – seeking
12   to establish himself, one of his brothers, and his son as the Board of Directors of the Foundation.
13   Since no one had notice or an opportunity to oppose the request, on January 12, 2021, the Court
14   entered an order granting the requested relief (the “Order”).

15            28.        After fraudulently obtaining entry of the Order, Donald proceeded to convene

16   meetings of the supposed Board of Directors appointed by the Order. He also electronically filed

17   his own Statement of Information on January 27, 2021, followed by another version on January

18   31, 2021, in a transparent effort to manufacture an “official” paper trail for the Foundation with

19   his name on it.

20            29.        Plaintiffs learned of Donald’s legal machinations after Margot received a call on

21   February 10, 2021 from Tim Sanchez (“Tim”) at Morgan Stanley, who is part of the investment

22   team for the Foundation. Since Debbra’s death in 2020, Margot and Noah have been working

23   directly with Tim and his team concerning the investment of the Foundation’s assets. Tim told

24   Margot that he had received some documents from Donald, and that Donald was claiming to be

25   the chairman of the Board of the Foundation.

26            30.        Margot called the Foundation’s bookkeeper, Max Meregillano (“Max”), to ask if

27   he knew how Donald had learned about the Foundation’s account at Morgan Stanley. Max

28   acknowledged that Donald had called and emailed him, claiming to be in charge of the
     #4820-2007-4972.2                                    -7-
                                     COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 65 of 166



 1   Foundation, and Max had provided Donald with a voided check and the Morgan Stanley
 2   information.
 3            31.        Margot also called one of her other half-brothers, Rob, to ask if he had heard
 4   anything about Donald claiming to be the chairman of the Board of the Foundation. Rob had been
 5   blind copied on Donald’s February 10, 2021 email to Max, and he forwarded it to Margot.
 6            32.        In his February 10, 2021 email, Donald provided Max with the fraudulent Order
 7   and other documents he had manufactured to support his claim that he is in control of the
 8   Foundation. After making various self-serving misstatements, Donald closed his email by stating,
 9   “Please let me immediately know of any and all banking information for the Schwartz
10   Foundation. I need the name of the Bank, the Branch (if possible), the account numbers and
11   any contact information that you may have. I would like to see the most recent bank

12   balances on the accounts.” Attached hereto as Exhibit I is a true a correct copy of Donald’s

13   February 10, 2021 email to Max, without the referenced attachments.

14            33.        On February 11, 2021, Tim sent Margot the email that Morgan Stanley had

15   received from Donald the previous day, in which Donald asked that Morgan Stanley contact him

16   “to discuss establishing new account privileges.” Donald’s email also stated, “Please be advised

17   that Margot Schwartz and Noah Schwartz corporate officerships (if any they had) with the

18   Schwartz Foundation have been terminated.” Attached hereto as Exhibit J is a true and correct

19   copy of Donald’s February 10, 2021 email, as forwarded to Margot by Tim Sanchez at Morgan

20   Stanley.

21            34.        On February 16, 2021, Margot received an email from Max with a copy of a

22   “cease and desist” letter dated February 10, 2021 that he had received from Mark Steven Corrinet,

23   Donald’s co-counsel in Case No. 21CV00032. The letter stated, in part, that “the Board of

24   Directors of the Schwartz Foundation has terminated any and all officer positions purportedly

25   held by Margot Schwartz and Noah Schwartz. . . . You are hereby instructed to cease and desist

26   from engaging [sic] any further corporate activities with Margot Schwartz and Noah Schwartz

27   other than to receive the books and records that they return to you.” Attached hereto as Exhibit K

28   is a true a correct copy of Max’s February 16, 2021 email to Margot and the attached February
     #4820-2007-4972.2                                  -8-
                                    COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 66 of 166



 1   10, 2021 cease and desist letter.
 2            35.        Since Margot and Noah have been entirely responsible for all corporate activities,
 3   including hiring, supervising, and paying employees and independent contractors of the
 4   Foundation, Max was concerned by the cease and desist letter’s purported directive to stop
 5   engaging in corporate activities with Margot and Noah. Specifically, Max asked Margot, “Do I
 6   stop paying Temitayo [the Foundation’s employee] for her services and inform her to stop
 7   working?” (See Exhibit K.)
 8            36.        In addition to the confusion caused by his supposed “cease and desist” directives,
 9   Donald’s conduct has caused serious, immediate harm to the Foundation and its day-to-day
10   operations. Most significantly, as a result of the supposed “dispute” that Donald has manufactured

11   regarding the identities of the authorized representatives of the Foundation, Morgan Stanley

12   placed the Foundation’s account on restricted status. The Foundation uses the Morgan Stanley

13   account for purposes including its payroll distributions. Morgan Stanley’s legal department has

14   indicated that absent an agreement between the parties (which appears unlikely), Morgan Stanley

15   will require a Court order if payroll distributions from the account are to continue.

16                                          FIRST CAUSE OF ACTION

17                            Claim for Relief Under Corporations Code Section 709

18                                            (Against All Defendants)

19            37.        Plaintiffs hereby incorporate by reference each and every allegation contained in

20   paragraphs 1 through 34, inclusive, of this Complaint as though fully set forth herein.

21            38.        California Corporations Code Section 709 provides as follows:

22                       (a) Upon the filing of an action therefor by any shareholder or by any
                         person who claims to have been denied the right to vote, the superior court
23                       of the proper county shall try and determine the validity of any election or
                         appointment of any director of any domestic corporation, or of any foreign
24                       corporation if the election was held or the appointment was made in this
25                       state. In the case of a foreign corporation the action may be brought at the
                         option of the plaintiff in the county in which the corporation has its
26                       principal office in this state or in the county in which the election was held
                         or the appointment was made.
27

28
     #4820-2007-4972.2                                    -9-
                                     COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 67 of 166



 1                       (b) Upon the filing of the complaint, and before any further proceedings are
                         had, the court shall enter an order fixing a date for the hearing, which shall
 2                       be within five days unless for good cause shown a later date is fixed, and
 3                       requiring notice of the date for the hearing and a copy of the complaint to
                         be served upon the corporation and upon the person whose purported
 4                       election or appointment is questioned and upon any person (other than the
                         plaintiff) whom the plaintiff alleges to have been elected or appointed, in
 5                       the manner in which a summons is required to be served, or, if the court so
                         directs, by registered mail; and the court may make such further
 6                       requirements as to notice as appear to be proper under the circumstances.
 7
                         (c) The court may determine the person entitled to the office of director or
 8                       may order a new election to be held or appointment to be made, may
                         determine the validity, effectiveness and construction of voting agreements
 9                       and voting trusts, the validity of the issuance of shares and the right of
                         persons to vote and may direct such other relief as may be just and proper.
10

11            39.        An actual and justiciable controversy now exists between and among Plaintiffs and
12   Defendants regarding the identities of the Directors of the Schwartz Foundation. Defendants
13   contend that Donald, Stevon, and Charles are the Directors, as a result of the Order entered by
14   this Court on January 12, 2021 in Case No. 21CV00032. Plaintiffs contend that Donald obtained
15   entry of the Order by fraud, and that Margot and Noah are the only Directors of the Foundation,
16   for the reasons set forth fully above.
17            40.        Plaintiffs seek a determination under Corporations Code Section 709(c) that
18   Margot and Noah are the only two persons entitled to the office of director of the Foundation.
19   Plaintiffs further seek “such other relief as may be just and proper,” including, but not limited to,
20   the following:

21                  a. A declaration that any and all actions taken by Donald, Stevon, and/or Charles as
                       purported individual directors, or collectively as the purported Board of Directors
22                     of the Foundation, are void ab initio.

23                  b. A declaration that any purported Board of Directors meetings held by Donald,
                       Stevon, and/or Charles are a nullity, and that any actions, votes, or decisions at
24                     such meetings are void ab initio.

25                  c. A declaration that any purported election or appointment of officers of the
                       Foundation by Donald, Stevon, and/or Charles – including, but not limited to, the
26                     election or appointment of all Defendants named in this action – is void ab initio.

27

28
     #4820-2007-4972.2                                   -10-
                                     COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 68 of 166



 1                  d. A declaration that any legal, tax, or other official filing on behalf of the
                       Foundation by Donald, Stevon, Charles, or anyone else acting in concert with any
 2                     of them or at their direction is void ab initio. This shall include, but not be limited
                       to, the filing of the January 27, 2021 and January 31, 2021 Statements of
 3                     Information by Donald.

 4                  e. A permanent injunction precluding any of the Defendants herein from purporting
                       to be or act as a director or officer of the Foundation, unless they are expressly
 5                     permitted to do so by the legitimate directors declared by this Court.

 6            41.        As parties aggrieved by the fraudulent and wrongful Court Order appointing
 7   Donald, Stevon, and Charles as the Board of Directors of the Foundation, which was entered
 8   without notice to Plaintiffs or any opportunity for them to be heard, Plaintiff hereby requests that
 9   this Court immediately set a hearing pursuant to Corporations Code Section 709(b) to determine
10   the identities of the directors of the Schwartz Foundation, and to determine the propriety of the
11   additional relief requested by Plaintiffs as set forth above.
12            WHEREFORE, Plaintiffs pray for relief as set forth below.
13                                           PRAYER FOR RELIEF
14            Now, therefore, Plaintiffs prays for relief as follows:
15            1.         For a judicial declaration under Corporations Code Section 709 that there are only

16   two Directors of the Foundation – Margot Schwartz and Noah Schwartz.

17            2.         For a declaration that any and all actions taken by Donald, Stevon, and/or Charles

18   as purported individual directors, or collectively as the purported Board of Directors of the

19   Foundation, are void ab initio.

20            3.         For a declaration that any purported Board of Directors meetings held by Donald,

21   Stevon, and/or Charles are a nullity, and that any actions, votes, or decisions at such meetings are

22   void ab initio.

23            4.         For a declaration that any purported election or appointment of officers of the

24   Foundation by Donald, Stevon, and/or Charles – including, but not limited to, the election or

25   appointment of all Defendants named in this action – is void ab initio.

26            5.         For a declaration that any legal, tax, or other official filing on behalf of the

27   Foundation by Donald, Stevon, Charles, or anyone else acting in concert with any of them or at

28   their direction is void ab initio. This shall include, but not be limited to, the filing of the January
     #4820-2007-4972.2                                  -11-
                                     COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 69 of 166



 1   27, 2021 and January 31, 2021 Statements of Information by Donald.
 2            6.         For a permanent injunction precluding any of the Defendants herein from
 3   purporting to be or act as a director or officer of the Foundation, unless they are expressly
 4   permitted to do so by the legitimate directors declared by this Court.
 5            7.         For the costs of suit herein incurred, including attorneys’ fees to the extent
 6   permitted by law; and
 7            8.         For such other and further relief as this Court may deem proper.
 8   Dated: February 19, 2021                      DONAHUE FITZGERALD LLP

 9

10                                                 By:
                                                         Jessica M. Takano
11                                                       Attorneys for Plaintiffs
                                                         SCHWARTZ FOUNDATION, MARGOT
12                                                       SCHWARTZ, and NOAH SCHWARTZ
13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
     #4820-2007-4972.2                                    -12-
                                     COMPLAINT FOR RELIEF UNDER CORP. CODE § 709
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 70 of 166




            EXHIBIT A
      Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 71 of 166



August 3, 2020.

Special meeting of RAD Schwartz Foundation for the purposes of electing new board o cers.

In attendance: Margot Schwartz, secretary.

Meeting is called to order 5:40 pm, 2822 Hillegass Ave Berkeley CA 94705.

Margot Schwartz elects Noah Alexander Schwartz as a Board Director, in the position of
Treasurer.

Meeting adjourned 5:45 pm.




                                                                      ffi
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 72 of 166




            EXHIBIT B
    Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 73 of 166




---------- Forwarded message ---------
From: noah schwartz <schwoah@gmail.com>
Date: Thu, Aug 27, 2020 at 7:46 PM
Subject: Re: UWC Schwartz Foundation
To: Margot Schwartz <margotduffyschwartz@gmail.com>


Approved.

On Thu, Aug 27, 2020 at 5:30 PM Margot Schwartz <margotduffyschwartz@gmail.com>
wrote:
 For your approval—

       UWC of Directors in Lieu of Meeting…
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 74 of 166


                               UNANIMOUS WRITTEN CONSENT
                                OF THE BOARD OF DIRECTORS
                                           OF
                                  SCHWARTZ FOUNDATION


                The undersigned, constituting all of the directors of the Schwartz Foundation, a
California nonprofit public benefit corporation, in accordance with the authority provided Section
5211(b) of the California Nonprofit Public Benefit Corporation Law, hereby adopt the following
recitals and resolutions:

Past Activities

                WHEREAS documentation of many Board actions over the course of
        years since 1983 is unavailable or unclear, and the directors now wish to ratify,
        confirm, and approve the actions of this corporation and its officers;

               NOW, THEREFORE, IT IS RESOLVED that the following actions of
        the Board of Directors of this corporation are hereby ratified, approved, and
        confirmed, notwithstanding any defect or inadequacy in Board process or
        documentation of Board action at the time:

        •    Authorizing and directing the President, or an individual delegated by the
             President, to execute and file with the California Secretary of State, as
             required by law, the biennial Statement by Domestic Nonprofit Corporation
             required by the California Corporations Code, as well as payment of any fees
             or penalties associated with such filings;
        •    Annually electing the following directors who served during the dates set
             forth below:

                  Robert A. D. Schwartz - incorporation until his death in 2017
                  Thom R. Picarello - incorporation through 1983
                  Donald C. Schwartz - incorporation through 1990
                  Michael Osterberg - 1983 through 1990
                  Debbra Schwartz - 1991 until her death in 2020
                  Robert D. D. Schwartz - 2007 and 2008
                  Margot Schwartz - 2009 to present
                  Noah Schwartz - 2020 to present

        •    Annually electing the following officers who served during the dates set forth
             below:

                  President:            Robert A. D. Schwartz - incorporation until his
                                        death in 2017
                                        Debbra Schwartz - 2018 until her death in 2020

                  Vice President:       Donald C. Schwartz - 1983 to 1990
                  Secretary:            Donald C. Schwartz - 1983 - 1990

{01280449.DOCX; 4}                             -2-
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 75 of 166


                                      Debbra Schwartz - 1991 to 2006
                                      Robert D. D. Schwartz - 2007 to 2008
                                      Margot Schwartz - 2009 to present

                 Treasurer/CFO:       Michael Osterberg - 1983 to 1990
                                      Debbra Schwartz - 1991 to 2018
                                      Margot Schwartz - 2018 to 2020
                                      Noah Schwartz - 2020 to present

        •    Authorizing the removal and/or resignation of Donald Schwartz as director,
             Vice President, and Secretary of this corporation, effective December 31,
             1990;
        •    Authorizing the removal and/or resignation of Michael Osterberg as director
             and Treasurer of this corporation, effective December 31, 1990;
        •    Authorizing the removal and/or resignation of Robert D. D. Schwartz as
             director and Secretary of this corporation, effective December 31, 2008;
        •    Engaging an accounting firm to prepare and file this corporation’s annual
             federal and state tax returns, and legal counsel to review the same;
        •    Reviewing this corporation’s annual tax returns, through the year ended
             December 31, 2019;
        •    Authorizing all direct charitable activity conducted in furtherance of this
             corporation’s exempt purposes, including developing and implementing the
             Peer Tutoring Resource Center in Oakland beginning in 2012 and continuing
             to operate through present day, and The Therapists, a jazz band performing for
             the elderly in nursing and other residential facilities beginning in 2015; and
        •    Engaging and compensating all contractors and service providers to this
             corporation, as reported in applicable Forms 990-PF.

Bylaws Amendment and Restatement
               WHEREAS the Board has determined that it is in the best interests of this
        corporation to amend its Bylaws to conform to current law and best practices;

               NOW, THEREFORE, IT IS RESOLVED that the proposed amended
        and restated Bylaws attached hereto as Exhibit A (the “Amended Bylaws”) are
        hereby approved, such Amended Bylaws to become effective immediately; and

                RESOLVED FURTHER that the Secretary of this corporation is hereby
        directed to notify this corporation’s tax preparer and provide a copy of the
        Amended Bylaws to him or her, to facilitate proper reporting of these changes to
        the applicable regulators.

Officer Elections
               WHEREAS Margot Schwartz is currently the Secretary of this
        corporation and the position of President is vacant;

                 NOW THEREFORE IT IS RESOLVED that Margot Schwartz is

{01280449.DOCX; 4}                            -2-
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 76 of 166


        hereby removed from her position as Secretary, and is appointed as President of
        this corporation effective immediately; and

               RESOLVED FURTHER that Noah Schwartz is hereby affirmed as the
        Treasurer, appointed August 3, 2020, and is hereby appointed as Secretary of this
        corporation, effective immediately.

Omnibus Resolutions

                RESOLVED FURTHER that the officers of this corporation are hereby
        authorized and directed to take all such further actions as they may deem
        necessary or appropriate in order to implement the foregoing resolutions, and any
        actions heretofore taken by the officers to further the purposes of the foregoing
        resolutions prior to the date of this Unanimous Written Consent are hereby
        ratified, approved, and confirmed.


                IN WITNESS WHEREOF, each director has provided his or her written consent to
the resolutions included in this Unanimous Written Consent as of the date set forth in the e-mail
message sent by such director to margotduffyschwartz@gmail.com approving this Consent. Such
execution may be in counterparts.


Directors:                                          Margot Schwartz
                                                    Noah Schwartz




{01280449.DOCX; 4}                          -2-
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 77 of 166




            EXHIBIT C
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 78 of 166




                           AMENDED AND RESTATED

                                    BYLAWS

                                       OF

                            SCHWARTZ FOUNDATION




{00911235.DOCX; 2}
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 79 of 166


                                               TABLE OF CONTENTS
                                                                                                                                      Page

Article I        PRINCIPAL OFFICE ............................................................................................ 1
Article II       MEMBERSHIP...................................................................................................... 1
Article III      DESIGNATORS .................................................................................................... 1
                 Section 1.            Naming of Designators .................................................................. 1
                 Section 2.            Actions of Designators ................................................................... 1
                 Section 3.            Incapacity ....................................................................................... 2
                 Section 4.            Authorization for Disclosure of Health Information ..................... 2
                 Section 5.            Determination of Incapacity by the Board ..................................... 2
Article IV       BOARD OF DIRECTORS .................................................................................... 2
                 Section 1.            Powers ............................................................................................ 2
                 Section 2.            Number of Directors ...................................................................... 2
                 Section 3.            Limitations on Interested Persons .................................................. 2
                 Section 4.            Designation and Term of Office of Directors ................................ 3
                 Section 5.            Vacancies ....................................................................................... 3
                 Section 6.            Resignation and Removal .............................................................. 3
                 Section 7.            Annual Meetings ............................................................................ 3
                 Section 8.            Special Meetings ............................................................................ 3
                 Section 9.            Notice ............................................................................................. 3
                 Section 10.           Waiver of Notice ............................................................................ 3
                 Section 11.           Quorum .......................................................................................... 4
                 Section 12.           Action Without a Meeting ............................................................. 4
                 Section 13.           Telephone and Electronic Meetings............................................... 4
                 Section 14.           Standard of Care ............................................................................ 4
                                       A.      General ............................................................................... 4
                                       B.      Investments ........................................................................ 5
                 Section 15.           Inspection ....................................................................................... 6
                 Section 16.           Director Compensation .................................................................. 6
                 Section 17.           Executive Compensation Review .................................................. 6
Article V        COMMITTEES...................................................................................................... 6
                 Section 1.            Board Committees ......................................................................... 6
                 Section 2.            Advisory Committees .................................................................... 7
                 Section 3.            Committee Supervision and Reliance ............................................ 7
                 Section 4.            Audit Committee............................................................................ 7
                 Section 5.            Meetings ......................................................................................... 8
                                       A.     Of Board Committees ........................................................ 8
                                       B.     Of Advisory Committees ................................................... 8
Article VI       OFFICERS ............................................................................................................. 8
                 Section 1.            Officers .......................................................................................... 8
                 Section 2.            Election .......................................................................................... 8
                 Section 3.            Removal ......................................................................................... 8


{00911235.DOCX; 2}
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 80 of 166


                                             TABLE OF CONTENTS
                                                                                                                                   Page

                 Section 4.          Resignation .................................................................................... 8
                 Section 5.          Vacancies ....................................................................................... 8
                 Section 6.          Chair of the Board .......................................................................... 9
                 Section 7.          President ......................................................................................... 9
                 Section 8.          President ......................................................................................... 9
                 Section 9.          Vice President ................................................................................ 9
                 Section 10.         Secretary ........................................................................................ 9
                 Section 11.         Treasurer ........................................................................................ 9
                 Section 12.         Executive Director ......................................................................... 9
Article VII      CERTAIN TRANSACTIONS ............................................................................. 10
                 Section 1.          Loans ............................................................................................ 10
                 Section 2.          Self-Dealing Transactions ............................................................ 10
                 Section 3.          Approval ...................................................................................... 10
                 Section 4.          Compliance with Private Foundation Rules ................................ 10
Article VIII     INDEMNIFICATION AND INSURANCE ........................................................ 11
                 Section 1.          Right of Indemnity ....................................................................... 11
                 Section 2.          Approval of Indemnity................................................................. 11
                 Section 3.          Advancing Expenses .................................................................... 11
                 Section 4.          Insurance ...................................................................................... 12
Article IX       GRANTS ADMINISTRATION .......................................................................... 12
                 Section 1.          Purpose of Grants ......................................................................... 12
                 Section 2.          Board of Directors Oversight ....................................................... 12
                 Section 3.          Refusal; Withdrawal .................................................................... 12
                 Section 4.          Accounting ................................................................................... 12
                 Section 5.          Restrictions on Contributions ...................................................... 12
Article X        MISCELLANEOUS ............................................................................................ 13
                 Section 1.          Fiscal Year ................................................................................... 13
                 Section 2.          Contracts, Notes, and Checks ...................................................... 13
                 Section 3.          Annual Reports to Directors ........................................................ 13
                 Section 4.          Required Financial Audits ........................................................... 13
                 Section 5.          Electronic Transmissions ............................................................. 14
                 Section 6.          Amendments ................................................................................ 14
                 Section 7.          Governing Law ............................................................................ 14




{00911235.DOCX; 2}                                            ii
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 81 of 166




                                       BYLAWS
                                         OF
                                 SCHWARTZ FOUNDATION


                                         ARTICLE I
                                     PRINCIPAL OFFICE

                The principal office of this corporation shall be located in the state of California
or in any other location to be determined by the Board of Directors.


                                          ARTICLE II
                                         MEMBERSHIP

               This corporation shall have no voting members, but the Board of Directors may,
by resolution, establish one or more classes of nonvoting members and provide for eligibility
requirements for membership and rights and duties of members, including the obligation to pay
dues.


                                         ARTICLE III
                                        DESIGNATORS

               Section 1.     Naming of Designator. The Designators referred to in these
Bylaws shall be Margot Schwartz and Noah Schwartz. Each Designator shall serve for life or
until the Designator resigns or becomes incapacitated, as defined in Section 3 below. After the
death, incapacity, or resignation of the last remaining Designator, all rights reserved to the
Designator under these Bylaws shall be exercised by the Board of Directors.

                Section 2.     Actions of Designator. Whenever there is more than one
Designator, they shall hold the rights and powers granted to the Designators under these Bylaws
jointly and shall act by majority vote. All actions of the Designators shall be evidenced by a
writing signed by at least the majority of the Designators and delivered to an officer of this
corporation, which shall be filed by the Secretary with the proceedings of the Board of Directors
of this corporation. Any such writing may be signed in counterparts.

               Section 3.      Incapacity. A Designator’s incapacity for purposes of these
Bylaws shall be deemed to exist when it has been declared by a court of competent jurisdiction,
or when a conservator for such Designator has been appointed, or upon execution of a certificate
by a physician licensed to practice in the State of California or wherever such Designator may
then reside, which states the doctor’s opinion that such Designator is, by reason of advanced age,
infirmity, mental or physical illness, or other disability, unable adequately to provide for his or
her personal needs or to manage his or her financial affairs. The effective date of such incapacity
shall be the date of the decree adjudicating the incapacity, the date of the decree appointing the
conservator, or the date of the doctor’s certificate, as the case may be.




{00911235.DOCX; 2}
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 82 of 166




               Section 4.     Authorization for Disclosure of Health Information. The Board of
Directors may request in writing that a Designator provide to the Secretary of this corporation an
Authorization for Use or Disclosure of Health Information (an “Authorization”) in the form then
required by applicable federal and state law, including if applicable the Health Information
Portability and Accountability Act of 1996, authorizing such Designator’s physician to examine
the Designator and to disclose his or her physical or mental condition to this corporation in order
to determine such Designator’s incapacity or capacity for the purposes of these Bylaws.

                Section 5.      Determination of Incapacity by the Board. If a Designator fails to
provide the Authorization within thirty days of receiving a written request from the Board of
Directors, or if such Designator’s physician refuses to honor such Authorization on the grounds
that the Designator is not legally competent to execute an Authorization, the Board of Directors
may make a determination of such Designator’s incapacity or capacity for the purposes of these
Bylaws based on its evaluation of the Designator’s physical and mental condition. Any
determination by the Board of a Designator’s incapacity shall be made by a majority of directors
then in office, and the effective date of such incapacity shall be the date of the Board’s action.


                                       ARTICLE IV
                                   BOARD OF DIRECTORS

              Section 1.       Powers. This corporation shall have powers to the full extent
allowed by law. All powers and activities of this corporation shall be exercised and managed by
the Board of Directors of this corporation directly or, if delegated, under the ultimate direction of
the Board.

               Section 2.     Number of Directors. The number of directors shall be not less
than one (1) nor more than five (5), with the exact authorized number of directors to be fixed
from time to time by action of the Desgnators.

                Section 3.      Limitations on Interested Persons. At all times, not more than 49%
of the directors of this corporation may be interested persons. An interested person means either:

                (a)     any person currently being compensated by this corporation for services
rendered to it within the previous twelve months, whether as a full-time or part-time employee,
independent contractor, or otherwise, excluding any reasonable compensation paid to a director
in his or her capacity as director; or

               (b)    any brother, sister, ancestor, descendant, spouse, brother-in-law, sister-in-
law, son-in-law, daughter-in-law, mother-in-law, or father-in-law of any such person.

               Section 4.      Designation and Term of Office of Directors. Except for the initial
directors named by the incorporator, the directors of this corporation shall be designated by the
Designators from time to time. The effective date of any such designation shall be as provided
therein. Directors may be designated for any term prescribed in the written designation; if no
such term is prescribed, a designated director shall serve until he or she resigns or is removed.



{00911235.DOCX; 2}                              2
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 83 of 166




               Section 5.    Vacancies. A vacancy shall be deemed to exist on the Board in the
event that the actual number of directors is less than the authorized number for any reason.
Vacancies may be filled by the Designators for the unexpired portion of the term.

                Section 6.     Resignation and Removal. Resignations shall be effective upon
receipt in writing by the President, or the Secretary of this corporation, unless a later effective
date is specified in the resignation. The Board of Directors, by the vote of a majority of the
directors then in office, or the Designators, may remove without cause any director at any time
provided that any such removal by the Board shall be effective only with the consent of the
Designators.

                Section 7.    Annual Meetings. A meeting of the Board of Directors shall be
held at least once a year. Annual meetings shall be called by the President, or any two directors,
and noticed in accordance with Section 9.

               Section 8.      Special Meetings. Special meetings of the Board of Directors may
be called by the President, or any two directors, and noticed in accordance with Section 9.

               Section 9.      Notice. Notice of the annual meeting and any special meetings of
the Board of Directors shall state the date, place, and time of the meeting and shall be given to
each director at least four days before any such meeting if given by first-class mail or forty-eight
hours before any such meeting if given personally or by telephone, including a voice messaging
system, or by other electronic transmission such as e-mail, in compliance with Article X, Section
5 of these Bylaws.

                Section 10.   Waiver of Notice. The transactions of any meeting of the Board of
Directors, however called and noticed and wherever held, shall be valid as though taken at a
meeting duly held after proper call and notice, if a quorum is present, and if, either before or
after the meeting, each of the directors not present provides a waiver of notice, a consent to
holding the meeting, or an approval of the minutes in writing. The waiver of notice or consent
need not specify the purpose of the meeting. All waivers, consents and approvals shall be filed
with the corporate records or made a part of the minutes of the meeting. Notice of a meeting
shall also be deemed given to any director who attends the meeting without protesting the lack of
adequate notice before the meeting or at its commencement.

                Section 11.     Quorum. A majority of the total number of directors then in office
shall constitute a quorum, provided that in no event shall the required quorum be less than one-
fifth of the authorized number of directors or two directors, whichever is larger. The act of a
majority of the directors present at a meeting at which a quorum is present shall be the act of the
Board of Directors, except as otherwise provided in Article III, Section 5 (determining
Designator incapacity); Article IV, Section 6 (removing directors) and Section 12 (taking action
without a meeting); Article V, Section 1 (appointing Board Committees); Article VII, Section 3
(approving self-dealing transactions); Article VIII, Section 2 (approving indemnification); and
Article X, Section 6 (amending Bylaws), of these Bylaws or in the California Nonprofit Public
Benefit Corporation Law. A meeting at which a quorum is initially present may continue to
transact business notwithstanding the withdrawal of directors, if any action taken is approved by
at least a majority of the required quorum for such meeting.


{00911235.DOCX; 2}                              3
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 84 of 166




               Section 12.    Action Without a Meeting. Any action required or permitted to be
taken by the Board may be taken without a meeting if all members of the Board shall
individually or collectively consent to such action in writing. Such written consents shall be
filed with the minutes of the proceedings of the Board, and shall have the same force and effect
as the unanimous vote of such directors.

                Section 13.   Telephone and Electronic Meetings. Directors may participate in a
meeting through use of conference telephone, electronic video screen communication, or other
electronic transmission in compliance with Article X, Section 5 of these Bylaws so long as all of
the following apply:

                (a)    each director participating in the meeting can communicate with all of the
other directors concurrently, and

                (b)    each director is provided with the means of participating in all matters
before the Board, including the capacity to propose, or to interpose an objection to, a specific
action to be taken by the corporation.

               Section 14.    Standard of Care.

               A.      General. A director shall perform the duties of a director, including duties
as a member of any Board Committee on which the director may serve, in good faith, in a
manner such director believes to be in the best interest of this corporation and with such care,
including reasonable inquiry, as an ordinarily prudent person in a like situation would use under
similar circumstances.

                In performing the duties of a director, a director shall be entitled to rely on
information, opinions, reports, or statements, including financial statements and other financial
data, in each case prepared or presented by:

                (i)     one or more officers or employees of this corporation whom the director
believes to be reliable and competent as to the matters presented;

               (ii)     counsel, independent accountants, or other persons as to matters which the
director believes to be within such person’s professional or expert competence; or

               (iii) a committee upon which the director does not serve that is composed
exclusively of any combination of directors or persons described in (i) or (ii) above, as to matters
within the committee’s designated authority, provided that the director believes such committee
merits confidence;

so long as in any such case, the director acts in good faith after reasonable inquiry when the need
therefor is indicated by the circumstances and without knowledge that would cause such reliance
to be unwarranted.

               Except as provided in Article VII below, a person who performs the duties of a
director in accordance with this Section shall have no liability based upon any failure or alleged
failure to discharge that person’s obligations as a director, including, without limiting the

{00911235.DOCX; 2}                              4
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 85 of 166




generality of the foregoing, any actions or omissions which exceed or defeat a public or
charitable purpose to which a corporation, or assets held by it, are dedicated.

               B.      Investments. Except with respect to assets held for use or used directly in
carrying out this corporation’s public or charitable activities, in managing and investing this
corporation’s investments, the Board shall adhere to the standards set forth in the preceding
paragraph, and shall: (a) consider the charitable purposes of this corporation; (b) act in good faith
and with the care an ordinarily prudent person in a like position would exercise under similar
circumstances; and (c) consider:

        (1)      General economic conditions;

        (2)      The possible effect of inflation or deflation;

        (3)      The expected tax consequences, if any, of investment decisions or
                 strategies;

        (4)      The role that each investment or course of action plays within the overall
                 portfolio;

        (5)      The expected total return from income and appreciation of investments;

        (6)      This corporation’s other resources;

        (7)      The needs of this corporation to make distributions and to preserve capital;

        (8)      An asset’s special relationship or special value, if any, to the charitable
                 purposes of this corporation.

                Board decisions about an individual investment shall be made not in isolation but
rather in the context of this corporation’s portfolio of investments as a whole and as a part of an
overall investment strategy having risk and return objectives reasonably suited to this
corporation.

                 Notwithstanding the above, no investment violates this section where it conforms
to: (a) the intent of the donor as expressed in a gift instrument; or (b) provisions authorizing such
investment contained in an instrument or agreement pursuant to which the assets were
contributed to this corporation.

              Section 15.      Inspection. Every director shall have the absolute right at any
reasonable time to inspect and copy all books, records, and documents, and to inspect the
physical properties of this corporation.

                Section 16.   Director Compensation. The Board of Directors may authorize, by
resolution, the payment to a director of reasonable compensation for services as a director. The
Board may authorize the advance or reimbursement to a director of actual reasonable expenses
incurred in carrying out his or her duties as a director, such as for attending meetings of the
Board and Board Committees.


{00911235.DOCX; 2}                                5
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 86 of 166




                Section 17.   Executive Compensation Review. The Board of Directors (or a
Board Committee) shall review any compensation packages (including all benefits) of the
President or the chief executive officer and the Treasurer or chief financial officer, regardless of
job title, and shall approve such compensation only after determining that the compensation is
just and reasonable. This review and approval shall occur when such officer is hired, when the
term of employment of such officer is renewed or extended, and when the compensation of such
officer is modified, unless the modification applies to substantially all of the employees of this
corporation.


                                          ARTICLE V
                                         COMMITTEES

               Section 1.    Board Committees. The Board of Directors may, by resolution
adopted by a majority of the directors then in office, create any number of Board Committees,
each consisting of two or more directors, and only of directors, to serve at the pleasure of the
Board. Appointments to any Board Committee shall be by a majority vote of the directors then
in office. Board Committees may be given all the authority of the Board, except for the powers
to:

                 (a)   set the number of directors within a range specified in these Bylaws;

                 (b)   elect directors or remove directors without cause;

                 (c)   fill vacancies on the Board of Directors or on any Board Committee;

                 (d)   fix compensation of directors for serving on the Board or any Board
Committee;

                 (e)   amend or repeal these Bylaws or adopt new Bylaws;

                 (f)   adopt amendments to the Articles of Incorporation of this corporation;

               (g)     amend or repeal any resolution of the Board of Directors which by its
express terms is not so amendable or repealable;

             (h)       create any other Board Committees or appoint the members of any Board
Committees; or

                (i)      approve any merger, reorganization, voluntary dissolution, or disposition
of substantially all of the assets of this corporation.

               Section 2.     Advisory Committees. The Board of Directors may establish one
or more Advisory Committees to the Board. The members of any Advisory Committee may
consist of directors or non-directors and may be appointed as the Board determines. Advisory
committees may not exercise the authority of the Board to make decisions on behalf of this
corporation, but shall be restricted to making recommendations to the Board or Board



{00911235.DOCX; 2}                              6
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 87 of 166




Committees, and implementing Board or Board Committee decisions and policies under the
supervision and control of the Board or Board Committee.

               Section 3.      Committee Supervision and Reliance. If a committee is composed
and appointed as required by Section 1 above (concerning Board Committees), it may act with
the authority of the Board to the extent and with the scope provided by the Board. Otherwise,
the Board of Directors shall remain responsible for oversight and supervision of the committee as
an Advisory Committee. If a committee meets the criteria of Article IV, Section 14.A.(iii), the
individual directors may rely on it in discharging their fiduciary duties as provided in that
Section.

               Section 4.      Audit Committee. For any tax year in which this corporation has
gross revenues of $2 million or more, this corporation shall have an Audit Committee whose
members shall be appointed by the Board of Directors, and who may include both directors and
non-directors, subject to the following limitations: (a) members of the Finance Committee, if
any, shall constitute less than one-half of the membership of the Audit Committee; (b) the chair
of the Audit Committee may not be a member of the Finance Committee, if any; (c) the Audit
Committee may not include any member of the staff, including the President or chief executive
officer and Treasurer or chief financial officer; (d) the Audit Committee may not include any
person who has a material financial interest in any entity doing business with this corporation;
and (e) Audit Committee members who are not directors may not receive compensation greater
than the compensation paid to directors for their Board service.

               The Audit Committee shall: (1) recommend to the full Board of Directors for
approval the retention and, when appropriate, the termination of an independent certified public
accountant to serve as auditor, (2) subject to approval of the full Board, negotiate the
compensation of the auditor on behalf of the Board, (3) confer with the auditor to satisfy the
Audit Committee members that the financial affairs of this corporation are in order, (4) review
and determine whether to accept the audit, and (5) approve performance of any non-audit
services provided to this corporation by the auditor’s firm.

                 Section 5.   Meetings.

               A.     Of Board Committees. Meetings and actions of Board Committees shall
be governed by and held and taken in accordance with the provisions of Article IV of these
Bylaws concerning meetings and actions of the Board of Directors, with such changes in the
content of those Bylaws as are necessary to substitute the Board Committee and its members for
the Board of Directors and its members. Minutes shall be kept of each meeting of any Board
Committee and shall be filed with the corporate records.

               B.    Of Advisory Committees. Subject to the authority of the Board of
Directors, Advisory Committees may determine their own meeting rules and whether minutes
shall be kept.

            The Board of Directors may adopt rules for the governance of any Board or
Advisory Committee not inconsistent with the provisions of these Bylaws.



{00911235.DOCX; 2}                            7
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 88 of 166




                                          ARTICLE VI
                                           OFFICERS

                Section 1.     Officers. The officers of this corporation shall be a President, a
Secretary, and a Treasurer. The corporation may also have, at the discretion of the directors,
such other officers as may be appointed by the Board of Directors. Any number of offices may
be held by the same person, except that the Secretary, the Treasurer, or the Chief Financial
Officer, if any, may not serve concurrently as the President or Chair of the Board, if any. The
President shall be elected from among the directors of the corporation.

               Section 2.       Election. Except for the initial officers appointed by the
incorporator, the officers of this corporation shall be elected annually by the Board of Directors,
and each shall serve at the pleasure of the Board, subject to the rights, if any, of an officer under
any contract of employment.

              Section 3.     Removal. Subject to the rights, if any, of an officer under any
contract of employment, any officer may be removed, with or without cause, by the Board of
Directors or by an officer on whom such power of removal may be conferred by the Board of
Directors.

                Section 4.    Resignation. Any officer may resign at any time by giving written
notice to this corporation. Any resignation shall take effect on receipt of that notice by any other
officer than the person resigning or at any later time specified by that notice and, unless
otherwise specified in that notice, the acceptance of the resignation shall not be necessary to
make it effective. Any resignation is without prejudice to the rights, if any, of this corporation
under any contract to which the officer is a party.

              Section 5.     Vacancies. A vacancy in any office for any reason shall be filled
in the same manner as these Bylaws provide for election to that office.

               Section 6.      President. The President shall be the chief executive officer of this
corporation and shall, subject to control of the Board, generally supervise, direct and control the
business and other officers of this corporation. The President shall preside at all meetings of the
Board of Directors. The President shall have the general powers and duties of management
usually vested in the office of president of the corporation and shall have such other powers and
duties as may be prescribed by the Board or these Bylaws.

               Section 7.     Secretary. The Secretary shall supervise the keeping of a full and
complete record of the proceedings of the Board of Directors and its committees, shall supervise
the giving of such notices as may be proper or necessary, shall supervise the keeping of the
minute books of this corporation, and shall have such other powers and duties as may be
prescribed by the Board or these Bylaws.

               Section 8.    Treasurer. The Treasurer shall be the chief financial officer of this
corporation and shall supervise the charge and custody of all funds of this corporation, the
deposit of such funds in the manner prescribed by the Board of Directors, and the keeping and
maintaining of adequate and correct accounts of this corporation’s properties and business


{00911235.DOCX; 2}                              8
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 89 of 166




transactions, shall render reports and accountings as required, and shall have such other powers
and duties as may be prescribed by the Board or these Bylaws.


                                       ARTICLE VII
                                  CERTAIN TRANSACTIONS

               Section 1.     Loans. Except as permitted by Section 5236 of the California
Nonprofit Public Benefit Corporation Law, this corporation shall not make any loan of money or
property to, or guarantee the obligation of, any director or officer; provided, however, that this
corporation may advance money to a director or officer of this corporation or any subsidiary for
expenses reasonably anticipated to be incurred in performance of the duties of such director or
officer so long as such individual would be entitled to be reimbursed for such expenses absent
that advance.

               Section 2.      Self-Dealing Transactions. Except as provided in Section 3 below,
the Board of Directors shall not approve, or permit the corporation to engage in, any self-dealing
transaction. A self-dealing transaction is a transaction to which this corporation is a party and in
which one or more of its directors has a material financial interest, unless the transaction comes
within California Corporations Code Section 5233(b).

                Section 3.      Approval.     This corporation may engage in a self-dealing
transaction if the transaction is approved by a court or by the Attorney General. This corporation
may also engage in a self-dealing transaction if the Board determines, before the transaction, that
(a) this corporation is entering into the transaction for its own benefit; (b) the transaction is fair
and reasonable to this corporation at the time; and (c) after reasonable investigation, the Board
determines that it could not have obtained a more advantageous arrangement with reasonable
effort under the circumstances. Such determinations must be made by the Board in good faith,
with knowledge of the material facts concerning the transaction and the director’s interest in the
transaction, and by a vote of a majority of the directors then in office, without counting the vote
of the interested director or directors.

               Where it is not reasonably practicable to obtain approval of the Board before
entering into a self-dealing transaction, a Board Committee may approve such transaction in a
manner consistent with the requirements above; provided that, at its next meeting, the full Board
determines in good faith that the Board Committee’s approval of the transaction was consistent
with the requirements above and that it was not reasonably practical to obtain advance approval
by the full Board, and ratifies the transaction by a majority of the directors then in office without
the vote of any interested director.

               Section 4.     Compliance with Private Foundation Rules. Any provision of
these Bylaws or the Articles of Incorporation of this corporation to the contrary notwithstanding,
so long as this corporation is deemed to be a “private foundation” as defined in Section 509 of
the Internal Revenue Code of 1986, as amended (the “Code”), this corporation:

               (a)    shall distribute its income for each taxable year (and principal, if
necessary) at such time and in such manner as not to subject this corporation to tax under Section
4942 of the Code;

{00911235.DOCX; 2}                               9
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 90 of 166




               (b)     shall not approve of, or engage in, any act of self-dealing as defined in
subsection (d) of Section 4941 of the Code;

              (c)     shall not retain any excess business holdings as defined in subsection (c)
of Section 4943 of the Code;

               (d)    shall not make any investments in such a manner as to subject this
corporation to tax under Section 4944 of the Code; and

              (e)     shall not make any taxable expenditure as defined in subsection (d) of
Section 4945 of the Code.


                                   ARTICLE VIII
                          INDEMNIFICATION AND INSURANCE

                Section 1.     Right of Indemnity. To the fullest extent allowed by Section 5238
of the California Nonprofit Public Benefit Corporation Law, this corporation shall indemnify its
agents, in connection with any proceeding, and in accordance with Section 5238. For purposes
of this Article, “agent” shall have the same meaning as in Section 5238(a), including directors,
officers, employees, other agents, and persons formerly occupying such positions; “proceeding”
shall have the same meaning as in Section 5238(a), including any threatened action or
investigation under Section 5233 or brought by the Attorney General; and “expenses” shall have
the same meaning as in Section 5238(a), including reasonable attorneys’ fees.

                Section 2.     Approval of Indemnity. On written request to the Board of
Directors in each specific case by any agent seeking indemnification, to the extent that the agent
has been successful on the merits, the Board shall promptly authorize indemnification in
accordance with Section 5238(d). Otherwise, the Board shall promptly determine, by a majority
vote of a quorum consisting of directors who are not parties to the proceeding, whether, in the
specific case, the agent has met the applicable standard of conduct stated in Section 5238(b) or
Section 5238(c), and, if so, shall authorize indemnification to the extent permitted thereby.

              Section 3.       Advancing Expenses. The Board of Directors may authorize the
advance of expenses incurred by or on behalf of an agent of this corporation in defending any
proceeding prior to final disposition, if the Board finds that:

                 (a)   the requested advances are reasonable in amount under the circumstances;
and

                (b)    before any advance is made, the agent will submit a written undertaking
satisfactory to the Board to repay the advance unless it is ultimately determined that the agent is
entitled to indemnification for the expenses under this Article.

                 The Board shall determine whether the undertaking must be secured, and whether
interest shall accrue on the obligation created thereby.




{00911235.DOCX; 2}                             10
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 91 of 166




               Section 4.     Insurance. The Board of Directors may adopt a resolution
authorizing the purchase of insurance on behalf of any agent against any liability asserted against
or incurred by the agent in such capacity or arising out of the agent’s status as such, and such
insurance may provide for coverage against liabilities beyond this corporation’s power to
indemnify the agent under law.


                                      ARTICLE IX
                                 GRANTS ADMINISTRATION

               Section 1.       Purpose of Grants. This corporation shall have the power to make
grants and contributions and to render other financial assistance for the purposes expressed in
this corporation’s Articles of Incorporation.

                 Section 2.     Board of Directors Oversight. The Board of Directors shall
exercise itself, or delegate, subject to its supervision, control over grants, contributions, and other
financial assistance provided by this corporation. The Board shall approve a process for
reviewing and approving or declining all requests for funds made to this corporation, which shall
require such requests to specify the use to which the funds will be put, and include a mechanism
for regular Board review of all grants made. The Board shall similarly approve a process for
authorizing payment of duly approved grants to the approved grantee.

                Section 3.     Refusal; Withdrawal. The Board of Directors, in its absolute
discretion, shall have the right to refuse to make any grants or contributions, or to render other
financial assistance, for any or all of the purposes for which the funds are requested. In addition,
the Board, in its absolute discretion, shall have the right to withdraw its approval of any grant at
any time and use the funds for other purposes within the scope of the purposes expressed in this
corporation’s Articles of Incorporation, subject to any rights of third parties under any contract
relating to such grant.

               Section 4.     Accounting. The Board of Directors shall determine under what
circumstances to require that grantees furnish a periodic accounting to show that the funds
granted by this corporation were expended for the purposes that were approved by the Board.

                Section 5.    Restrictions on Contributions. Unless otherwise determined by
resolution of the Board of Directors in particular cases, this corporation shall retain complete
control and discretion over the use of all contributions it receives, subject only to any charitable
trust restrictions that apply to such contributions, and all contributions received by this
corporation from solicitations for specific grants shall be regarded as for the use of this
corporation and not for any particular organization or individual mentioned in the solicitation.


                                          ARTICLE X
                                       MISCELLANEOUS

             Section 1.        Fiscal Year. The fiscal year of this corporation shall end each year
on December 31.


{00911235.DOCX; 2}                              11
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 92 of 166




               Section 2.     Contracts, Notes, and Checks. All contracts entered into on behalf
of this corporation must be authorized by the Board of Directors or the person or persons on
whom such power may be conferred by the Board from time to time, and, except as otherwise
provided by law, every check, draft, promissory note, money order, or other evidence of
indebtedness of this corporation shall be signed by the person or persons on whom such power
may be conferred by the Board from time to time.

              Section 3.      Annual Reports to Directors. The chief executive officer shall
furnish an annual written report to all directors of this corporation containing the following
information about this corporation’s previous fiscal year:

                (a)     the assets and liabilities, including the trust funds of this corporation, as of
the end of the fiscal year;

                   (b)   the principal changes in assets and liabilities, including trust funds, during
the fiscal year;

                (c)    the revenue or receipts of this corporation, both unrestricted and restricted
to particular purposes, for the fiscal year;

               (d)     the expenses or disbursements of this corporation, for both general and
restricted purposes, for the fiscal year; and

                 (e)     any transaction during the previous fiscal year involving more than
$50,000 between this corporation (or its parent or subsidiaries, if any) and any of its directors or
officers (or the directors or officers of its parent or subsidiaries, if any) or any holder of more
than ten percent of the voting power of this corporation or its parent or subsidiaries, if any, or
any of a number of such transactions in which the same person had a direct or indirect material
financial interest, and which transactions in the aggregate involved more than $50,000, as well as
the amount and circumstances of any indemnifications or advances aggregating more than
$10,000 paid during the fiscal year to any director or officer of this corporation. For each
transaction, the report must disclose the names of the interested persons involved in such
transaction, stating such person’s relationship to this corporation, the nature of such person’s
interest in the transaction and, where practicable, the value of such interest.

               The foregoing report shall be accompanied by any report thereon of independent
accountants or, if there is no such report, the certificate of an authorized officer of this
corporation that such statements were prepared without an audit from the books and records of
this corporation. The report and any accompanying material may be sent by electronic
transmission in compliance with Article X, Section 5 of these Bylaws.

               Section 4.     Required Financial Audits. This corporation shall obtain a
financial audit for any tax year in which it receives or accrues gross revenue of $2 million or
more, excluding grant or contract income from any governmental entity for which the
governmental entity requires an accounting. Whether or not they are required by law, any
audited financial statements obtained by this corporation shall be made available for inspection
by the Attorney General and the general public within nine months after the close of the fiscal
year to which the statements relate, and shall remain available for three years (1) by making

{00911235.DOCX; 2}                               12
        Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 93 of 166




them available at this corporation’s principal, regional, and district offices during regular
business hours and (2) either by mailing a copy to any person who so requests in person or in
writing or by posting them on this corporation’s website.

                Section 5.    Electronic Transmissions. Unless otherwise provided in these
Bylaws, and subject to any guidelines and procedures that the Board of Directors may adopt
from time to time, the terms “written” and “in writing” as used in these Bylaws include any form
of recorded message in the English language capable of comprehension by ordinary visual
means, and may include electronic transmissions, such as facsimile or email, provided (i) for
electronic transmissions from the corporation, the corporation has obtained an unrevoked written
consent from the recipient to the use of such means of communication; (ii) for electronic
transmissions to the corporation, the corporation has in effect reasonable measures to verify that
the sender is the individual purporting to have sent such transmission; and (iii) the transmission
creates a record that can be retained, retrieved, reviewed, and rendered into clearly legible
tangible form.

               Section 6.      Amendments. Proposed amendments to these Bylaws shall be
submitted in writing to the directors at least one week in advance of any Board meeting at which
they will be considered for adoption. The vote of a majority of directors then in office or the
unanimous written consent of the directors shall be required to adopt a bylaw amendment;
provided, however, that no amendment to these Bylaws shall take effect without the written
consent of the Designators.

               Section 7.    Governing Law. In all matters not specified in these Bylaws, or in
the event these Bylaws shall not comply with applicable law, the California Nonprofit Public
Benefit Corporation Law as then in effect shall apply.




{00911235.DOCX; 2}                            13
      Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 94 of 166



                              CERTIFICATE OF SECRETARY


              I，Noah Schwartz, certify that I am presently the duly elected and acting Secretary
of the Schwartz Foundation, a California nonprofit public benefit corporation, and that the above
Bylaws, consisting of thirteen (13) pages, are the Bylaws of < this corporation as adopted by
                                                                           T*4
unanimous written consent of the Board of Directors, on       bMSH—24=



DATED:         ル。こ，tfデ n i


                                                    Noah Sch'      :,lSeCTetary




 {00911235.DOCX;2}
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 95 of 166




            EXHIBIT D
          Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 96 of 166




                   California Secretary of State
             .-
                   Electronic Certified Copy




    I,   ALEX PADILLA, Secretary of State of the State of California,
_
    hereby certify that the attached transcript of 2 pages is a full, true
    and correct copy of the original record in the custody of the
    California Secretary of State's office.




                                            IN WITNESS WHEREOF,           Iexecute
                                            this certificate and affix the Great
                                            Seal of the State of California on
                                            this day of September 13, 2020




                                                     ALEX PADILLA
                                                     Secretary of State




                         Verification Number:    P9BQQXP
                         Entity (File) Number:   00967388

    To verify the issuance of this Certicate, use the Verication Number above
    with the Secretary of State Electronic Verication Search available at
    bizfile.sos.ca.gov
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 97 of 166



                    California Secretary of State
                    Electronic Filing                                                       Secretary of State
                                                                                            State of California



Corporation - Statement of Information
                                      Entity Name: SCHWARTZ FOUNDATION




                                                                                                            Certificate Verification Number: P9BQQXP
                          Entity (File) Number:            C0967388
                                       File Date:          09/1 1/2020
                                      Entity Type:         Corporation




                                                                                                                                                           copy.
                                      Jurisdiction:        CALIFORNIA
                                   Document ID:            GJ4221 9




                                                                                                                                                        to verify the certied
Detailed Filing Information


     Entity Name:
                                                            SCHWARTZ FOUNDATION
1.




                                                                                                                                                       Use bizle.sos.ca.gov
2.   Business Addresses:
     a.   Street Address of Principal
          Ofce in California:                               14665 Washington Avenue #26
                                                            San Leandro, California 94578
                                                            United States of America

     b.   Mailing Address:                                  14665 Washington Avenue #26
                                                            San Leandro, California 94578
                                                            United States of America

3.   Ofcers:

     a.   Chief Executive Ofcer:                            Margot Duffy Schwartz
                                                                                                            Document ID: GJ42219.

                                                            2822 Hillegass Avenue
                                                            Berkeley, California 94705
                                                            United States of America

     b.   Secretary:                                       Noah Alexander Schwartz
                                                           2822 Hillegass Avenue
                                                           Berkeley, California 94705
                                                           United States of America




               Use bizle.sos.ca.gov    for online lings,   searches, business records, and resources.
          Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 98 of 166



                       California Secretary of State
                       Electronic Filing

 Ofcers         (Cont‘d):

     c.     Chief Financial Ofcer:                                Noah Alexander Schwartz
                                                                  2822 Hillegass Avenue
                                                                  Berkeley, California 94705
                                                                  United States of America




                                                                                                                          Certificate Verification Number: P9B9QXP
4.        Agent for Service of Process-:2                         Erik Dryburgh
                                                                  135 Main Street, 20th Floor
                                                                  San Francisco, California 94105




                                                                                                                                                                     Use bizfile.sos.ca.gov to verify the certified copy.
                                                                  United States of America




          By signing this document,     |
                                            certify that the information is true and correct and thatl am authorized by
          California law to sign.




          Electronic Signature:      Max Meregillano




                 Use bizle.sos.ca.gov        for online lings,   searches, business records, and resources.




                                                                                                                             Document ID: GJ42219
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 99 of 166




            EXHIBIT E
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 100 of 166




                           New iMessage                                           Cancel


      To: Don Schwartz


                                iMessage
                           Wed, Aug 5, 12:26 AM

        Hello Margot Brother Don here.
                       —



        Hope Noah and you are doing well.
        lam so sorry for your loss. We
        have all lost both parents in recent
        years. cried silently at my desk
                 |




        over our Pops, miss him so much.
                           |




        And cried openly when my mom
             |




        passed. She was so sweet. Please
        let's talk briefly in the morning.
        Thanks.



      V
                           Wed, Aug 5, 12:09 PM




                                   ..        .      .   (u...       ,1.       .
                               r
                                        a          e‘i          l
                                                                     =
                                                                          I
                                                                                  1i


                     trave                  toda

      ma)                                                                              m
                 €9®Q
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 101 of 166




                           New iMessage               Cancel


      To: Don Schwa rtZ


                           Wed, Aug 5, 12209 PM


                       Hey Don, sorry missed your call.
                       Thanks so much for the message.
                       Yes, it's been very hard the past
                       few weeks. We’re all pretty shaken
                       up- this was a shock for everyone
                       and she was much too young for
                       something like this to happen. I’m
                       traveling today so it’s not really a
                       good time to talk. |’|| be in touch
                       when get back to town. Thanks
                                l


                       for your understanding!


        OK   —
                 safe travels

        Very important we talk      —
                                        briefly

                          Wed, Aug 12, 10:31 PM

        Not contacting me is a bad
        decision

                          Thu, Aug 13, 12:56 PM

                       Didn’t forget about you, still on the
                       road. Will be in touch soon!


                                                         m
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 102 of 166




                 EXHIBIT F
             Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 103 of 166


  From: Donald Schwartz donald@lawofficedonaldschwartz.com
Subject: Re: Schwartz Zoom meeting
   Date: August 23, 2020 at 6:06 PM
     To: Margot Schwartz margotduffyschwartz@gmail.com
    Cc: David Schwartz bigdave469@gmail.com, Noah Schwartz elschwartzo@gmail.com, paul@schwartzco.biz,
         rob@edenrocapartments.com


       There is some more information that has been dumped in my lap.

       I will be sending under separate cover.

       Don

       Sent from my iPhone

         On Aug 23, 2020, at 3:42 PM, Margot Schwartz <margotduffyschwartz@gmail.com> wrote:


         Don,

         Thank you for sharing these ideas with us.

         We understand what you are proposing, and while we certainly agree about the merits of a cohesive family
         unit, we need to let you know unequivocally that we are not interested in participating in this course of
         action. There is absolutely no doubt in either of our minds that dad’s Trust was set up — and continues to
         be in the process of functioning — exactly as he intended.

         Was there anything else you would like to discuss on Tuesday? Of course we are still happy to get
         together.

         M&N


         On Sat, Aug 22, 2020 at 6:38 PM Donald Schwartz <donald@lawofficedonaldschwartz.com> wrote:
          More:

             Mr. Corrinet prefers that we meet as family first and decide what we are doing. So he’s out of the call.

             Don

             Sent from my iPhone

               On Aug 22, 2020, at 2:15 PM, Donald Schwartz <donald@lawofficedonaldschwartz.com> wrote:


               Oh, I forgot to add that Noah has a great business mind (obviously) as do you - and both of you are extremely creative, i.e.,
               right brain!

               We all bring a lot to the table. And we all work well together. What more is there to live for?

               And, as you may be thinking of law school, what better platform upon which to apply newfound legal knowledge than our own
               Schwartz Asset Portfolio? One thing about working with dad was that we were all exposed to legal-technical-financial issues
               that we would otherwise never have seen - and failure was never an option. One thing about Dad is that he wanted us all to
               continue to learn, he was the great hands-on teacher: Peer Teacher.

               And - if you are uncomfortable with Mr. Corrinet, we can save him for another day. (He's harmless and doesn't bite! I actually
               work with him on many other projects, some might even blow your mind!)

               Love, Don


               On Sat, Aug 22, 2020 at 1:41 PM Donald Schwartz <donald@lawofficedonaldschwartz.com> wrote:
                Hi Margot,

                   Great question!!

                   First, and most importantly, we all wish to express our deepest, heartfelt condolences to Noah and you for the sudden loss of
                   your mother (i.e., our step-mother - or as my kids say: "close-by grandmother' - since we also had a "far-away grand-mother"
                   Kathryn). I know that my boys (Charlie especially) are very upset about losing another family member.
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 104 of 166



  Life is short. When you get to the age of your oldest siblings (meaning the oldest 4 of us 7), you come to realize life is short.
  Money is not everything, or even anything perhaps, yet money provides a vehicle to express our common Schwartz values.
  Which brings us to coming together to decide how we all want the rest of our time on this planet to look like, as well as to
  another question:

  Do we want a super- capitalized Schwartz Foundation or do we want more individual control over such funds (which could
  also be directed to the Foundation later, if desired).

  Are there options?

  No one expected your mom to live such a short time after our Pops passed, certainly not your mom or our Pops. Possibly,
  the idea was that your mom could build her estate over many years and pass it as she saw fit in her estate plan (Noah and
  you). She would have many years to do so. Her unexpected passing curtailed that plan. Many folks (and all 5 other
  Schwartzs) believe that it is best for Noah (and his son) and you to have your own control of the capital Eden Roc and
  Terrace Garden represent for the remainder of your lives and start building (or continue building) your own estates - with all
  other 5 Schwartz's together.

  Query No. 1: What options do we have under the existing "RADS Trust" document? (I have talked to all 5 'other' Schwartz's
  and they have expressed a desire to have an attorney opine to all of us what the options could be.)

  So . . . Mr. Corrinet is not representing anyone. As an attorney who practices probate law in California, he would be making a
  voluntary appearance to express his ideas on how various options might be achieved.

  The threshold issue is basically to Noah and you: assuming the RADS Trust gives Eden Roc and Terrace Garden to the
  Schwartz Foundation, are you guys satisfied with such a result?

  I would think not and I hope not. Thusly, two more specific questions arise:

  Question [1]: Is the Trust 'stuck' with Mechanics Bank as the Trustee?

  Question [2]: Is everyone 'stuck' with the Schwartz Foundation getting the two apartment projects?

  Question [3] Is there any benefit to Margot and Noah (and everyone else) to substituting both the Trustee and the
  beneficiary(ies)?

  I have been researching these issues and discussing Question [1] with Mr. Corrient. (We have not broached [2] because no
  one knew the answer at the time that I spoke with him and I had to do some legal research on my own.

  The bottom line is: Question [1]: If ALL seven Schwartz siblings agree that no Trustee is necessary (because we all agree on
  important Trust matters) then the Trustee can be replaced to a Trustee(s) of our own choosing. The reason is that there is no
  need for a Trustee since we all agree to the basic issues related to the Trust, such as who the replacement Trustee(s) would
  be or how to select her/him/it, by vote presumably. (Paying for a Trustee is a form of "waste" - meaning it is wasteful to have
  a third party Trustee and to be paying for the same.)

  As to Question [2]: Frankly, I have yet to discuss this with Mr. Corrinet, but I have done some legal research and it is quite
  evident that the answer is the same thing: If ALL seven Schwartz siblings agree, then the beneficiary can be changed as well
  - meaning to ourselves or our designee(s).

  In other words, if we all agree, then we can get control of the Trust ourselves and directly benefit therefrom.

  What this means is that we would have a pool of cash-flow from which to do other projects and continue on as we have been
  for the past many decades, e.g., making money for Schwartzs. There is a long, very long, history of how Rob, Stev, Paul,
  David and I have toiled over those apartments (and the various other businesses through time) and made them what they
  are today, or could have been. None of us wish to simply have all of this whisked away when we can continue to work as
  diligently as we all have and continue to make the Schwartz Asset Portfolio far bigger and more profitable than it even is
  today.

  And, the other good news is: we all get to work together. I believe that all of us enjoy working together. There is an extra
  spring in all our steps when we know we are working for the betterment of the whole: All for one and one for all. If there is
  anything our father would want is for all of us to get-together and determine our own destiny. If he is watching us from afar,
  he would be very, very inspired by us all banding together to chart our own path - together. And it makes sense: each of us
  brings a unique talent to the talent pool, the ensemble, if you will. Rob is the great communicator, business
  management mind and a person of steller moral values and a person in whom we all place all our complete faith. Stev is also
  a man of great moral character and a rock of ethical duty - a hard worker - and a man of love and trust. Paul is the tech
  genius, with multiple other interests worth noting. David has his own tech skills (different than Paul's) and a strong moral,
  trustworthy person. I have been the outside General Counsel of all of this for some 25 years, i.e., did all of Dad's legal work.
  Everyone's legal work, it seems.

  So, give it some thought and let's continue to discuss. I know this is a lot to take-in all at once. There are some other ancillary
  issues and I will leave those for another day.
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 105 of 166


  "Life is for the living" Bob Schwartz

  Best,

  Donald Charles Schwartz, MBA, JD
  On Sat, Aug 22, 2020 at 11:57 AM Margot Schwartz <margotduffyschwartz@gmail.com> wrote:
   Hi Don,

    Who is Mr. Corrinet planning to represent?

    When we spoke on the phone a couple weeks ago, you were adamant about the importance of our meeting including “only
    Schwartzes”. We are really looking forward to this chance to get the family together without outside involvement.

    M&N

    On Sat, Aug 22, 2020 at 1:25 AM Donald Schwartz <donald@lawofficedonaldschwartz.com> wrote:
     I don’t see the zoom invite.

      Can you also invite Mark Corrinet. He’s a Trust attorney. See email.

      Stev has no functioning email right now. I’ll be with him.

      Thanks.

      Donald Charles Schwartz, M.B.A., J.D.
      Office of Donald C. Schwartz
      7960-B Soquel Drive, No. 291
      Aptos, CA 95003
      donald@lawofficedonaldschwartz.com
      (831) 331-9909/Fax: (815) 301-6556

      Sent from iPhone

          On Aug 19, 2020, at 6:36 PM, Margot Schwartz <margotduffyschwartz@gmail.com> wrote:


          I can do it but I will need Stev’s email address if someone has it?

          On Wed, Aug 19, 2020 at 6:22 PM Donald Schwartz <donald@lawofficedonaldschwartz.com> wrote:
           David says 7:00 p.m. on the 25th (August)

            Who will host the Zoom meeting and send out invites?

            Donald Charles Schwartz, MBA, JD
            On Sat, Aug 15, 2020 at 11:41 AM Margot Schwartz <margotduffyschwartz@gmail.com> wrote:
             Hello fellow Schwartzes!

              Hope you are well. Don mentioned you’re interested in getting together — we don’t seem to have Stev’s email
              address so hopefully someone can forward this to him. Does next Tuesday the 25 work for all of you? We’re
              looking forward to seeing everyone!


              Margot and Noah
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 106 of 166




                 EXHIBIT G
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 107 of 166




From: Donald Schwartz <donald@lawofficedonaldschwartz.com>
Date: Sun, Aug 23, 2020 at 4:16 PM
Subject: RADS Estate
To: Margot Schwartz <margotduffyschwartz@gmail.com>, Mr. Noah Alexander Schwartz
<elschwartzo@gmail.com>
CC: Mr. Rob D Schwartz <schwartztribe@yahoo.com>, David Schwartz
<bigdave469@gmail.com>, Paul Schwartz <paul@schwartzco.biz>


Margot and Noah,

I am very sorry to have to send this to you. See attached.

I gave you an opportunity to do the right thing. You are choosing otherwise.

I was provided this declaration (I have redacted) which caused me to start looking at some
other things and, yes, some other things have surfaced. This is just the tip of the iceberg,

It is very clear to a lot of people what has happened, including to me.

I suggest we meet to discuss. I can assure you, this is not what I wanted to discuss, but I
cannot simply walk away from this - nor will I - or others.

Once again, we can choose to work together or against each other. The choice is yours.

Donald Charles Schwartz, MBA, JD
       Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 108 of 166




                             AFFADAVIT OF
       I；         轉do solemnly swear and affirm:

       On or about the period of time starting on or about from February 2017 to the present
time, I have had several conversations with Dave Kelvin about his meetings with Debbra Wood

Schwartz. We were not meeting under any attorney confidentiality since I was not being asked

to research anything, advise or function as a paralegal in any way. Mr. Kelvin informed me as
follows:

       Debbra Wood Schwartz was upset because her deceased husband's (Bob Schwartz)
estate plan was not satisfactory to her inasmuch as it "put her in business with Don" (meaning

Bob’s son, Don Schwartz) and that "no one wants to be in business with Don." (The clear
meaning is that Don Schwartz was a beneficiary of his father's estate plan other than the

probate documents revealed and that result was unacceptable to Debbra Wood Schwartz.)
       Debbra Wood Schwartz and David Ira Kelvin talked about "some paperwork" that was
unacceptable in the Bob Schwartz estate and had to be redone.

       Dave Kelvin is a friend and I am aware that Debbra Schwartz and he were never very

close until after these meetings, at which point Dave Kelvin started hanging around Debbra

Schwartz7 place in the Oakland/Berkeley area - which he never did so before. (Debbra
Schwartz also told Dave Kelvin that he could "stay at her home" in the Oakland-Berkeley area
at "any time he was in the Bay Area." Dave lives in Clear Lake.
       I was led to believe from the conversations that Debbra and Dave worked together to

falsify a Trust Instrument whereby Debbra Wood Schwartz would be the sole beneficiary of a
Trust and thereby knocking-out Donald Charles Schwartz as a beneficiary of his father’s estate
plan - and thereby destroying the original Trust instrument.

        I informed Donald and Paul Schwartz of these facts (for the first time) on a telephone
call during the month of February 2020.

       When I asked Dave Kelvin why Debbra Wood-Schwartz and he were manipulating Bob

Schwartz’ estate, he did not deny it, Dave replied: "Bob would have wanted Debbra to have it
all.
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 109 of 166




      Il declare under penalty
                       penalty of perjury
                                  perjury under
                                          under the
                                                the laws
                                                    laws of
                                                         of the
                                                            the State
                                                                State of
                                                                      of California that the
                                                                         California that the
foregoing is true and correct.



Date:1

                                    mstmmummt
                                    NOTARY ATTACHED
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 110 of 166




                   EXHIBIT H
           Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 111 of 166


  From: Donald Schwartz donald@lawofficedonaldschwartz.com
Subject: Schwartz Foundation
   Date: October 22, 2020 at 2:28 PM
     To: Margot Schwartz margotduffyschwartz@gmail.com

      Hello Margot,

      Do you have an attorney on the Schwartz Foundation?

      If not, I will address some concerns specific to the Foundation to you.

      Donald Charles Schwartz, MBA, JD
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 112 of 166




                   EXHIBIT I
           Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 113 of 166


  From: Robert Schwartz schwartztribe@yahoo.com
Subject: Fw: Schwartz Foundation
   Date: February 10, 2021 at 5:54 PM
     To: Margot Schwartz margotduffyschwartz@gmail.com




       ----- Forwarded Message -----
       From: Donald Schwartz <donald@lawoﬃcedonaldschwartz.com>
       To: Max Meregillano <max@ksikeyboards.com>
       Cc: Charles Schwartz <cpschwartz@ucdavis.edu>
       Sent: Wednesday, February 10, 2021, 7:40:13 AM PST
       Subject: Schwartz Foundation

       Good Morning Max,

       In furtherance of our phone conversation yesterday, please find attached the following
       information pertaining to the Schwartz Foundation:

       (1) Santa Cruz County Superior Court Amended Petition and Order;

       (2) Board of Directors Meeting Minutes from January 16 and 30, 2021; and

       (3) Secretary of State Statement of Oﬃcers.

       I am also sending for your records the original Articles of Incorporation and Bylaws of the
       Schwartz Foundation. You have previously confirmed that these documents remain fully
       operative since no amendments were ever in your files - and no other records of any Board
       Meetings exist.

       Reminder: You are the Custodian of Records for the Schwartz Foundation and have been since
       at least 1986. You remain as such. (Margot Schwartz took all of your corporate records about
       one month ago and has not returned them.)

       I am instructing you to maintain these records in your files.

       I am also instructing you not to release these records to anyone without my written authority.

       Please let me immediately know of any and all banking information for the Schwartz
       Foundation. I need the name of the Bank, the Branch (if possible), the account numbers
       and any contact information that you may have. I would like to see the most recent bank
       balances on the accounts.

       Thank you.
       Donald Charles Schwartz, MBA, JD
       Law Oﬃce of Donald C. Schwartz
       7960-B Soquel Drive, No. 291
       Aptos, CA 95003
       831-331-9909/Fax: 815-301-6556
       donald@lawoﬃcedonaldschwartz.com

       Confidentiality, Limitation Of Use, And No Binding Eﬀect
       The preceding message contents and any attachments (collectively "Contents") are: (i) solely for the
       benefit of the person(s) or entity(ies) addressed (collectively "Recipient") and may not be relied upon
       by any other person(s) or entity(ies) ("Others") for any purpose without specific written permission of
    Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 114 of 166


by any other person(s) or entity(ies) ("Others") for any purpose without specific written permission of
Donald Charles Schwartz, Esq. and the Law Oﬃces of Donald C. Schwartz; (ii) confidential, private
and contain non-disclosable information for the exclusive use of the Recipient (iii) protected by the
Electronic Communications Act (18 U.S.C.§2510-2521) and or the Health Insurance Portability &
Accountability Act of 1996 (42 USC 201) & its privacy rules and may also be legally privileged
(including attorney-client or attorney work-product privilege), confidential, proprietary or otherwise
protected by law and all downloading, photocopying, distributing or otherwise using the Contents by
Others in any way is prohibited; (iv) sent for informational purposes only and unless expressly stated
not intended to be an electronic signature for purposes of binding any client of or Donald Charles
Schwartz, Esq. and the Law Oﬃces of Donald C. Schwartz to any contract or agreement under the
California Uniform Electronic Transaction Act (CA Civil Code §1633.1-1633.17) and all other similar
states & federal laws; (iv) not intended or written and may not be used for the purpose of avoiding
federal taxes or penalties nor used to promote, market or recommend any transaction or matter
addressed in the Contents (See IRS Circular 230); (v) Recipient should not save or file electronic or
paper copies of the Contents with publicly accessible records, and (vi) subject to continued
application of the foregoing to any subsequent retransmission, publication or disclosure.


          Virus-free. www.avg.com




   Schwartz         Schwartz           Schwartz         Schwartz           Schwartz
 Founda…01.pdf    Founda…01.pdf     Founda…nal.pdf    Founda…01.pdf     Founda…an.pdf




    Schwartz         Schwartz
 Founda…an.pdf    Founda…ed.pdf
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 115 of 166




                   EXHIBIT J
           Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 116 of 166


  From: Sanchez, Tim Timothy.Sanchez@morganstanley.com
Subject: FW: Schwartz Foundation
   Date: February 11, 2021 at 9:14 AM
     To: Margot Schwartz margotduffyschwartz@gmail.com


      Margot,

      Here is the email that Marical received and forwarded to me that includes the items that I
      referenced.

      Tim

      Tim M. Sanchez
      Vice President, Financial Advisor
      Portfolio Management Director
      Morgan Stanley Wealth Management
      1999 Harrison Street, Suite 2200
      Oakland, CA 94612
      Phone: 510-891-5236 Cell: 510-694-2224
      Fax: 925-295-4146
      Timothy.Sanchez@morganstanley.com

      NMLS #1265181
      CA Insurance Lic. #0D45616

      https://advisor.morganstanley.com/the-sbt-group


      From: Sanchez, Marical (Wealth Management Field)
      <Marical.Sanchez@morganstanley.com>
      Sent: Wednesday, February 10, 2021 11:49 AM
      To: Sanchez, Tim (Wealth Management Field) <Timothy.Sanchez@morganstanley.com>;
      Sanchez, Francisca M (Wealth Management Field)
      <Francisca.Sanchez@morganstanley.com>
      Subject: FW: Schwartz Foundation

      Hello,

      Is this the brother that Margot is referring to?


      Marical Sanchez
      Sr. Client Service Associate

      SBT Group
      Morgan Stanley Wealth Management
      1999 Harrison Street, Suite 2200| Oakland, CA 94612
      Direct: 510-891-5202| Toll Free: 800-755-1579| Fax: 510-891-0578

      From: Donald Schwartz <donald@lawofficedonaldschwartz.com>
      Sent: Wednesday, February 10, 2021 11:46 AM
      To: Sanchez, Marical (Wealth Management Field)
      <Marical.Sanchez@morganstanley.com>
      Subject: Fwd: Schwartz Foundation

      Dear Ms. Sanchez,
    Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 117 of 166

Dear Ms. Sanchez,

Please find the attached email to John Torpey.

Per his message I am forwarding to you.

Thanks.

Donald Charles Schwartz, JD, MBA
Chairman of the Board
President/Chief Executive Officer
Schwartz Foundation
7960-B Soquel Drive, No. 291
Aptos, CA 95003
831-331-9909/Fax: 815-301-6556
donald@lawofficedonaldschwartz.com

Confidentiality, Limitation Of Use, And No Binding Effect
The preceding message contents and any attachments (collectively "Contents") are: (i) solely for the benefit of the
person(s) or entity(ies) addressed (collectively "Recipient") and may not be relied upon by any other person(s) or
entity(ies) ("Others") for any purpose without specific written permission of Donald Charles Schwartz, Esq. and
the Law Offices of Donald C. Schwartz; (ii) confidential, private and contain non-disclosable information for the
exclusive use of the Recipient (iii) protected by the Electronic Communications Act (18 U.S.C.§2510-2521) and
or the Health Insurance Portability & Accountability Act of 1996 (42 USC 201) & its privacy rules and may also
be legally privileged (including attorney-client or attorney work-product privilege), confidential, proprietary or
otherwise protected by law and all downloading, photocopying, distributing or otherwise using the Contents by
Others in any way is prohibited; (iv) sent for informational purposes only and unless expressly stated not intended
to be an electronic signature for purposes of binding any client of or Donald Charles Schwartz, Esq. and the Law
Offices of Donald C. Schwartz to any contract or agreement under the California Uniform Electronic Transaction
Act (CA Civil Code §1633.1-1633.17) and all other similar states & federal laws; (iv) not intended or written and
may not be used for the purpose of avoiding federal taxes or penalties nor used to promote, market or recommend
any transaction or matter addressed in the Contents (See IRS Circular 230); (v) Recipient should not save or file
electronic or paper copies of the Contents with publicly accessible records, and (vi) subject to continued
application of the foregoing to any subsequent retransmission, publication or disclosure.



---------- Forwarded message ---------
From: Donald Schwartz <donald@lawofficedonaldschwartz.com>
Date: Wed, Feb 10, 2021 at 11:14 AM
Subject: Schwartz Foundation
To: <John.Torpey@morganstanley.com>


Hello Mr. Torpey,

I just left a voice message on your "remote line."

Please be advised that Margot Schwartz and Noah Schwartz corporate
officerships (if any they had) with the Schwartz Foundation have been terminated.
    Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 118 of 166



Please see the Statement of Information filed with the Secretary of State of the
State of California and copy of void check - attached hereto.

I would like to secure a copy of any and all prior corporate authorizations for the
Schwartz Foundation that Morgan Stanley has in its custody and control.

Please contact me to discuss establishing new account
privileges or answer any other questions that you may have.
I look forward to working with you and thank you in advance
for your anticipated cooperation.
cc: Mark Corrinet, Esq.
Donald Charles Schwartz, JD, MBA
Chairman of the Board
President/Chief Executive Officer
Schwartz Foundation
7960-B Soquel Drive, No. 291
Aptos, CA 95003
831-331-9909/Fax: 815-301-6556
donald@lawofficedonaldschwartz.com

Confidentiality, Limitation Of Use, And No Binding Effect
The preceding message contents and any attachments (collectively "Contents") are: (i) solely for the benefit of the
person(s) or entity(ies) addressed (collectively "Recipient") and may not be relied upon by any other person(s) or
entity(ies) ("Others") for any purpose without specific written permission of Donald Charles Schwartz, Esq. and
the Law Offices of Donald C. Schwartz; (ii) confidential, private and contain non-disclosable information for the
exclusive use of the Recipient (iii) protected by the Electronic Communications Act (18 U.S.C.§2510-2521) and
or the Health Insurance Portability & Accountability Act of 1996 (42 USC 201) & its privacy rules and may also
be legally privileged (including attorney-client or attorney work-product privilege), confidential, proprietary or
otherwise protected by law and all downloading, photocopying, distributing or otherwise using the Contents by
Others in any way is prohibited; (iv) sent for informational purposes only and unless expressly stated not intended
to be an electronic signature for purposes of binding any client of or Donald Charles Schwartz, Esq. and the Law
Offices of Donald C. Schwartz to any contract or agreement under the California Uniform Electronic Transaction
Act (CA Civil Code §1633.1-1633.17) and all other similar states & federal laws; (iv) not intended or written and
may not be used for the purpose of avoiding federal taxes or penalties nor used to promote, market or recommend
any transaction or matter addressed in the Contents (See IRS Circular 230); (v) Recipient should not save or file
electronic or paper copies of the Contents with publicly accessible records, and (vi) subject to continued
application of the foregoing to any subsequent retransmission, publication or disclosure.



             Virus-free. www.avg.com

If you would like to unsubscribe from marketing e-mails from Morgan Stanley Wealth Management, you may do so here . Please note,
you will still receive service e-mails from Morgan Stanley Wealth Management.
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 119 of 166

you will still receive service e-mails from Morgan Stanley Wealth Management.

You may have certain rights regarding the information that Morgan Stanley collects about you. Please see our Privacy Pledge
https://www.morganstanley.com/privacy-pledge for more information about your rights.

To view Morgan Stanley’s Client Relationship Summary and other important disclosures about our accounts and services, please visit
www.morganstanley.com/disclosures/account-disclosures




   Schwartz
 Founda…01.pdf
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 120 of 166
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 121 of 166



                    California Secretary of State
                    Electronic Filing                                                       Secretary of State
                                                                                            State of California



Corporation - Statement of Information
                                      Entity Name: SCHWARTZ FOUNDATION


                         Entity (File) Number:             00967388
                           '
                                      File Date:           01/31/2021
                                      Entity Type:         Corporation
                                      Jurisdiction:        CALIFORNIA
                                   Document ID:            GQZO1 15

Detailed Filing Information


1.   Entity Name:                                          SCHWARTZ FOUNDATION

2.   Business Addresses:
     a.   Street Address of Principal
          Ofce    i” Ca'”°"“a‘
                                                           7960-8 Soquel Drive, No. 291
                                                           Aptos, California 95003
                                                           United States of America

     b‘   Mamng AddreSS:
                                                           7960-B Soquel Drive, No. 291
                                                           Aptos, California 95003
                                                           United States of America
3.   Ofcers:

     a.   Chief Executive Ofcer:                            DonaId Chaes     Schwartz
                                                                                                            Document ID:’<3020115

                                                           7960-B Soquel Drive, No. 291
                                                           Aptos, California 95003
                                                           United States of America

     b-   Secretary:                                        David Richard Schwartz
                                                                                              ‘
                                                           7960-3 Soquei Drive, No. 291
                                                           Aptos, California 95003
                                                           United States of America




               Use bizle.sos.ca.gov    for online lings,   searches, business records, and resources.
      Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 122 of 166



                      California Secretary of State
                      Electronic Filing

 Ofcers        (Cont‘d):

     c-     ChiEf Finanda' Ofce“                                  Charles Phinehas Schwartz, |l|
                                                                  7960-B Soquel Drive, No. 291
                                                                  Aptos, California 95003
                                                                  United States of America

4.        Agent for Service of Process:                           Donald Charles Schwartz
                                                                  7960-8 Soquel Drive, No. 291
                                                                  Aptos, California 95003
                                                                  United States of America




          By signing this document,     |
                                            certify that the information is true and correct and that am authorized by
                                                                                                   |




          California law to sign.




          Electronic Signature:    Donald Charles Schwartz




                 Use bizle.sos.ca.gov        for online lings,   searches, business records, and resources.




                                                                                                                            @0201 15
                                                                                                                         Document ID:
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 123 of 166




                   EXHIBIT K
                Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 124 of 166

Pam Trempel




From: max management-engineering.com <max@management-engineering.com>
Date: Tue, Feb 16, 2021 at 1:29 PM
Subject: Cease and desist Order
To: Margot Schwartz <margotduffyschwartz@gmail.com>


Do I stop paying Temitayo for her services and inform her to stop working?




                                                         1
      Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 125 of 166

                            MARK STEVEN CORRINET
                                       ATTORNEY AT LAW
                            (ADMITTED IN CALIFORNIA STATE & FEDERAL)
                               (ADMITTED IN OREGON FEDERAL ONLY)



February 10, 2021

Max Meregillano
Custodian of Records
Schwartz Foundation
14665 Washington Avenue, No. 26
San Leandro, CA 94578

Re:    Schwartz Foundation

Dear Mr. Meregillano,

       Please be advised that      I   have been retained by the Schwartz Foundation to notify
you that the Board of Directors of the Schwartz Foundation has terminated any and all
officer positions purportedly held by Margot Schwartz and Noah Schwartz. They have
been instructed to return all books and records of the Schwartz Foundation to you at your
office address as set forth above.


       You are hereby instructed to cease and desist from engaging any further corporate
activities with Margot Schwartz and Noah Schwartz other than to receive the books and
records that they return to you.


       If they do return books and records to you, please keep an inventory of what you

receive.


       Please feel free to contact me at the above contact information or Donald Charles
Schwartz at the following address going fonNard as to Schwartz Foundation matters:


                                Donald Charles Schwartz
                 Chairman of the Board/President/Chief Executive Ofcer
                             7960-8 Soquel Drive, No. 291
                                   Aptos, CA 95003
                              831-331-9909/831-291-7080
                               Email: triallaw@cruzio.com



                2210 NW BAYSHORE LOOP o WALDPORT o OREGON 97394
                   (541) 563-5028 o EMAIL: CORRINETLAW@AOL.COM
      Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 126 of 166




                         donald@lawofcedonaldschwartz.com

      Thank you for your anticipated cooperation.

Sincerely



            i




Mark Steven Corrinet
Attorney a law

cc:   Donald Charles Schwartz, Esq.
      Chairman of the Board
      Schwartz Foundation
          Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 127 of 166


                  California Secretary of State
                  Electronic Filing                                                     Secretary of State
                                                                                        State of California



Corporation - Statement of Information
                                    Entity Name: SCHWARTZ FOUNDATION


                        Entity (File) Number:         00967388
                                     File Date:       01/31/2021
                                     Entity Type:     Corporation
                                     Jurisdiction:    CALIFORNIA
                                    Document ID:      GQZOI 1 5

Detailed Filing Information


1.   Entity Name:                                     SCHWARTZ FOUNDATION


2.   Business Addresses:
     a.    Street Address of Principal
           Ofce in Ca'ifmniai
                                                       7960—3 Sequel Drive, No. 291
                                                       Aptos, California 95003
                                                       United States of America

     b-    Mailing Address:                            7960-3 Soquel Drive, No. 291
                                                       Aptos, California 95003
                                                       United States of America
3.   Ofcers:

     a.    Chief Executive Ofcer:                      Donald Charles Schwartz
                                                                                                         Document ID: 6020115

                                                       7960-8 Soquel Drive, No. 291
                                                       Aptos, California 95003
                                                       United States of America

     b-    secretary:                                   David Richard Schwartz
                                                        7960-8 Soquel Drive, No. 291
                                                        Aptos, California 95003
                                                        United States of America




               Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
            Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 128 of 166


                      California Secretary of State
                      Electronic Filing

 Officers (Cont'd):

     C-    Chief Financia' Ofcer:                            Charles Phinehas Schwartz, m
                                                             7960-8 Soquel Drive, No. 291
                                                             Aptos, California 95003
                                                             United States of America

4.        Agent for Service of Process:                       Donald Charles Schwaz
                                                              7960-8 Soquel Drive, No. 291
                                                              Aptos, California 95003
                                                              United States of America




           By signing this document, certify that the information is true and correct and that l am authorized by
                                       |




           California law to sign.




           Electronic Signature:    Donald Charles Schwartz




                  Use bizfile.sos.ca.gov for online lings,   searches, business records, and resources.




                                                                                                                    Document ID: G020115
              Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 129 of 166
                                                                                                         SUPCV436
 ATTORNEY OR PARTY WITHOUT AN ATTORNEY (Name, State Bar number, and address):                          FOR COURT USE ONLY
 NAME: David A. Stein, SBN 102556; Jessica M. Takano, SBN 184079
 ADDRESS: Donahue Fitzgerald LLP, 1999 Harrison Street, 26th Floor
 CITY, STATE, ZIP: Oakland, CA 94612

 TELEPHONE NO: (510) 451-3300                                                                    ELECTRONICALLY FILED
 FAX NO. (Optional): (510) 451-1527                                                              Superior Court of California
 EMAIL ADDRESS (Optional): dstein@donahue.com; jtakano@donahue.com
 ATTORNEY FOR (Name): Plaintiffs Schwartz Foundation, Margot Schwartz, and Noah Schwartz
                                                                                                 County of Santa Cruz
                                                                                                 2/25/2021 2:57 PM
 SUPERIOR COURT OF CALIFORNIA COUNTY OF SANTA CRUZ                                               Alex Calvo, Clerk
~ 701 Ocean Street, Room 110                D 1 Second Street, Room 300                          By: Dajah de los Santos, Deputy
  Santa Cruz, CA 95060                           Watsonville, CA 95076
  Santa Cruz Branch                              Watsonville Branch
 PLAINTIFF/PETITIONER: Schwartz Foundation, Margot Schwartz, and Noah Schwart
 vs.
 DEFENDANT/RESPONDENT: Donald C. Schwartz, et al.
                                                                                             CASE NUMBER:

                               AMENDMENT TO COMPLAINT                                        21CV00416




                                            FICTITIOUS NAME (No order required)

       Upon filing the complaint in this case, plaintiff(s) being ignorant of the true name of a defendant, designated such
defendant in the complaint by the fictitious name of _D_o_e_1_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~


and having discovered the defendants true name to be _M_ic_h_a_e_lL_e_n_o_r_O_st_e_r_be_r_g_ _ _ _ _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___, plaintiff(s)
amend(s) the complaint by inserting such true name instead o                        a',l~hereve~ it a     ears in the com la int.

Date: February 25, 2021                                  --~,c:._~~~-b---  _ _ _~.,._~-...::=--L......:=-----==---....:......:::...= O
                                                                        V _\..._/
                                                                                                   D    Party without Attorney




                                         INCORRECT NAME (Requires order thereon)

          Plaintiff(s) having designated a defendant in the complaint by the incorrect name of _ _ _ _ _ _ _ _ _ __

and having discovered the true name of the defendant to be _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ amend(s) the complaint by inserting such true name instead of such incorrect name
wherever it appears in the complaint.
Date: _ _ _ _ _ _ _ _ _ _ _ _ __

                                                             D    Attorney(s) for Plaintiff(s)     D    Party without Attorney




                                             ORDER TO AMEND INCORRECT NAME

          Proper cause appearing, the above amendment to the complaint is allowed.

Date: _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                  Judge of the Superior Court




Form Adopted for OPTIONAL USE                                                                                             Page 1 of 1
Superior Court of Santa Cruz County                AMENDMENT TO COMPLAINT
SUPCV 436                   01/01/ZO
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 130 of 166




                         EXHIBIT 3
           Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 131 of 166


                                                                   ELECTRONICALLY FILED
                                                                   Superior Court of California
     Mark Steven Corrinet, Esq. (SBN 190471)                       County of Santa Cruz
     Law Office of Mark Steven Corrinet                            1/15/2021 4:59 PM
     2210 NW Bayshore Loop                                         Alex Calvo, Clerk
     Waldport, OR 97394                                            By: Declan Salsedo, Deputy
     541-563-5028
     email: corrinetlaw@aohcom
     Fax: 541-275-9630
 6
     Donald Charles Schwartz, Esq. (SBN 122476)
 7   Law Offices of Donald C. Schwartz
     7960-B Soquel Drive, No. 291
 8
     Aptos, CA 95003
 9   831-331-9909; Facsimile 815-301-6556
     email: donald@lawofficedonaldschwartz.corn
10

11   Attorneys for Petitioner
     Donald Charles Schwartz
12

13                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

14                                         COUNTY OF SANTA CRUZ
15
     In Re:                                              ]   No. 21CV00032
16
                                                         ]
                    Schwartz Foundation                  ]   AMENDED PETITION FOR
17
                                                         ]   DECLARATORY
18                                                       ]   RELIEF — VERIFIED
19                                                       ]

20        Petitioner Donald Charles Schwartz alleges as follows:
21                                              SUMMARY
22            [1]      This case pertains to the continued operation and management of the Schwartz
23   Foundation, a non-profit California corporation.
24                                        JURISDICTION AND VENUE
25            [2]      Jurisdiction and venue exists in Santa Cruz County because petitioner Donald
26   Charles Schwartz is a founding Member of the Board of the Schwartz Foundation with business
27   offices in Santa Cruz County and is conducting the affairs of the Schwartz Foundation in said
28   County.
           Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 132 of 166




                                                 PARTIES
           [3]       Petitioner Donald Charles Schwartz, is an individual doing business in the County
     of Santa Cruz. Petitioner is a duly licensed attorney in the State of California.
           [4]       The Schwartz Foundation is a non-profit corporation formed under the laws of the
     State of California.

                                          GENERAL ALLEGATIONS
           [5]       The Schwartz Foundation was formed by its founding Members of the Board of
     Directors: Robert A. D. Schwartz, Donald Charles Schwartz and Thorn Picarello. A true and

10   correct copy of the Articles of Incorporation of the Schwartz Foundation filed with the
     Department of Justice, State of California are attached hereto as Exhibit 1.

12         [6]       Robert A.D. Schwartz was the father of Donald Charles Schwartz. At the time of
13   the founding of the Schwartz Foundation in 1979, Thorn Picarello was the law partner of Robert
14   A. D. Schwartz.

15         [6]       In February 2017, Robert A. D. Schwartz died at the age of 93-years old, thereby
16   leaving two living Board Members of the Schwartz Foundation, i.e., Donald Charles Schwartz
17   and Thorn Picarello.
18         [7]       At the time of the passing of Robert A. D. Schwartz in 2017, Thorn Picarello was
19   no longer engaged in the practice of law and was treating for cancer. Now, as a recent cancer
20   survivor, Thorn Picarello has expressed a desire not to be involved in any way with the Schwartz
21   Foundation, thereby leaving Donald Charles Schwartz as the only participating Board Member
22   of the Schwartz Foundation.
23
           [8]       The Bylaws of the Schwartz Foundation require a quorum of two Board Members
24
     to call and conduct a Board Meeting so that the business of the Schwartz Foundation can be
25
     accomplished. Without the cooperation of Thorn Picarello, no Board Meeting can be called and
26
     conducted. A true and correct copy of the Bylaws of the Schwartz Foundation are attached hereto
27
     as Exhibit 2.
28
          [9]        Petitioner Donald Charles Schwartz has no other alternative but to seek judicial
           Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 133 of 166




     relief to re-establish a functioning Board of Directors to carry-on the legacy of the Schwartz
     Foundation.
                                     FIRST CAUSE OF ACTION
                                  [For Appointment of Board Members]
           [10]    Plaintiff incorporates by reference herein, as though fully set forth, each of the
     allegations contained in Paragraphs 1-9 above.

           [11]    The Schwartz Foundation traces its roots to The Charles P. and Lavinia Schwartz
     Citizenship Education Project established in Chicago, Ill. in the 1960s. Charles P. Schwartz
     graduated from the University of Chicago Law School in 1909. As the personal attorney for
10   Nobel Peace Prize Laureate Jane Addams, they established the first Juvenile Court in America,
     promoted the legal rights of immigrants coming to America and began what is now the modern
12   woman's movement. Jane Addams and Charles P. Schwartz founded a Constitutional Study
13   Group with Clarence Darrow and Roger Baldwin that became the American Civil Liberties
14   Union ("ACLU"). As a co-founder of the ACLU, Charles P. Schwartz was also an advisor to
15
     President Franklin Delano Roosevelt on issues related to immigration. Charles P. Schwartz was
16
     also the President, University of Chicago Law School Alumni Association. Charles P. and
17
     Lavinia Schwartz through The Schwartz Citizenship Education Project funded numerous
18
     doctoral dissertations in the Department of Education, University of Chicago exploring issues
19
     related to barriers of various immigration groups to becoming productive members of the
20
     American society (i.e., citizenship). (Indigenous populations were also studied.)
21
          After the passing of his father   —
                                                Charles P. Schwartz - his son Robert A. D. Schwartz
22
     initiated the Schwartz Foundation with his son, Donald Charles Schwartz, and Robert A. D.
23
     Schwartz'aw partner, Thorn Picarello.
24
     //
25
     //
26

27

28
           Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 134 of 166




           As the Chairman, Democratic Party, Northern California, Robert A. D. Schwartz'as
     particularly taken-aback by the perversion of the American democratic systems by then-
     President Richard M. Nixon and his immediate staff during the wiretap scandal related to the
     Democratic National Headquarters at the Watergate Complex, Washington, D.C. Robert A. D.
     Schwartz would often say, "Haldeman, Ehrlichman, Mitchell and Dean were the best and the
     brightest, and studied at the finest universities, but they had no moral compass." By establishing
     the Schwartz Foundation, the principal goal was to further Charles P. Schwartz'oncept of
     Citizenship Education through what Robert A. D. Schwartz determined to be an effective way

10   in doing so, i.e., Peer Teaching.

           By focusing on the "affective effect" of the process of peer teaching on the tutor (not the

12   tutee), it came to be understood that the tutor actively learned how to care for another human

13   being and in doing so was learning through action how to be a good citizen. Through the
14   Schwartz Foundation, Robert A. D. Schwartz funded Peer Teaching conventions in Sacramento
15   and paid for substitute teachers so that every teacher in the entire Oakland Unified School
16   District could attend. Robert A.D. Schwartz would eventually become heralded as Oakland
17   Citizen of the Year 1996 (elected by the New Oakland Committee, the Oakland Chamber of
18   Commerce and the Oakland Board of Realtors). Mayor Libby Schaff and the Oakland City
19   Council would come to designate December 14'" as "Bob Schwartz Day" in Oakland,
     California.'n doing so, the concept of Peer Teaching in the public schools has literally spread
     through the United States, if not the World.
22
           Throughout the many decades, petitioner Donald Charles Schwartz assisted his father,
23
     Robert A. D. Schwartz, in pursuing the activities of the Schwartz Foundation.
24
           [12]     By this civil action, Petitioner Donald Charles Schwartz seeks to re-establish a
25

26   's   an M.I. T, Electrical Engineer and State of California licensed attorney, Robert A.D. Schwartz held
27   numerous patents in the field of computers and computer keyboard technology.
      Robert A. D. Schwartz would also be instrumental in Berkeley City Councilmember Ronald V. Dellums
28   obtaining a Congressional seat in 1970 as well as single-handedly placing Governor Jerry Brown in the
     Governor's Office in 1975. Bob Schwartz and Governor Jerry Brown were close confidants.
           Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 135 of 166




           functioning Board of Directors of the Schwartz Foundation to carry on his father's dream
     of promoting citizenship education, vocational education and music — as stated in the Articles of
     Incorporation.
           The proposed Board Members are Donald Charles Schwartz, Stevon Scott Schwartz and
     Charles P. Schwartz, III.
           [13]    Donald Charles Schwartz
          As the only active Board Member of the Schwartz Foundation, petitioner Donald Charles
     Schwartz brings a continuity to the Board of Directors in the spirit of his grandfather's and

10
     father's public service. In the 1970s through the 1980s, Donald Charles Schwartz served on the
     Legislative Staff of the Honorable Ronald V. Dellums and the Congressional Black Caucus. In

12   the words of Donald Hopkins, Congressman Dellums'istrict Manager:

13          "Don Schwartz was instrumental in the passage of the Comprehensive Anti-
14          Apartheid Act of 1986."
15        This legislation, passed into law by a United States Senate override of a President Ronald

16   Reagan veto, had the immediate effect of freeing Nelson Mandela from the Robben Island
17   Prison, eliminating the apartheid system in South Africa and dismantling a nuclear (and other)
18   arsenal. While in Washington, D.C., Petitioner Donald Charles Schwartz earned a Masters in
19   Business Administration in Finance and Investments (M.B.A.) from the George Washington
20   University and a Juris Doctorate (J.D.) from The Georgetown University Law Center. He also
21   served for some 7-years on Staff of the Assistant Attorney General in Charge of the Antitrust
22   Division, United States of America, Washington, D.C. as a Senior Financial Analyst.
23        As the personal attorney for several decades to his father related to the family business and
24   real estate operations, Petitioner Donald Charles Schwartz became close to his father. His father
25   would want his sons and grandchildren to carry-on the good works of the Schwartz Foundation.
26
          [14]     Stevon Scott Schwartz
27
          A proposed substitution on the Board of Directors of the Schwartz Foundation, Stevon
28
     Scott Schwartz, is the brother of Donald Charles Schwartz. Steven Scott Schwartz is a two-
            Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 136 of 166



 1

     degree graduate of the University of Californi, Berkeley. While at the University of California,
 2
     Berkeley, Steven Scott Schwartz was a prolific track athlete as, inter alia, the every-day training
 3
     partner of Eddie Hart, a former World Record Holder in the Men's 110-meter race and recipient
 4
     of an Olympic Gold Medal at the Munich Olympics in 1972. Committing his life to helping
 5
     youth, Steven Scott Schwartz has spent a 40-year career as a track and field/football coach at
 6
     various Oakland Public School High Schools, including Oakland Technical, Oakland High
 7

 8
     School, Castlemont High School and McClymonds High School. He has numerous alumni

 9
     coaching and playing professional sports in the National Football League and Major League

10   Baseball as well as universities and colleges. While serving his deep faith and religious beliefs,
     Stevon Scott Schwartz was a 20-year Lead Singer of the Oakland Interfaith Gospel Choir. Stevon

12   Scott Schwartz has exemplified a life of "good citizenship."

13         [15]      Charles P. Schwartz, III
14         Named for his great-grandfather, Charles P. Schwartz, III is the grandson of Robert A.D.
15   Schwartz as well as petitioner's son.'harles P. Schwartz was the closest grandchild to Robert
16   A. D. Schwartz. As a scholar-athlete, Charles P. Schwartz, III was a straight-A graduate of Aptos
17   High School and two-time Central Coast Section Football Champion. Charles P. Schwartz, III
18   served as a Congressional Intern in Washington, D.C. for Congressman Jimmy Panetta as well
19   as President, Bernie Sanders Club, University of California, Davis. While earning two degrees
20   at the University of California, Davis, Charles P. Schwartz, III served as a Panelist on the

     (experimental) Neighborhood Restorative Court operating out the Yolo County District
     Attorney's Office. Charles P. Schwartz, III has shown an exemplary commitment to "good
23
     citizenship."
24



26

27

28   'harles P. Schwartz, Jr. was Robert A. D. Schwartz'rother and graduated Summa Cum Laude, Harvard University Law
     School, later becoming president/Chairman of the Board, Champion parts Remanufacturing Corporation.
                 Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 137 of 166




                     [14j    Therefore, Petitioner seeks an order of this court
                                                                                      affirming his position as a
             Member of the Board of Directors of the Schwartz
                                                                      Foundation as well as appointing Stevon
             Scott
             Schwartz and Charles P. Schwartz, ill to fill the
         !
                                                                 remaining positions on the Board of Directors.
                      Wherefore, Petitioner prays judgment as set forth below.

                                                           PRAYER
                     WHEREFORE, Plaintiff prays for judgment as follows:
                     [1j    That Donald Charles Schwartz has been since
                                                                                   1979, and continues to be, a
             Member in good standing of the Board of Directors of
                                                                        the Schwartz Foundation as set forth in
             the Articles of Incorporation filed with the Department
                                                                       of Justice, State of California;
                   [2[      That Stevon Scott Schwartz is a Member of the
                                                                                      Board of Directors of the
             Schwartz Foundation as set forth in the Articles of
     !                                                               Incorporation filed with the Department of
             Justice, State of California;
     !


                  [3j       That Charles P. Schwartz, III is a Member of the
                                                                                      Board of Directors of the
             Schwartz Foundation as set forth in the Articles of
                                                                     Incorporation filed with the Department of
I7           Justice, State of California: and
la                [4j       For such further, and/or different relief as the
                                                                               Court may deem just and proper.
             Dated; January 4, 2021.
2O




                                                 Mark Steven Corrinet, Esq.
                                                   Attorney for Petitioner
               Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 138 of 166



      1


     2                                            VERIFICATION
                 I, Donald Charles Schwartz, declare:
     4         I am the petitioner herein.
     5
               I certify under penalty of perjury under the laws
     6
                                                                   of the State of California that the foregoing
          is true and correct, unless as stated on information
                                                                 and belief.
     7
          Date: January 4, 2021
     8



 10
                                             Donald Charles Schwartz

 12

 13



 15



17

18

19

20

21

22
23

24
25



27
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 139 of 166




                         EXHIBIT 1
                         EXHIBIT
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 140 of 166




                                                                           062888
                                        OF
                                                                       EN DORSFD
                                                                             pt t.ED
                                                                         osf ~ 4l IhI Iecrcl os w
                                                                         $   e Qotg w ceotaroo
  ONE:                                                                       NOV14 19?9
             The usms of this CazporaCion
                                             is:                   mmes FQNs EIL cccshla m m4e
                                                                             alamo J. Corros
                               Schwartz Foundatian                               aopuly
  THO:       The purposes for which
                                      this earpozaCion is farmed
                                                                       are:
             (a) The specf.fic and
                                   prutmzy purposes are to
             encaurage and assist the                         promote,
             musical and citizenship development of vocational,
                                      education.
             (b) The general purposes
            exercise all rights         and powers are to have
                                 snd powers eonfezred            and
            eozporatians under the laws of              an nan-pzofit
            the power to contract„rent, California, including
            or real pzapezty;              buy, or sell
                                provided, however, thatpersanal
            ation shall not, except                       this corpor-
            engage in activities or to an insubstantial degree,
            not in furtherance of theexercise any powers chat are
            corporation.               primary purposes of this
            (c)   Nosubstantial part of the
           corporation shall consist           activities of this
           paganda or othezwise         of  the cazzyiug an of pro-
                                  attempting   to
           slation, nar shall the cozporatian influence legi-
           or intexvem in                         participate in,

THREE:
           of statements), any  political
          any candidate for public
                                      office.
                                             e~
                            (including publishing    or distributing
                                                      an behalf of
          This cozporatian is
Nan-prof'owSooaOZon Low or      organized pursuant ca the
does not contemplate            Che State of                 General
                      pecuniszy                 Califoznia, and
of the carpozation and is        gain  ar  profit to che members
                           azgstdzed for nan-profit
HXE:                                                    purposes.
          The county in this
the transaction of business state where the principal office
Alameda County.              of the corpmatian is                  for
                                                       located is
FXVE:     The
the capacity ofnames and addresses of the
                                          persons who are ta act
                 directors until the selection
                                               of their successorsin
          Robert A. D. Sehwartz
                                                   81 Rixberlin Hts.
          Donald C.    ~z                                            Drive
                                                   Oakland, California 94621
                                                   513 Independent Road
                                                   Oakland, California
                                                                                     ~
                                                                             94621
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 141 of 166



                Tham R. Pieazello
                                                        4860 Seven Hills
                                                                            Road
                                                        Castro Valley,
                                                                          California 94546
    SIX:       Any action required
    Board of Directors              ox'ezsdtted
   without a smeting, under    any provisions of to be taken by the
                          if
    collectively consent inallwriting
                                mevhers of the    Iaw may be taken
                                               Board shall individually
   or cansents shall be filed         to such actian.                    ar
                                                        Such written consent
   Board. Such action            with the minutes
                         by written consent
   effect as the unaxdsaus                         of the proceedings of
                                             shall  have the same farce the
             filed under'nyvote
             othex'ocummt          of such Directors.
                              provision of Iaw which Any certificate or
                                                                        and
   shall state that the
   of                     action was
      the Boazd of Directors                           relates to
                                   taken by the unanizeus      actian so taken
   Incozporation authorize   without a zesting            written
                                               and that the        consent
   be prima facie          tbe Directors to                 Articles
                  evidence of such          so aet, and such statementof
                                        authority.
   SEVEN:
                                                                                   shall
              The manner of
                                which Dizectors
      office, their qualificatians,                shall be chosen and
     office, the manner of             powers, duties,                    removed fzcm
     calling and holding filling vacancies on the campematian.
                                                            Board, end
                                                                          and tenuxw of
                            meetings of Directors,
                                                       shall be statedtbein
                                                                            manner af
                                                                            the Bylaws.
                The autlmrized
     the corporation,            xmmber, if any,
    if anv, the p~,     the filling of vacancies,the qualificatians of
    and their liability voting, and other rights      the different classesmsshexs of
                           for dies and assessments and pzovileges of of
    thereof, and the texmination                                                ~hip,
                                                                               menhers,
    stated in the Bylaws.            of msahezship orand the methad of collection
                                                          transfer thezeof shall
   EXGRX':
                                                                                   be
               The property of
   chaxitable purposes and this corporatian is
   zation shall ever inure no part of the net income     irrevocably dedicated to
   thereof or to the           ta  the                        or assets of the
                        benefit of anybenefit   of any director,
                                         private pezsons.
                                                                                organi-
                                                                    officer, or member
              Gn the
  reamixxing after dissolutiau or winding up of
  liabilities of thispayamnt of or provision            the cozporatian, its
                          aoxporatian, shall be  for  payment  of, all debts sndassets
 foundation, or corporation
 charitable
 Sectian 501purnoses      and whixh hss is
                                  which
                (c) (3) of the Internal
                                          ~ed      distributed
                                         established
                                                                 to a
                                                        and aperated non-profit fund,
                                                        its           exclusively for
                                           Revenue Cods. tax-exanpt status under
              Xf this
 corporation is formed corparatian holds any
of in such manner           for charitable      assets an txust, or
                                            purposes,                  the
the county in whichas may be directed by the             such assets shall
                                                                             be disposed
therefore by the         the corporation has         decree of the
                     Attorney General or       its                   superior
                                                    principal office, an court of
tion, in a proceeding                       by any person concerned          petition
                           to which the Attorney                        in the liquida-
                                                    General is a party.
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 142 of 166



, NI%:     Notwithstanding any other
'Incorporation, if this               provision of these Articles
 under Section 5(8 of thecorporation is classified as a private of
while such status is in Internal Revenue Code, the              foundation
 restrictions:            effect, subject             corporatian
                                          to the following        shall be,
                                                          limitations Bnd
          (a) The corporation shall
         taxable year at such time   distribute its incame far
         become subject to the      and in such manner           each
                                tax an                  as not to
         by Sectian 4942 af the        indistributed
                                 Internal Revenue Codeincome hqxeed
                                                        of 1954.
         (b) The carporation
         dealing as defined inshall not engage in any act of self-
         Revenue Code          Sectian 4941(d) of the
                       of 1954.                        Internal
         (c) The corparatian
         holdings as deQmA inshall not retain any excess business
         Revenue Code of 1954. Section 4943(c) of the Internal

         (d) The corparati.an
         manner as to subject shall not make any investmmnts in
         Revenm Code of 1954. itto tax under Sectian 4944       such
                                                           of  the Tnteznal
         (e) The corporation
         defined in Sactian shall nat make any taxable
                           4945(d) of the Tnternsl       ~tures
                                                   Revenue Code   as
                                                             of 1954.
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 143 of 166




       State of GR1ifoznia
       Cbunty of Alameda




                                                   l979, before me,
                                                   a Notary Public
      California, personally
      snd Tham R. Plcarello,
                               appeared 1bbert A. D.
                               known to me to
                                                        S~,         Donald Schwartz,
                                                 be the persons whose
      subscribed to the foregoing                                       names end
                                       Articles of Incorporation,
      that they emscuted the                                        and admowledged
                               sssm.
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 144 of 166




                         EXHIBIT 2
                         EXHIBIT
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 145 of 166




   SEGTRN 1.   PRINCIPAL OFFICE

       The principal
  business is locatedoffice of the cozporaticn for
                      in Alameda County,           the
                                         CalQbmia. transaction of its
  SECIXOE 2.   QMCE OF AlXNE%
       The county of
  ~e.
  by ssendsmnt of thetbe  corporation's principal offLce

                                           ~,
                      Articles of Incorporation
              The Board of Directors
                                                         can be  ~d
                                                 of this ooxporaticn      only
  the ~d
  office fzem cne location to
              address snd
  shall not be deemed an   ~ve
                                     may,           change the
                              soother within the named
                                    date below, snd suchcounty
                         smeehmt of these Bylsss:
                                                                  not
                                                          cbsnaas of
                                                                      snd not
                                                                     ipal
                                                                             s
                                               Dated:
                                                                          , 1979
                                               Dated;.
                                                                             1979

                                                                             1979

      Tba corporation
 wLthout tbs State of may also bmoc offices at such other
                      California, share
 its business may require                 it
                                           is qualified toplaces, within or
 time designate.          snd as the Board of DLrsctazs    do business, as
                                                        may, fzcm toss to




except,   ~,
     The corporation shall
the State of California,
rule of law relating to for the   ~ ~ssta~
                            trike no
                 pursuant to Smthnpmnrhion   for member thereof as
                                     9603 of the
                                         of sny Corporations Code of
                                                                     such
its Board of   ~ors      nonpmfit cozporaticns,            provision or


                           ~      cons~
and shaLI exercise     shall   be               the pezsam   constituting
                                           the
                   sll of the rigsm snd powers
                                   3.
                                                of zsnbezs
                                        DIEECLUf8
                                                             ~f.
                                                       of the caqemzion



     The corporat'ion
be known as the Boardshall have three DLrectors snd
of this Bylaw, or     of Directors. The ember       collactiml they shall
                  by repeal of this             may be changed
pzovLded in these By4ss.            Bylaw and adoption
                                                       of a new mmxxhsat
                                                                 Bylaw, as
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 146 of 166




  SECZRN 2.    POSERS

       Tbe

  SECS 3. DOXTES
                aud  ~t
           Directors shall exercise the
  its pzopertyf             its affairs, powers
                                          except as   ~e
                                                of zhe Hxtzporation,
                                                              provi~
                                                                     ~tzoI
                                                                       by h

       Zt shall be the duty of
                                  the Directors to:
       (a) Perform sny      all duties imposed on them collectively
  individually by'aw, byand
  or by these Bylaws.     the Articles of    ~ation                 or
                                                        of this corporation,
       (b)  Appoint and
 wise pztuvidsd in theseremove, employ snd dischsran, and,
  if any, of all officers,Byisws, prescribe the               ~    as other-
                            egsczs and employees of theand fix ctmpensaticn,
       (c) SuperHtise all officers,
                                                        cozporatian.
 to assure that their duties aze agents. and employees of the cozporatitun
                                   performed properly.
       (d) Meet at such times snd
                                    places as required by these
                                                                Bylsws.
       (e) psgister their addresses
 snd notices of smetings mailed       with the secretary of the
 shall be valid notices thereof.  or telegraphed to thea at suchcozptnntion,
                                                                 addresses
 SATE 4. TERMS QF OFFICE
      Each Director shall
 eltHCticn Of the Board of hold office until the next annual tmtetiztg
                           Directors
 bis ar her successor is elected      as specified in this             for
                                   and qualifies.            Article, and until
 8ECZZM 5.    KACE OF lCIHTXNGS
     Meetings shall be held at
unless othemCse provided        the principal office of the
                           by
the State of California which the Board or at'uch place       corporation
zeso~      of the Board of tnzectozs.
                                                          within
                               bas beau designated fzom time
                                                               to
                                                                  or without
                                                                  time by
amethyst shall be held at the principalIn tbs absence of such designation,
that any such Htmeting held               office of the coznoraticn,
crmsent of all directors elsewtum shall be valid. if                  provided
                                                               on the written
with the Secretary of the given either  before or after the seating snd filed
                           corporation.
HHCAIOH A.   ttHAHAR AHO AHHOtl NtRPSK

     Hsfolas aseatoss of otaeaaoe
                                     shall O oats os
                                such day fails cn a ee s asnl tasstsf
January at 10:00 a.m., unless                                             ot'eo
the r

                    ~
            seething shall be held at the same      legal holiday, in which tmtnnt
s          day.                                 hour snd place cn the
                                                                      next
     At the Annual
by the Board of DirectzHzs. meeting of Directors the lKzectozs shall
shall not be pezsd tted. TheOumulative voting for the election of be elected
up to the ntmher of Directors candidates receivinn the highest      Directors
                               to                               amber
ihall cost cne vote. with voting elected shali be elected. Each of votes
                                  be
                                  being by ballot only.               Director
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 147 of 166




    ~       7.   SPECI% MEETINGS
        Special meetings
   President, or, if he arofshe
                             the Board of Directors
                                                    may be called
   by the Vice-presi.dent, or is absent or is unable to refuses   by the
   be held at the place,      by any two                          to act,
                                         Directors, and such meetings
                          within
   by the person or persons      or without the State of California, shall
                             cal
   designation, at the prixudpal     tba seating,                     designated
                                  o cs of the snd in the absence of such
                                                carporatian.
   SECZIM &.     NOZICE QF MEETBXK

         The Secretary of the
    President, shall deliver   corporate, or
                              notice of the timeother  persan designated by the

                                ~                           ~
   Board of Directors to                          and  place of seetix@s of the
                          each Director personally
   three (3) days ar by Uhited                        or by
                                 States mail at least seven tel    sm within
   to the day of the
   Directors, accept seating.
                      for the          that notice of all     (    days,
   the election of DLxsctors,         xeyQsr nesting of Qhnsctorssect           of
   wise pxavtdsd in these      it hereby dispensed with snd            held
                           Byiaws ox'nder lear.                except
   the notice shall be deemed                      If  sent by mail orastelegram,
                                                                           other-
   States mail or an its
  of the
                               to  be
                                                       ~.
                                      delivered an its deposit
  be addressed to each delivery ta the telegraph
          ~ion.         %rector   at bis or her address ss
                        If the address
  not readily ascectainsble,
                                                                 in the United
                                                                 Such   notice shall
                                         of a Director is uotshown an the boaks
  at the city ar place in the notice shaLL be addressed so          shown snd is
  Notice of the time snd   which
                          place
  be given to absent Directors
  adg aunsÃl .
                                  the
                                 of
                                      seetings af Ihxectnrs are
                                 if holdtzg
                                                                to
                                                                   ~ly
                                                                   him
                                             of sn adiouxned seating
                                    the time snd place   axe fixed at the
                                                                         or her
                                                                               held.
                                                                         need nat
                                                                             meeting

      Natice of ueetings not
 day snd boar of tbe
 transacted.
                                ~   dispensed
                     meeting snd the general with shall specify the place.
                                             nature of the business
                                                                    to be

     Tbe transactions of
noticed ar  wi~
duly held after proper
escb Director
                           any meeting
                      held, axw as validofasthe Board,
                                              though
                                                        ~
defined, is present sndcall snd notice, provided athequorum,
                          provided that either before
                                                               called and
                                                         meeting had been
                                                               as hereinafter
cunsents, or     ~s
the meeting, ornotanpresent signs a waiver of notice,
                     aypzmr6 of the minutes
part of the minutes of the
                             meeting.
                                               thereof.
                         shall be filed with the
                                                        or after the meeting
                                                        a consent to holding
                                                         All such waivars,
                                                   corporate zecanb ar made

     A quorum shall
                      consist af a ssitority of
                                                  tbe Board of Directors.
     Except as otherwise
                           provided in there Bylsws


             ~~
 Incorporation of the                                or in the Articles of
sidsred by the Board  corporate.    ar by lsw, no business
xain at such
                      at
defined, is not present,
                      is
time fixed fbr the next
                         any
                         a
                          snd  the only')tion
                           sntian                 ~
                              seating at which a quorum, shall be can-
                                   to adiazn fxoa timethe
                                  meeting of the Board.
                                                          as hereinafter
                                                          Chair shall
                                                        to time until enter-
                                                                      the
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 148 of 166




          Rbsn a meeting
     necaasary tc Siva anyis adjouzned for lack of a quorum, it
    meeting or of the       notice of the time snd               shall not be
                       business  to be             place of the ad)ouzned
    by mrzxecmmmt at the               transacted
                             meeting at which the at 8uch meeting, other than
                                                  adjournment is taken.
         The Directors
    quorum is           present at a duly called
    the loss ofinitiaIIy
                 a quormspresent
                                                  and
                                  may continue to do held meeting at which a
    from the meeting.     at the smeting due to a business noxwithstsnding
                                                   withdrawal of DIrectors
    SECX3% 12.   NABBIITY ACHGN
                                  AS BOARD ADIT(N
        Every act or decision
   present at a meeting        dane or made
                         duly held at which aby a ngfority of the Dixectors
   of the Board of Directors,
                               uulavs the law, quorum is
   of this IXÃcpcraticn,                        the Artie ssent  is the act
   SECTRN 13.
                         or theae Bylsws
                QSDDCf N'EBEXNDS
                                         z&tuize a greater
                                                           s of  ~ation
                                                            number.

        1metings of the Board of
   President of the coxpozation    Directors shall be
                                                       presided over by tha
   President of the corporation or. in bis or her absence,
   chosen by a Impurity           or, in tbs absence of        by the Vice-
   C8Xy Of the           of the Dlzvzmora                both,  by a Chairman
               coxuomtion shall act as present at the lDI&ting.
   Board, provided that                   Secretary of                The Sscze-
   appoint another pezsonin his ur bar absence, tbe all meetings of the
                           to act as Secxetazy of prssMhg ofScm shall
                                                   tbs meeting.
       Hastings shall be Sovmnmd
  msy be revised fzcm
  with or in conflict
                                       Roberts'ules of Qzdsr, as
                       tdms to time,byinsofar
                                              as shah rules axe      such rules
  this cozpcavLtion, orwith these Bylaws, with the                not inconsistent
                        with Isw.                    Articles of Incorporation
                                                                                of

       Any action  required or pezvdtred to
  under auy pzovtsion                        be taken by the
  of tbs Board shall of lsw may be taken without               Board of Directors
                      individually or collectivel a casting, if all marbles
  of the pxo~
           Such written
  the same force and  of
                         consent or ccossnts
                         the                  shel
                              Board Such action
                      effect as the ucazImuus
                                                     consent in wrictug to
                                                    be                      such
                                                        filed with tha udnut4m
                                                  by writt8n consent
  cate or other document                       vote                   shall have
  action so taken shall   filed under any provisionof tbe Directors. Any certifi-
 consent of xhe Board state that the action wav of Imr which relates to
 of Incorporation       of Directors without        taken by unaniunus
                                             a                          writcen
 so act, and such
 SECZICN 15.
                   and  Bylaws of this
                   statement shall be  corporation  a~e
                                                smeting  and that tba Articles
                                       prhm facie evidence the DIrectors to
                                                              of such authority.
               VAGLNCIES

       Vacancies
 resiguaticn of onany
                     the Board of Directors
                                            shall exist (I) un
                      Director; and (2) wImnever
 Directors is increased.                          the number of the death or
                                                                aztboxised


  ~
      'Ihs Board of
 (I) if he or she isIKrectors may declare vacant the
(2) if within simty declazed of unsound mhd            office of a Kzectm
                                                by  an order
a           he or sbe does nut aftsx'otice of bis or her of ccert; or
                       (60) days
                      of the Board of the officer either inelection
attending a mseCing             accept                               to fili
                                       IKxuctors.            writing ox'y
 Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 149 of 166




   ~t   Vacancies caused by the
             of the Articles of death or resignation of a Dixsctor, or by an
   the xsnber of authorized
   xscmining Mrectors.
                                 Incorporation
                             Directors shall beorfiled
                                                   of these Bylsss increasing
                                                       by a majority of the
        A peraa elected to fol
   hold office until tha annual   a vacancy as pxuvided in
   until bis or her death or    election                    this section shall
                                          of the Board of Directors
                             xesigcarion fmn office.                 or

       The Ihrectors
  or other cbligaticusshall not be personally liable
                        of the corporation.          for the debts, liabilities,
  SECT.DW 17.
                BlOENNITY BY CSEQMTLCN
                                             POR   ~OM EXPIMES        OF QFFXCER
       SbouId
  or she was oranyisperson be sued, eixbsr alone
                                                    ar with others, because


                                                         ~
                     a Director,  officer, or loyss
  any proceeding arising
  in the performance of hisout of bis or hsx al           of the corporation, hein
 against the coxpoxwticn, or her duties or out of sny
 includIng attorney's fesstudscrdty for his or her
                                                        misfeasance of  ~ance
                                                                      wrongful sct
 assessed against the         incurred  in the                       expenses.
                                                defense of the proceeding,
                         corporation, its receiver,
 in the same or a separate                             or its trustee, by themay be
 in whole or in nart, or thepxoceethng if (1) the person
 the approval of the courtI proceeding agaInst him or her
 fairly msrfts such indsenity.
 of the expenses, inc
 pmceecttng, as ths court
                               and (2) the court
                                                   finds
                                   Tbe avaunt of such
                               attornew's  fees
                                   to reasonable.
                                                          that  his or her ~
                                                               sued is successful
                                                                  is settled with
                                                                                 court

                                                         indsanity shall be so much
                                                 incurred in the defense of
                                                                              the
                              AHTXCLE 4.    OFFICERS


     The officers of the
a Secretary,              corporation shall be a
             and a Tressuxsr.
by'he Board of                                   President, a Vice-President,
                                The corpoxwticn may
                Mrsctoro,   ace
Secxeraeim, Assistant Treasure, or mcus             also have, as detemufned
                                        audition vice-presidents,
msy bold tso or nore                or other such officers.        Assistant
                     offices, except those                   (he
SECTZM 2.
                                            of President and
                              EUXTION ANO TEHN
                                                                  Se~.
                                                                  person

                                               OF OFFICE
     Any person may serve
                           as officer of
be elected by the Board of Dhectors, at this corporation. Officers shall
shall hold office until he
                            or she resignssny
disqualified to serve, or until
                                              time, and
                                           or is removedeach officer
and qualified, whichever                                 or is othmsise
                                 his or her successor shall
                         occurs    first.                   be elected

     The Board of Dixectoxs
msy deem desirable, and     msy'ppoint such other officers
aurhority, and psrfcrm such officers shall. serve such terms,or agents as it
                        such
the Board of IMrectors.     dories as msy be prescribed        hsvs such
                                                        fxcm time to the
                                                                           by
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 150 of 166




   SKTION 4.     RENIVAI ARD RESIGNAITGE

         Any officer msy be
    Board of Mnectars, at    removed, either with or
                           any                        without cause, by the
   gLving written notice ta thetime. Any officer msy resign at
                                                                  sny arne by
   Secretary of the corporatian. Board of DLzectazs or to the President
   therein, aad, unless
   resignaticn shall naL be~e
   the date of the receipt of       Any such rasignattan
                                such notice ar at any
                              necessary
   vtsians af this secticsc shall
                                                          shall take sffscCorat
                                    specified therein, later
                                                        the
                                                             date specified
                                                            acceptance
                                         ta make effective. The of such
                                                it
                                           ~d
  ~                                    supscseded by suy coaflicCingabave pzu-
   contract which hss been         be
                                      or           by the Board of Mrectorsof a
                            approved
   relating to the emplaymsnt of                                     terms
                                   sny officer af the corporation.
             5. VAMlCIES
       Any vacancy caused by Che
  ar othezw4e,  of any officer shalldeath. zesignatian,
  the avant'f a vscanp                  be filled by'hsremoval,  disqua1iRcaticn,
  ~
  vacancy msy'e filled      in any office
       as the Baca'.d.shalltessersrlly
                                                         Basrd of Mzsctars.
                                          other than that of
                                       by sppoincmsut by the President, such
                                                                              In
                                                             President until such
  officers appointed at thefL33. the vacancy. Vacancies occuzing
  the Board shall detezmicm-   discretion of the Board msy ar msy in offLcss cf
                                                                  not be ulled as




                                                              ~
        The President shall be
  and shall, subject to         the chLsf ezscutivs officer
                         the
  control the affairs of Che  control                         of the corporation
                                       of the Board af Mzsctars,
                               corporation.
  incf.dant to his ar her affaixs             He ar she shall      supenr4e and
  Iss, by the Articles of          snd                                 all duties
  or which msy be prsscrLbed ~ation     such other duties as
  she shall preside at all fcum time to time
                                                              may
                                           of this cozparaticn, orbe reqczLred
                                                                    by these
                                                                               by
                                                                              Bylsws,
                                                     the Baard of Mzsctars.
 of the members of the seerings of the              of                          He or
 by Ias, by the Arriclescozparatian.
                                                        Directors snd,
                                         Rzcspt as othensise          if  applicable,
 in the name of the        of ~ation,such,                    sspzsssly provided
                                               or these Bylaws,
 cbecLcs or other ins~
 Board of Mzectars.
                      corporation,
                               which
                                    ezscute
                                      may frccs time ta  snztgsges,
                                                                    he or she shall,
                                                                     bands,
                                                        Cims be scctharised contracts,
                                                                            by the
 SECTICN 7. DUXIZS
        VICE-PERSIA'nCF
        the
or refusal toabsence
               act,
                     of the President, or in the
snd when so sating shallVice-President shall perform allof his or hsr inabiQ.ty
                    the                            event:
an, the presMsnt. The      have all the powers of, subjectthe   duties
                                                            to all theofzwstrLctian
                                                                          the president,
such other dutLcm as      Vice-President shall have
or by these Balsas, ormsyasbe prescribed by lace, by other such
                                                     the Articlespowers sud perform
                            msy be prescribed                      of Incogerarlan,
                                              by the Board of Mrectors.



     ~
     'ihe Secretary shall:

or a copy, ofsnd
     Resp at the
                 keep at tbe
              these Byises asprLncipal
                                           a~e
                                        office of the cozporatian
                               smsnded or
                                                     altered to date. original,
                                                                    Che

as the Board msy principal office of
                 detezmine, a back ofChs  corporation or at such
zwcozding therein Che thss
snd, if special, how       snd place af hol   ',
                                       minutes of. all            athcn lace
                                                       nmetings of the
                                                                          crore,
                     called, haec notice chereo whether regular or special,
                                                 wss given, the
                                                                  names of those
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 151 of 166




    present at the smating,
                               snd the proceedings
                                                     thereaf.
         See that
    af these Bylswsallornotices are duly given in


                                            ~
                         as required by 1@r,      accordance with the
                                                                      provisions
         Be custodian of
                          the zecoeh snd af the
    that the seal is affixed
                              to all duly          seal of the corporation
    an behalf of the                                                         snd see
    Bylaws.          corporation under its seal dceummts, the execuzion         of which
                                                  is authorised by law
                                                                         ar by these
         Keep at the principal
   cen~
   any msohewhip hss
                                office of the earparatian
               the name snd adders    of each snd any msoher,a msohership bock
                       been
   msahership book togetherteamnated, he or she shall           and in the case
                             with the date an which        record such fact in where
                                                                                the
                                                       such sembezwhip
        Exhibit at all zeasonable                                       ceased.
   or to his ar her agent           times ta sny Dtzector
                                                            of the
   the msohezship book, or attorney, cn request      ttwnwfore, thecozpazetizm,
   of the corparatian. and the mtnutm of the pzoceedings
                                                               of theBylaes,
                                                                      Mrectazs
       In general, perform
  and such other duti,ss     all duties incident to the
  Icmozporation of this
                         as may  be required by late,    office of Seezerazy
  assigned to him ar her cxmparation,                 by the
                                       or by these Bylaws,
                          fzem time to time                 ar
                                                                ~ales of
                                                               which
                                             by the Board of Mreczors. be
                                                                     may
  SETXCN 9. OUXXES
                     GF TEEASORER
       subject to the provisions
  shall:                            of ABxxcKE 6 of these
                                                            Bylaws, the Treasurer
       Have charge
  securities of theand  custody of, and be
                                            responsible for, all
  tbs corporatian incorporation,  and dsposi.t all               functs and
 shall be selected bysuch  banks, trust'eoysnies, such funds in the name of
                       the Board of Mrectors.       or other depositories
                                                                           as
       Receive, and give zeeeipt
 far sny source whatsoever.       for, monies due and
                                                       payable to the corporation
      Msbuzse ar
 be directed by thecause to be disbursed the funds of
 disbursements.      Board of Mreetars,                 the corporation as
                                          taking prayer                    may
                                                           vauchers far such
       Keep snd maintain
 pzoaerties snd business adequate snd correct accounts of the
                              transactions, incl
 lhhilities, receipts, disbucsemsnts,                               corporation's
                                                       accacmts of its  assets,
                                             gains     lasses.
       Exhibit at all reasonable
 records to any Mrector               times the books of
 attorney, on request        af  the                     account and financial
                                      eazpazeticn, or to his
                          therefore.                         or her agent ar
      heAe
af sny ar alltoofthehi.sPresident and Mrectors, whscmver
condition of the
                   corporation.
                               ~tians
                          or her                ss Tceasuzerrequested, an account
                                                             and of the financial

the financial or
      pzeycew,     cause to be
               stateomnts ta beprepared,     snd certify, or
                                     included in any          cause to
                                                     required reports. be certified,
 Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 152 of 166




         In general,
    snd such other duties
    Incozporatkn of the    as
                                ~
                               all duties incident to
                               smy be required

                            fzom time to time
                                               by Iasr,
                                                        the office of Treasurer
                                                         by the ArtLcles of
    assigned to him or bercozparaticn, or by these Bylaws,
                                                              or
                                               by the Baaxd of which may. bs
                                                                 Directors.


        Tha Board of
   two (2) or mcza ofDixectors may, by a       ~ority vote of its mwnbexw,
                        its me|bars to constitute
    delegate to such GoneLttee                                                   designate
                                                       an Executive
   ~,emt
                                                ~
               of ths business snd sny of the powers snd              Conmittee snd
    to adopt. amend, or                                    autbxoity of the Board
                                       affairs of the cazpozaticn,
                         repeal                                                      in
    such Ccemittee snd
                       tbe
    to relieve the Board delegation
                                   the Bylaws, snd pxovlded
                                                              that the      t the power
                          of                       of authority              gatian of
                                                                  shall not operate
    sibility Reposed on it ar Mm
                              IKxectors

                                       ~
                                          or any individual
   of this corporation, or            or her by Imr, by the Director af sny respon-
   the Board may at any
   delegated, increase ar
   swnbexs, and fill
                          time
                              by

                      vacancies
   Gmmittee shall establish
                                  these Bylaws. By a
                             decxease
                                rules
                                       but
                                   therein
                                                         magoxity
                                         ar modLfy any or all ofvote of its
                                            uot below two (2)
                                            from the me|hers
                                                              af
                                                                the
                                                                    the authority eo
                                                                     amber of its
                                                                   the
                                                                                     ~,
                                                             Articles of Incorporation


  at such times                        and
                    it deems necessary, regulatians                    Board. The
                                                         Sn its meetings
  all meetings ofasthe                                                      and


                                                                 ~~
                                                              aesamk1e noticemast
                        GanmLttee shall be   pzovidsd that a
  Committee shall be valid
  zwLtarLty of its members. unless appzo
                                                 vsn  ta its mmthezw, and no actofaf
                                                    a       or written consent af the

  ~
                               'iha QcmLttee     by    vote
  proceedings snd zeport                        shall                                a
  may zlsLuize              the same to tha Basxd heep                        of its
                    ~                                fuxw time to time
                                                                         as the Board
               2~
               )'.'he
               ~
                        SZISKHQ AND AD BDC

               carporation shall have such
 from time ta time
                                              ~II'z
                        be designated by Standing and Ad Bac
                           6.
                                         resolution af the Board       ~ttaes
                                                                        of
                                                                              as may
                                                                              Directors.
                                EECDXTDN GF
                                              ZNPLBUNEIB, DEPOSITS
                                                                     ALlD BDELI



     be   ~1~
      Tbe Board of Directors
                  ~xmixe any officer or
enter inta sny contract
                                        a!leapt ss otherwise
                                            agent
                                                  provided in these
                                                  af                 Bylsws
of and on behalf of the ox'ascute and deliver any the corporation to
confined to specific    corporation& and such       instxuwwxm tu tbe

                                              oz'ty~ed
                                               authority               mmm
                     1nstances,
or employee shall have            Unless sa               may be general or
                       sny power
sny contract or
                          ~mmt                to
monetarily foz any purpose oz'o pledge its creditbind~xhe
                                                   oz to render it     ~ation
                                                                        by
                           ar in any amount.                        Iiabl


       ~
     Except as otheeehe specifically
Board of Directors,
                     cx's
              far payments othszyghe          ~
                                       datexmLusd by'esolutian


                                              ~r               of the
                                                                       ~~s ~t
~
corporation shall be

          3-    IEPOSITS
    All funds of the
                            of wzmay, snd other
of the corporation. signed by the               evidence of
                                              snd


                                corporation shall be
                                                             cxxmtersiNmd by th
                                                                                     pz
                                                                                          of
                                                                                           id

                                                       deposited faws time
                                                                             to ti
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 153 of 166




    credit of the coxporation
                              in such banks, trust
    depositories ss the Board of                   ccnpsnies, or other
                                 Directors may select.

         The Board of
   contribution, gift,Dirc+tora
                       bequest,
                                may accept on behalf
                                                      of the corporation
                                 or devise
   any special purpose of
                           the corporation. for the general purposes or for
                                                                         any




                        ~ ~,
        The corporation
  place as the Board ofshall keep st its princi      office. or at such other
  of Directors snd of allDirectors msy order, a       of minutes of all
  of holding, whether      meetings of          if                      smetings
                                                    any,
  notice given, the names of or special, and, if special,with the time snd
                              those present snd the                        place
                                                             how called, the
                                                     pwoQ38dings chexvmf.



                                                                         ~
  SECTION 2. BCCES
                     QF ACCDUNY
       Tha corporation shall
  of its properties           keep snd maintain
                     and business transactions,        Ce snd correct:
  assets, liabilities& xsosipCs                 inc ucUng accounts
  SECXRS 3.
                                 ~   dis~ts&     gains& snd losses
                                                                    of ics
                                                                     ~
               INSPECXRBI BY IKRECICES

       Evsxy Director shell have the
  to inspect all                     absolute right at any
                 books, zeconb, documents
  properties of the corporation.                           reasonable time
                                           of sbexy kind, snd the physical

      The Board
 seal. Such sealofshall
                   Dixectors may adopt, use.
 to affix it shall not be affixed to all

                            ABTXCLZ 8.
                                             snd at wL11 alter,
                                              any such
                                           FIBCAI, YFAR
                                                                         ~
                                                                a coxporate
                       affect the validity o rate instruments, but
                                                          ins~
      The fiscal yvmr of'he
 JscLwny snd end on the
                             ~
                            oozporation shall begin
                         lest day of Deceahm.


      Subject to any provision
                                      9.    BYLASS
                                                    on     the first day of




 of nonpxofLC corporations,      of law applicable to
ament@ or repealed snd       these  Bylsws, or any of
                                                        the smjnxhsnt of
                                                                         Byiass
                                                        them, may be altered,
                           nsw Bylmm adopted


                                                                         ~
                                               as .'.ollows:
      (a) Subject to the poser
them, by the vote of            of che sxmbem. if
                      a
special smeting of IKrectors, of Directors present
                        majorLty                     any, to chsngm or
notice of such meeting          at which a quorum is at'ny regular or
is given each Director  and  of the intention to change present,     ded that
oz by written consent   as       dsd in ARLXCLE 3,         the By    thereat
                       of 1 DLrectozs without Section 9 of these
                                                 a msexing ss providedBalsas,
                                                                          xn
  Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 154 of 166




   AEXICLZ 3,    Section 15, of these
  or changing the nuaber                  Bylswe, provided,
                                 of Directors               haweaer that a Bylma
  maended, or repealed                        of the                               fimhig
                              except 88 pzovLded in corporation mey not be
                                                     pszagzagh (b) of this
                                                                            sec
  if any,(b) orBybythethewritten
                                                                          ~
                                  consent of a majority
                                                        of member entitled to
  vote, if any, at avote        of 8 majority of a
                           meeting of meahers calledquorum of meahers entitled vote,
  meeting kc'he purpose                                snd noticed as a         to
                                 of changing ths Bylsws.
                         AEXXCLZ 10.
                                         AMERiMENT QF AlCXCiZS
  SEGTXtE   l.    AME5KNEBT QF AEXICLZS
                                           BEFORE ADMISSION
                                                              QF MENKtS
       Befoze any meaber, other
  to the corporation,           than ths
                                    of the Art tozs,

  ~
  adapted by a writingany smmldamt                      have been sdmLtted
                       signed by msa-tbixde (2/3) ofof Incorporation mey be
  ocxpoamtion.                                       the         incorpoxators of the
            2.   AMEBiBEBT CF ABXICLZS
                                          AFIRE AiBQSSIQN QF



                                                                          ~
                                                       MEMBERS
      After meahers, other than
 corpoxatJzzl, saaeahent of            ~store,  have been admi,teed to
 by resolution of the Board the Azticles of
                                            ~ation
 of tsu-thLah (2/3) of the of Directors snd by the vote mey
                             nmrber of voring meahezs
                                                              ba
                                                                       the
                                                          or wzitten consent
 of meahm.                                            ZSPrsssnting a quand


 SECITQE 1.
                               ~
                     ARXXCLE 11.
                                     PBQHXBXXERf AGAIBST
                                     CQRPQRAXE PBCPXK
                                                           SEARLE
                                                        AMD ASSEIS




                    ~~,
                 PBQSXBXXXQW
                                       SQQKC QQRPOBAXE
                                                           PRQBTiS AND ASSEIS
      B'o member,
                 DLzector, officer,
 with this cozpoxation,
                         or any privateeaployee, or other person
 sny of the net                            individual, shall xecsive  ccmnectsd
 corporation, plxwided,   or peclalisry  profit from the operations at any time
 to sny 8Uch pexson oS
corporation
of the Baazdin
                        xssscnsbls
                                  that
                effecting any of itsccapeosation for
              of MzaacoLel and no such
to share in the
                                        puzpoess
                 dfstribution of, snd shall person
                                                           s~
                                         this provision shall not of ths
                                                  as shall be fined
                                                                       pre@mt
                                                                   pexibzamd
                                                    or perscms shall be by
                                                                                  the
                                                                           zesoiunLon
assets on dieeoluticn                           not                        entitled
                       Of
corporation shall be deemedthe corporation. All receive,            of the coqoraxs
such dissoluaion or                                  meahers,
                              to have expressly consented         any, of the
voluntarily or invuluntsxiTy, Up of  the  affaixs              snd  agreed that on
have been satisfied,            the assets of Zheof the corporation, whether
                      then zmasining in the
shall be distributed 88                                       ticn,
                                                hands o the Boardafter all debts
corporation snd noL" OQ  renudawd  by tbe Articles of                 of Directors
                                e.                          Incorporation of this

     Ve,   the
             undersigned, sre all of the
in the Articles of    ~ation
corporation, snd puzsusnt tO
SXK of said                  the
                                 of
            Articles and by ARFXCLZ
                                          ~
                                         Persons named as the
                                       ~ty                    first Directors
                                             Foundation, a Califoznia
                                           granted to the Directors
                                    THREE, Section 14               in AEXICfZ
                                                      of these Byiswe, to
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 155 of 166




 tahe action by unsniseus
 and hereby do, adapt the written consent without a meting,
                                                            consent
                                                      of 11 pages, asto,
 the Bylaw of said        fomgoing Sylaws, consisting
                    amputation.
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 156 of 166




                         EXHIBIT 4
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 157 of 166
     ELECTRONICALLY RECEIVED
     1/7/2022 9:39 AM

 1   David A. Stein, SBN# 102556
     dstein@donahue.com
 2   Jessica M. Takano, SBN# 184079
     jtakano@donahue.com
 3   Diea D. Schum, SBN# 332950
     dschum@donahue.com
 4   DONAHUE FITZGERALD LLP
     Attorneys at Law
 5   1999 Harrison Street, 26th Floor
     Oakland, California 94612-3520
 6   Telephone:     (510) 451-3300
     Facsimile:     (510) 451-1527
 7
     Attorneys for Plaintiffs
 8   SCHWARTZ FOUNDATION, MARGOT
     SCHWARTZ, and NOAH SCHWARTZ
 9

10                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

11                           IN AND FOR THE COUNTY OF SANTA CRUZ

12

13   Schwartz Foundation, a California              Case No. 21CV00416
     corporation; Margot Schwartz, an
14   individual; and Noah Schwartz, an              [PROPOSED] ORDER GRANTING
     individual,                                    DEFENDANTS’ MOTION FOR
15                                                  TEMPORARY PROTECTIVE ORDER
                    Plaintiffs
16
            v.
17                                                  Date:       December 17, 2021
     Donald C. Schwartz, an individual;             Time:       8:30 a.m.
18   Paul D. Schwartz, an individual;               Dept.:      5
     Charles P. Schwartz, III, an individual;       Judge:      Hon. Timothy Volkmann
19   David Richard Schwartz, an individual;
     Stevon S. Schwartz, an individual;
20   and DOES 1-50, inclusive,

21                  Defendants.

22

23

24

25

26
27

28

                       [PROPOSED] ORDER GRANTING MOTION FOR TEMP PROTECTIVE ORDER   CASE NO. 21CV00416
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 158 of 166



 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:

 2          This matter came on for hearing on December 17, 2021, at 8:30 a.m., in Department 5 of

 3   the above-entitled Court, located at 701 Ocean Street, Santa Cruz, California. Daniel J. Russo and

 4   Donald C. Schwartz appeared for all Defendants. Jessica M. Takano appeared for all Plaintiffs.

 5   Howard A. Slavitt appeared for third party Mechanics Bank.

 6          The Court, having duly considered all papers submitted by the parties, as well as the

 7   argument presented during the hearing, hereby adopts its tentative ruling issued in advance of the

 8   hearing, a true and correct copy of which is attached hereto as Exhibit 1.

 9          IT IS SO ORDERED.

10

11   Dated: _______________________
                                               Hon. Timothy Volkmann
12                                             Judge of the Superior Court
13

14
     Approved as to Form:
15

16

17   Dated: _______________________
                                               Daniel J. Russo, Esq.
18                                             Attorney for Michael L. Osterberg, Donald C.
                                               Schwartz, Stevon S. Schwartz, Paul D. Schwartz,
19
                                               David R. Schwartz, Charles P. Schwartz, III
20
21

22

23

24

25

26
27

28
                                                     -1-
                       [PROPOSED] ORDER GRANTING MOTION FOR TEMP PROTECTIVE ORDER         CASE NO. 21CV00416
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 159 of 166




                     EXHIBIT 1
      Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 160 of 166

                       LAW AND MOTION TENTATIVE RULINGS
                       DATE: DECEMBER 17, 2021 TIME: 8:30 A.M.




MOTION FOR TRO/PRELIMINARY INJUNCTION RESTRAINING PLAINTIFFS
FROM SELLING ASSET

       The motion to prevent Plaintiffs from selling the Eden Roc apartment complex is granted.

       While the Court acknowledges the additional interest, loan prepayment fees and trustees’
fees if the loan is refinanced and the Property held for another three years, mediation and trial are
set for February 2022 at which time an agreement will be reached or determination made as to
who the officers and directors are, whether another election should be held etc.




                                                  4
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 161 of 166




                         EXHIBIT 5
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 162 of 166
     ELECTRONICALLY RECEIVED
     1/7/2022 9:39 AM


 1   David A. Stein, SBN# 102556
     dstein@donahue.com
 2   Jessica M. Takano, SBN# 184079
     jtakano@donahue.com
 3   Diea D. Schum, SBN# 332950
     dschum@donahue.com
 4   DONAHUE FITZGERALD LLP
     Attorneys at Law
 5   1999 Harrison Street, 26th Floor
     Oakland, California 94612-3520
 6   Telephone:     (510) 451-3300
     Facsimile:     (510) 451-1527
 7
     Attorneys for Plaintiffs
 8   SCHWARTZ FOUNDATION, MARGOT
     SCHWARTZ, and NOAH SCHWARTZ
 9

10                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

11                           IN AND FOR THE COUNTY OF SANTA CRUZ

12

13   Schwartz Foundation, a California              Case No. 21CV00416
     corporation; Margot Schwartz, an
14   individual; and Noah Schwartz, an              [PROPOSED] ORDER GRANTING
     individual,                                    DEFENDANTS’ MOTION TO PRECLUDE
15                                                  PLAINTIFFS FROM USING SCHWARTZ
                    Plaintiffs                      FOUNDATION FUNDS TO PAY
16                                                  ATTORNEYS’ FEES AND COSTS
            v.
17
     Donald C. Schwartz, an individual;
18   Paul D. Schwartz, an individual;               Date:       December 17, 2021
     Charles P. Schwartz, III, an individual;       Time:       8:30 a.m.
19   David Richard Schwartz, an individual;         Dept.:      5
     Stevon S. Schwartz, an individual;             Judge:      Hon. Timothy Volkmann
20   and DOES 1-50, inclusive,

21                  Defendants.

22

23

24

25

26
27

28

                           [PROPOSED] ORDER PRECLUDING USE OF FOUNDATION FUNDS      CASE NO. 21CV00416
     Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 163 of 166



 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:

 2          This matter came on for hearing on December 17, 2021, at 8:30 a.m., in Department 5 of

 3   the above-entitled Court, located at 701 Ocean Street, Santa Cruz, California. Daniel J. Russo and

 4   Donald C. Schwartz appeared for all Defendants. Jessica M. Takano appeared for all Plaintiffs.

 5          The Court, having duly considered all papers submitted by the parties, as well as the

 6   argument presented during the hearing, hereby adopts its tentative ruling issued in advance of the

 7   hearing, a true and correct copy of which is attached hereto as Exhibit 1.

 8          IT IS SO ORDERED.

 9

10   Dated: _______________________
                                               Hon. Timothy Volkmann
11                                             Judge of the Superior Court
12

13
     Approved as to Form:
14

15

16   Dated: _______________________
                                               Daniel J. Russo, Esq.
17                                             Attorney for Michael L. Osterberg, Donald C.
                                               Schwartz, Stevon S. Schwartz, Paul D. Schwartz,
18                                             David R. Schwartz, Charles P. Schwartz, III
19

20
21

22

23

24

25

26
27

28
                                                     -1-
                           [PROPOSED] ORDER PRECLUDING USE OF FOUNDATION FUNDS            CASE NO. 21CV00416
Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 164 of 166




                     EXHIBIT 1
      Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 165 of 166

                        LAW AND MOTION TENTATIVE RULINGS
                        DATE: DECEMBER 17, 2021 TIME: 8:30 A.M.




MOTION TO PRECLUDE PLAINTIFFS FROM USING SCHWARTZ FOUNDATION
FUNDS

       Because Plaintiffs’ action is in the nature of an equitable proceeding in which the court
will consider all matters necessary to a proper determination of the validity of the contested
election, and also all matter necessary to a just direction of the relief required in each instance,
(See Lawrence v. I.N. Parlier Estate Co. (1940) 15 Cal.2d 220, 227; Goss v. Edwards (1977) 68
Cal.App.3d 264; Haah v. Kim (2009) 175 Cal.App.4th 45, 53.), going forward, Plaintiffs may
not use any Foundation funds to reimburse their attorney’s fees until the Court makes a



                                                   2
      Case 5:23-cv-06086-BLF Document 12-1 Filed 12/13/23 Page 166 of 166

                       LAW AND MOTION TENTATIVE RULINGS
                       DATE: DECEMBER 17, 2021 TIME: 8:30 A.M.



determination at the conclusion of trial as to who the officers and directors should be, whether a
new election should be held, etc.

Requests for Judicial Notice

       Defendants’ RJN

       1. Declaration of Margot Schwartz in support of Schwartz Foundation's Ex Parte
           Application filed in action number 21CV00032: Granted.
       2. The Articles of Incorporation filed November 14, 1979 for the Schwartz Foundation:
          Granted.
       3. The Bylaws of the Schwartz Foundation dated December l, 1979: Granted.
       4. The minutes of a special meeting of the Board of Directors of the Schwartz
          Foundation dated November 4, 1983: Granted.
       5. Declaration of Shirley McGlaughlin in Support of ex parte application in action
           number 21CV00032: Granted




                                                3
